             Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 1 of 57

     Cited
As of: March 16, 2015 7:21 PM EDT


                                     Amoroso v. United Techs. Corp.
                                 United States District Court for the District of Connecticut
                                                  November 6, 2000, Decided
                                                      3:00CV00432(AVC)

Reporter
2000 U.S. Dist. LEXIS 18169; 2000 WL 1731340

ROBERT     AMOROSO,  Plaintiff, v. UNITED                          not file his charge of discrimination with the Connecticut
TECHNOLOGIES CORPORATION, PRATT & WHITNEY                          Commission on Human Rights and Opportunities until
DIVISION, Defendant.                                               February 1999, or outside the 300 day window provided by
                                                                   the ADA and the ADEA, and the more limited 180 day
Disposition: [*1] UTC/Pratt’s motion to dismiss (document          period mandated by the CFEPA. in the interest of judicial
no. 6) GRANTED with prejudice.                                     economy, it has chosen to retain jurisdiction over his
                                                                   pendent state law action. The motion to dismiss was granted
Core Terms                                                         based on the statutes of limitations.

                                                                   Outcome
days, equitable tolling, discriminatory, depression, motion
to dismiss, doctrine of equitable tolling, continuing violation,   Defendant’s motion to dismiss was granted with prejudice
pro se, time-barred, deadlines, commence, Rights, layoff           because all of plaintiff’s claims were time-barred, and he
                                                                   had not alleged facts sufficient to constitute a continuing
                                                                   violation or justify the application of the equitable tolling
Case Summary
                                                                   doctrine.

Procedural Posture
                                                                   LexisNexis® Headnotes
Defendant employer moved to dismiss plaintiff employee’s
claims for damages and injunctive relief pursuant to the              Civil Procedure > ... > Responses > Defenses, Demurrers &
Americans with Disabilities Act, 42 U.S.C.S. § 12101 et               Objections > General Overview
seq., the Age Discrimination in Employment Act, 29 U.S.C.S.
                                                                      Civil Procedure > ... > Defenses, Demurrers & Objections >
§ 621 et seq., plaintiff also made a claim under the                  Motions to Dismiss > Failure to State Claim
Connecticut Fair Employment Practices Act, Conn. Gen.
Stat. § 46a-58, 46a-60(a)(1).                                         Civil Procedure > Parties > Pro Se Litigants > General
                                                                      Overview
Overview                                                              Civil Procedure > Parties > Pro Se Litigants > Pleading
                                                                      Standards
Plaintiff was terminated from long-term employment with
defendant. He filed a pro se complaint asserting he was            HN1 When ruling on a motion to dismiss brought pursuant
wrongfully discharged and not recalled when new hiring             to Fed. R. Civ. P. 12(b)(6), a court must presume that the
began because of his disability and age in violation of the        facts alleged in the complaint are true and draw all reasonable
Americans with Disabilities Act (ADA), 42 U.S.C.S. §               inferences from those facts in favor of the plaintiff. A court
12101 et seq., the Age Discrimination in Employment Act            may dismiss such a complaint only where it appears beyond
(ADEA), 29 U.S.C.S. § 621 et seq., plaintiff also made a           doubt that the plaintiff can prove no set of facts in support
claim under the Connecticut Fair Employment Practices Act          of the claim. This requirement compels even more vigilance
(CFEPA), Conn. Gen. Stat. § 46a-58, 46a-60(a)(1).                  with respect to civil rights violations where the plaintiff is
Defendant moved to dismiss for lack of subject matter              pro se.
jurisdiction; and failure to state a cause of action upon
which relief can be granted. It was clear the last                    Civil Procedure > Parties > Pro Se Litigants > General
discriminatory act occurred in December 1997. Plaintiff did           Overview
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 2 of 57
                                              2000 U.S. Dist. LEXIS 18169, *1



HN2 Where a plaintiff proceeds pro se, a court must                  Governments > Legislation > Statute of Limitations > General
liberally construe his supporting papers and interpret them          Overview
to raise the strongest arguments that they suggest.                  Labor & Employment Law > ... > Civil Actions > Time
                                                                     Limitations > General Overview
   Business & Corporate Compliance > ... > Discrimination > Age
   Discrimination > ADEA Enforcement                              HN8 Equitable tolling of the statute of limitations for a
   Labor & Employment Law > Discrimination > Age                  discrimination claim may apply where a plaintiff has
   Discrimination > Exhaustion of Remedies                        actively pursued his judicial remedies by filing a defective
   Business & Corporate Compliance > ... > Discrimination >
                                                                  pleading during the statutory period, where plaintiff has
   Disability Discrimination > ADA Enforcement                    been induced or tricked by his adversary’s misconduct into
                                                                  allowing the filing deadline to pass, where the court has led
   Labor & Employment Law > ... > Civil Actions > Time
                                                                  the plaintiff to believe that the plaintiff had done all that was
   Limitations > General Overview
                                                                  required of him, where affirmative misconduct on the part
HN3 A plaintiff may not bring an action under the Americans       of the defendant may have lulled the plaintiff into inaction,
with Disabilities Act (ADA), 42 U.S.C.S. § 12101 et seq., or      where the plaintiff has received inadequate notice, and
the Age Discrimination in Employment Act (ADEA), 29               where a motion for the appointment of counsel was pending.
U.S.C.S. § 621 et. seq., in federal court unless the claim was
properly raised with the Equal Employment Opportunity                Governments > Legislation > Statute of Limitations > General
Commission (EEOC). Under the ADEA and the ADA, an                    Overview
aggrieved party must file a claim with the EEOC within 300           Labor & Employment Law > ... > Civil Actions > Time
days of the discriminatory action or 180 days of the                 Limitations > General Overview
discriminatory action if the state involved has no agency
authorized to investigate age discrimination. 29 U.S.C.S. §       HN9 Equitable tolling of a statute of limitations for a
626(d)(2); 29 U.S.C.S. § 633(b); 42 U.S.C.S. § 12117(a).          discrimination claim is not available when a plaintiff fails to
                                                                  diligently pursue his rights. Likewise, a plaintiff’s allegation
   Labor & Employment Law > ... > Civil Actions > Time            that he was incapable of complying with the requirements
   Limitations > General Overview                                 due to emotional distress or deep depression is similarly
HN4 Connecticut has an agency authorized to investigate           insufficient.
charges of discrimination. Conn. Gen. Stat. § 46a-54.
                                                                  Counsel: ROBERT M. AMOROSO, plaintiff, Pro se, E.
   Labor & Employment Law > ... > Civil Actions > Time            Hartford, CT.
   Limitations > General Overview
                                                                  For ROBERT M. AMOROSO, plaintiff: Igor I. Sikorsky, Jr.,
HN5 See Conn. Gen. Stat. 46a-82(e).                               Unionville, CT.

   Governments > Legislation > Statute of Limitations > General   For UNITED TECHNOLOGIES CORP, PRATT &
   Overview                                                       WHITNEY DIVISION, defendant: Albert Zakarian, Day,
   Labor & Employment Law > ... > Civil Actions > Time            Berry & Howard, Hartford, CT.
   Limitations > General Overview
                                                                  Judges: Alfred V. Covello, Chief United States District
HN6 When a plaintiff experiences a continuous practice and        Judge.
policy of discrimination the commencement of the statute of
limitations period may be delayed until the last                  Opinion by: Alfred V. Covello
discriminatory act in furtherance of it.

   Labor & Employment Law > ... > Civil Actions > Time
                                                                  Opinion
   Limitations > General Overview
                                                                  RULING ON THE DEFENDANT’S MOTION TO
HN7 The principles of equitable tolling do not extend to          DISMISS
what is at best a garden variety claim of excusable neglect.
A plaintiff has the burden of showing that equitable tolling      The plaintiff, Robert Amoroso, brings this action for damages
is appropriate.                                                   and injunctive relief against the defendant, United

                                                            Page 2 of 5
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 3 of 57
                                               2000 U.S. Dist. LEXIS 18169, *1



Technologies Corporation, Pratt & Whitney Division (UTC            Following his discharge in February 1997, Amoroso ″was
/Pratt), pursuant to the Americans with Disabilities Act           so emotionally tramatized [sic] and depressed from the
(″ADA″), 42 U.S.C. § 12101 et. seq.; the Age Discrimination        layoff . . . and his previous divorce . . . that he was unable
in Employment Act (″ADEA″), 29 U.S.C. § 621 et. seq.;              to commence civil action until almost two years″ had
and the Connecticut Fair Employment Practices Act                  passed.
(″CFEPA″), Conn. Gen. Stat. § 46a-58 and 46a-60(a)(1). He
has alleged that UTC/Pratt wrongfully discharged him and           ″Throughout 1997, jobs [that] the plaintiff was qualified for
failed to recall him because of his age and disability.            were posted and filled without his recall.″
UTC/Pratt brings the within motion to dismiss the complaint
in its entirety based on: 1) lack of subject matter [*2]           On February 1, 1999, Amoroso filed a charge of
jurisdiction; and 2) Amoroso’s failure to state a cause of         discrimination with the Connecticut Commission on Human
action upon which relief can be granted.                           Rights and Opportunities (CCHRO).

The issues presented are whether: 1) Amoroso’s actions             On April 10, 1999, the CCHRO dismissed his case for ″lack
under state and federal discrimination laws are time-barred        of jurisdiction″ because he had not filed his charge within
due to his failure to file a charge of discrimination within       the required 180 day period.
300 days of the last discriminatory act he experienced, and
2) UTC/Pratt’s actions give rise to a continuing violation or      On March 12, 1999, the plaintiff appealed the CCHRO’s
the doctrine of equitable tolling, thereby relieving Amoroso       decision; the CCHRO ″accepted [*4] the appeal, and
from the applicable statute of limitations. The court              forwarded the case to the [Equal Opportunity Employment
concludes that: 1) all of Amoroso’s actions are time-barred,       Office (″EEOC″)] Boston area office for review.″
and 2) he has not alleged facts sufficient to constitute a
continuing violation or justify the application of the equitable   On December 11, 1999, the plaintiff received ″from the
tolling doctrine. For the following reasons, UTC/Pratt’s           EEOC a Notice of Suit Rights enabling the plaintiff to file
motion to dismiss is GRANTED.                                      suit in civil court.″ That notice, attached to Amoroso’s
                                                                   complaint, provided that the EEOC ″[could not] investigate
FACTS                                                              [Amoroso’s] charge because it was not filed with in the time
                                                                   limit required by law.″
Examination of Amoroso’s complaint and supporting papers
discloses the following relevant facts:                            On March 7, 2000, Amoroso filed the complaint in this
                                                                   matter.
On or about June 5, 1968, UTC/Pratt hired Amoroso upon
his graduation from college.
                                                                   STANDARD
Beginning in August 1996 until some unspecified time
                                                                   HN1 When ruling on a motion to dismiss brought pursuant
following his layoff, Amoroso was under a doctor’s care for
                                                                   to Rule 12(b)(6), the court must presume that the facts
severe depression ″due to an impending divorce . . . and
                                                                   alleged in the complaint are true and draw all reasonable
then [his] layoff.″
                                                                   inferences from those facts in favor of the plaintiff. See
In October 1996, Amoroso [*3] began taking anti-depressant         Sykes v. James, 13 F.3d 515, 519 (2d Cir. 1993). A court
medication for his depression. During this time, Amoroso’s         may dismiss such a complaint only where ″it appears
supervisor at UTC/Pratt was on notice that he was taking           beyond doubt that the plaintiff can prove no set of facts in
this medication.                                                   support of the claim.″ Scheuer v. Rhodes, 416 U.S. 232,
                                                                   236, 40 L. Ed. 2d 90, 94 S. Ct. 1683 (1974). This
On or about February 12, 1997, UTC/Pratt notified Amoroso,         requirement ″compels even more vigilance with respect to
who was then 52 years old, that it was laying him off as part      civil rights violations where the plaintiff is pro se.″ Easton
of its effort to cut operating costs. At the time UTC/Pratt        v. Sundram, 947 F.2d 1011, 1015, [*5] (2d Cir. 1991). Thus,
notified him of its ″reduction in workforce,″ Amoroso held         the court may consider statements contained in the plaintiff’s
the position of senior project engineer in the company’s           opposition to the motion to dismiss. 1 See Lucas v. New
repair development division.                                       York City, 842 F. Supp. 101, 104 (S.D.N.Y. 1994).

1
    HN2 Where a plaintiff proceeds pro se, a court must liberally construe his supporting papers and ″interpret [them] to raise the
strongest arguments that they suggest.″ Soto v. Walker, 44 F.3d 169, 173 (2d Cir. 1995).

                                                             Page 3 of 5
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 4 of 57
                                                 2000 U.S. Dist. LEXIS 18169, *5



DISCUSSION                                                            failure, ″throughout 1997,″ to recall him for posted jobs for
                                                                      which he was qualified. Drawing all reasonable inferences
I. Violations of State and Federal Discrimination Statutes            in favor of Amoroso, then, UTC/Pratt’s last discriminatory
                                                                      act occurred in December of 1997. According to his
UTC/Pratt has moved to dismiss Amoroso’s ADA, ADEA,                   complaint, however, Amoroso did not file his charge of
and CFEPA actions, arguing that each is time-barred.                  discrimination with the CCHRO until February 1, 1999,
Specifically, it contends that the ″plaintiff did not file a          which is well outside the 300 day window provided by the
charge of discrimination with the CCHRO within 180 days               ADA and the ADEA, as well as the more limited 180 day
of the alleged discriminatory conduct, and did not file a             period mandated by the CFEPA.
charge of discrimination with the EEOC within 300 days of
[that same] conduct.″ Amoroso responds that he received a             Amoroso has argued that the right-to-sue letter he received
right-to-sue letter from the EEOC’s Boston area office on             from the EEOC entitles him to maintain the present action
December 11, 1999, which, he maintains, ″allowed [*6]                 despite his failure to comply with the statutory deadlines.
[him] to file a lawsuit within 90 days of receipt[.]″                 The court finds this argument misplaced. In its December 9,
                                                                      1999 letter to Amoroso, the EEOC checked a box which
HN3 A plaintiff may not bring an ADA or ADEA action in                stated that it was refusing to investigate [*8] his charge
federal court ″unless the claim was properly raised with the          ″because it was not filed within the time limit required by
EEOC.″ Miller v. International Tel. & Tel. Corp., 755 F.2d            law.″ While the letter represents that he could ″file a lawsuit
20, 23 (2d Cir. 1985). ″Under the ADEA, an aggrieved party            against [UTC/Pratt],″ it does not ensure that any such
must file a claim with the EEOC within 300 days of the                lawsuit will be successful. Accordingly, Amoroso’s ADA,
discriminatory action or 180 days of the discriminatory               ADEA, and CFEPA 2 counts are time-barred absent facts
action if the state involved has no agency authorized to              supporting a continuing violation or the application of the
investigate age discrimination.″ Dillman v. Combustion                doctrine of equitable tolling. 3 As discussed below, his
Eng’g, Inc., 784 F.2d 57, 59 (2d Cir. 1986). See 29 U.S.C.            complaint contains no such facts.
§ 626(d)(2); 29 U.S.C. § 633(b). These same filing deadlines
also apply to actions brought pursuant the ADA. See 42                 [*9] II. Equitable Tolling
U.S.C. § 12117(a). Under both federal statutes, the applicable
time-frame in the present case is 300 days because HN4                In order to excuse his failure to comply with the statutory
Connecticut has an agency authorized to investigate charges           deadlines of the ADA, the ADEA, and the CFEPA, Amoroso
of discrimination. See Conn. Gen. Stat. § 46a-54 (outlining           submits that: 1) he was ″so emotionally tramatized [sic] and
powers of CCHRO). HN5 The time frame is more limited,                 depressed from the layoff . . . and his previous divorce . . .
however, under the CFEPA, pursuant to which a plaintiff               that he was unable to commence civil action until two
must file a charge of discrimination with the CCHRO                   years″ after UTC/Pratt’s alleged discriminatory conduct;
″within [*7] one hundred and eighty days after the alleged            and 2) he understood that ″the time frame within which he
act of discrimination . . . .″ Conn. Gen. Stat. 46a-82(e); State      needed commence action″ was two years. UTC/Pratt, like
v. Commission on Human Rights and Opportunities, 211                  this court, has interpreted Amoroso’s opposition as an
Conn. 464, 472, 559 A.2d 1120 (1989).                                 argument for the equitable tolling of the statute of limitations.

Amoroso has failed to comply with the deadlines contained             ″HN7 The principles of equitable tolling . . . do not extend
in either the federal or state statutes. The most recent              to what is at best a garden variety claim of excusable
discriminatory act Amoroso has alleged is UTC/Pratt’s                 neglect.″ Irwin v. Department of Veterans Affairs, 498 U.S.

2
    The Connecticut Supreme Court recently granted certification to determine whether the 180 day period for filing a discrimination
complaint with the CCHRO was jurisdictional, and therefore not susceptible to waiver or equitable tolling. See Williams v. Commission
on Human Rights and Opportunities, 252 Conn. 930, 746 A.2d 794 (1999). Because this court concludes that Amoroso has not alleged
facts sufficient to trigger the equitable tolling doctrine, it does not reach the jurisdictional issue presented in Williams.
3
    Amoroso’s complaint alleges that UTC/Pratt laid him off as part of ″a pattern and practice of discrimination against older
employees[,]″ words which ring of the standard for a continuing violation. See Cornwell v. Robinson, 23 F.3d 694, 703 (2d Cir. 1994).
″HN6 When a plaintiff experiences a continuous practice and policy of discrimination . . . the commencement of the statute of limitations
period may be delayed until the last discriminatory act in furtherance of it.″ Id. (emphasis added). Because Amoroso’s complaint has
failed to allege any act ″in furtherance″ of such a policy or practice that occurred within 300 days of his filing, he cannot show a
continuing violation.

                                                               Page 4 of 5
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 5 of 57
                                                 2000 U.S. Dist. LEXIS 18169, *9



89, 96, 111 S. Ct. 453, 112 L. Ed. 2d 435 (1990). A plaintiff        ADEA).
has the burden of showing that equitable tolling is
appropriate. See Hedgepeth v. Runyon, 1997 U.S. Dist.                Here, Amoroso has not alleged any facts to support an
LEXIS 19508, 1997 WL 759438, at *4 (S.D.N.Y. Dec. 10,                equitable tolling argument. As noted above, he maintains
1997). Courts have applied this doctrine ″only sparingly″            that the emotional trauma and depression he experienced
and, in particular, in the following circumstances:                  due to his layoff and simultaneous divorce rendered him
                                                                     unable to commence this action in a timely fashion. In the
    HN8 where the [plaintiff] has actively pursued his               alternative, he asserts that his understanding was that he had
    judicial remedies by filing a defective pleading                 two years to file a complaint with the CCHRO. Under Boos
     [*10]    during the statutory period, . . . where the           and Saab, neither of these reasons justify the application of
    [plaintiff] has been induced or tricked by his                   the equitable tolling doctrine. Amoroso’s pro se status does
    adversary’s misconduct into allowing the filing                  nothing to change this result. Cf. Blaizin v. Caldor Store #
    deadline to pass[,] . . . where the court has led the            38, 1999 U.S. Dist. LEXIS 1861, No. 97 CIV. 1604(DAB),
    plaintiff to believe that [the plaintiff] had done all           1999 WL 97899, at *2 (S.D.N.Y. Feb. 23, 1999) (holding
    that was required of [him], where affirmative                    equitable tolling not appropriate despite plaintiff’s pro se
    misconduct on the part of the defendant may have                 status and limited English skills). Accordingly, the court
    lulled the plaintiff into inaction, where the [plaintiff]
                                                                     concludes that Amoroso’s ADA, ADEA, and CFEPA 4
    has received inadequate notice, and where a motion
                                                                     actions are time-barred.
    for the appointment of counsel [was] pending.
                                                                     [*12] CONCLUSION
South v. Saab Cars USA, Inc., 28 F.3d 9, 11 (2d Cir. 1994)
(internal quotation marks and citations omitted). HN9
                                                                     Based on the foregoing reasons, UTC/Pratt’s motion to
Equitable tolling is not available, however, when a plaintiff
                                                                     dismiss (document no. 6) is GRANTED with prejudice. The
fails to diligently pursue his rights. See id. at 12. Likewise,
                                                                     clerk of the court is ordered to enter judgment for the
a plaintiff’s allegation that he was incapable of complying
                                                                     defendant.
with the requirements due to emotional distress or ″deep
depression″ is similarly insufficient. See Boos v. Runyon,           It is so ordered this    day of November, 2000 at Hartford,
201 F.3d 178, 185 (2d Cir. 2000) (holding that ″paranoia,            Connecticut.
panic attacks, and depression″ insufficient to justify further
inquiry into tolling); Lloret v. Lockwood Greene Eng’rs,             Alfred V. Covello
Inc., 1998 U.S. Dist. LEXIS 3999, No. 97 CIV 5750, 1998
WL 142326, [*11] at *3 (holding pro se plaintiff’s ″deep             Chief United States District Judge
depression″ did not toll time limitations of ADA and




4
    While the court has dismissed Amoroso’s federal law causes of action, in the interest of judicial economy, it has chosen to retain
jurisdiction over his pendent state law action. See 28 U.S.C. § 1367(c); Itar-Tass Russian News Agency v. Russian Kurier, 140 F.3d 442,
446-47 (2d Cir. 1998).

                                                                Page 5 of 5
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 6 of 57

     Neutral
As of: March 16, 2015 7:28 PM EDT


                                Cavuoto v. Oxford Health Plans, Inc.
                                United States District Court for the District of Connecticut
                                       June 22, 2000, Decided ; June 22, 2000, Filed
                                                   3:99-CV-00446 (EBB)

Reporter
2000 U.S. Dist. LEXIS 9112; 2000 WL 888263

BARBARA CAVUOTO, Plaintiff v. OXFORD HEALTH                      12(b)(6). The court granted defendant’s motion in part,
PLANS, INC., BRENDAN SHANAHAN, SCOTT                             holding that plaintiff failed to state claims under Title VII,
THIBEAULT, and NICK DAUKAS, Defendants                           the Equal Pay Act, FEPA, or for her state law claims,
                                                                 because defendant’s actions were simply run-of-the-mill
Disposition: [*1] Defendants’ Motion to Dismiss Counts 1,        complaints about her particular job and were not sufficiently
3, 4, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16, 18, and 19 [Doc.   severe to make her working environment abusive. The court
No. 16] GRANTED and DENIED as to Count 5.                        denied defendant’s motion in part, holding that plaintiff set
                                                                 forth a prima facie case under the ADA because she was
                                                                 regarded by her supervisor as having a disability within the
Core Terms                                                       meaning of the ADA.

alleges, terminated, motion to dismiss, set forth,               Outcome
discriminatory, disability, payroll, implied contract,
                                                                 Motion granted in part because plaintiff former employee
promissory estoppel, responsibilities, promises, negligent
                                                                 failed to state claims under Title VII of the Civil Rights Act
infliction of emotional distress, hostile work environment,
                                                                 of 1964, the Equal Pay Act, the Connecticut Fair
statute of limitations, individual defendant, cause of action,
                                                                 Employment Practices Act, or for her state law claims.
misrepresentations, complaints, distress, severe
                                                                 Motion denied in part because plaintiff set forth a prima
                                                                 facie case under the Americans with Disabilities Act of 1990
Case Summary                                                     (ADA), because she was regarded by her supervisor as
                                                                 having a disability within the meaning of the ADA.
Procedural Posture
                                                                 LexisNexis® Headnotes
Defendant former employer filed a motion to dismiss
pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) plaintiff
                                                                    Civil Procedure > ... > Jurisdiction > Subject Matter
former employee’s action alleging violations of Title VII of        Jurisdiction > General Overview
the Civil Rights Act of 1964, 42 U.S.C.S. § 2000e et seq.,
the Americans with Disabilities Act of 1990, 42 U.S.C.S. §          Civil Procedure > ... > Responses > Defenses, Demurrers &
                                                                    Objections > Motions to Dismiss
12101 et seq., the Equal Pay Act, the Connecticut Fair
Employment Practices Act, and various state law claims.             Constitutional Law > The Judiciary > Jurisdiction > General
                                                                    Overview
Overview                                                            Constitutional Law > The Judiciary > Jurisdiction > Diversity
                                                                    Jurisdiction
Plaintiff former employee brought an action against
defendant former employer alleging violations of Title VII       HN1 A motion to dismiss under Fed. R. Civ. P. 12(b)(1)
of the Civil Rights Act of 1964 (Title VII), 42 U.S.C.S. §       challenges the court’s statutory or constitutional power to
2000e et seq., the Americans with Disabilities Act of 1990       adjudicate the case and typically alleges that the federal
(ADA), 42 U.S.C.S. § 12101 et seq., the Equal Pay Act, the       court lacks either federal question or diversity jurisdiction
Connecticut Fair Employment Practices Act (FEPA), and            over the action.
various state law claims, regarding her employment with
defendant and her subsequent termination. Defendant filed a         Civil Procedure > ... > Responses > Defenses, Demurrers &
motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(1) and          Objections > Motions to Dismiss
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 7 of 57
                                                2000 U.S. Dist. LEXIS 9112, *1


   Civil Procedure > ... > Pleadings > Complaints > Requirements      Governments > Legislation > Statute of Limitations > Time
   for Complaint                                                      Limitations
                                                                      Labor & Employment Law > ... > Civil Actions > Time
HN2 In considering a motion to dismiss under Fed. R. Civ.             Limitations > General Overview
P. 12(b)(1), the court construes the complaint broadly and
liberally in conformity with the principle set out in Fed. R.      HN6 For purposes of the Equal Employment Opportunity
Civ. P. 8(f). In ruling on such a motion, the court is to          Commission’s filing requirements, the period of limitations
consider allegations of the complaint as true.                     begins to run on the date the plaintiff is given notice of the
                                                                   alleged discriminatory act, even if the acts or its effects do
   Civil Procedure > ... > Responses > Defenses, Demurrers &       not occur until later.
   Objections > General Overview
                                                                      Business & Corporate Compliance > ... > Discrimination >
   Civil Procedure > ... > Defenses, Demurrers & Objections >         Labor & Employment Law > Discrimination
   Motions to Dismiss > Failure to State Claim
                                                                      Labor & Employment Law > Regulators > US Equal
HN3 A motion to dismiss pursuant to Fed. R. Civ. P.                   Employment Opportunity Commission > General Overview
12(b)(6) should be granted only if it is clear that no relief
                                                                   HN7 A Title VII of the Civil Rights Act of 1964, 42
could be granted under any set of facts that could be proved
                                                                   U.S.C.S. § 2000e et seq., plaintiff may not bring claims in
consistent with the allegations. The function of a motion to
                                                                   a lawsuit which were not included in her Equal Employment
dismiss is merely to assess the legal feasibility of a
                                                                   Opportunity Commission (or CHRO) charges.
complaint, not to assay the weight of evidence which might
be offered in support thereof.
                                                                      Civil Rights Law > Protection of Rights > Procedural Matters >
                                                                      Continuing Violations
   Civil Procedure > ... > Defenses, Demurrers & Objections >
   Motions to Dismiss > Failure to State Claim                        Civil Rights Law > Protection of Rights > Procedural Matters >
                                                                      Statute of Limitations
HN4 Pursuant to a Fed. R. Civ. P. 12(b)(6) analysis, the
                                                                      Governments > Legislation > Statute of Limitations > General
court takes all well-pleaded allegations as true, and all
                                                                      Overview
reasonable inferences are drawn and viewed in a light most
favorable to the plaintiff. However, the Federal Rules do not         Governments > Legislation > Statute of Limitations >
allow the substitution of conclusory statements ″for                  Extensions & Revivals
minimally sufficient factual allegations.                             Business & Corporate Compliance > ... > Discrimination >
                                                                      Labor & Employment Law > Discrimination
   Governments > Legislation > Statute of Limitations > General
                                                                      Labor & Employment Law > ... > Statute of Limitations >
   Overview
                                                                       Begins to Run > Continuing Violations
   Governments > Legislation > Statute of Limitations > Time
   Limitations                                                     HN8 Under the continuing-violation exception to the statute
                                                                   of limitations under Title VII of the Civil Rights Act of
   Business & Corporate Compliance > ... > Discrimination >
                                                                   1964, 42 U.S.C.S. § 2000e et seq., the limitations period is
   Labor & Employment Law > Discrimination
                                                                   extended for all claims of discriminatory conduct committed
   Labor & Employment Law > ... > Civil Actions > Time             under an ongoing policy of discrimination even if those acts,
   Limitations > General Overview                                  standing alone, would have been barred by the statute of
                                                                   limitations. However, multiple incidents of discrimination,
HN5 Pursuant to 42 U.S.C.S. § 2000e-5(e), a charge of
                                                                   even similar ones, that are not the result of a discriminatory
discrimination must be filed with the Equal Employment
                                                                   policy or mechanism do not amount to a continuing violation.
Opportunity Commission (EEOC) within 180 days of the
alleged unlawful employment practice or, if the claimant
                                                                      Governments > Legislation > Statute of Limitations >
has already filed the charge with a state or local equal
                                                                      Extensions & Revivals
employment agency, the time is expanded to 300 days. This
requirement functions as a statute of limitations, in that            Business & Corporate Compliance > ... > Discrimination >
discriminatory incidents not timely charged before the                Labor & Employment Law > Discrimination
EEOC will be time-barred upon plaintiff’s suit in a district          Labor & Employment Law > Discrimination > Gender & Sex
court.                                                                Discrimination > Statute of Limitations

                                                            Page 2 of 11
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 8 of 57
                                                 2000 U.S. Dist. LEXIS 9112, *1


   Labor & Employment Law > ... > Statute of Limitations >          HN13 The Americans with Disabilities Act of 1990, 42
    Begins to Run > Continuing Violations                           U.S.C.S. § 12101 et seq., prohibits an employer from
                                                                    discriminating against a qualified individual with a disability
HN9 Title VII of the Civil Rights Act of 1964, 42 U.S.C.S.          because of the disability in regard to the terms, conditions
§ 2000e et seq., is not to be used as a general civility code       and privileges of employment. 42 U.S.C.S. § 12112(a).
but is actionable only for conduct sufficiently extreme to
amount to a change in the terms and conditions of                      Business & Corporate Compliance > ... > Labor & Employment
employment.                                                            Law > Discrimination > Accommodation
                                                                       Labor & Employment Law > ... > Disability Discrimination >
   Business & Corporate Compliance > ... > Discrimination >             Scope & Definitions > General Overview
   Labor & Employment Law > Discrimination
                                                                    HN14 In order to state a viable Americans with Disabilities
HN10 The U.S. Supreme Court has interpreted Title VII of            Act of 1990 (ADA), 42 U.S.C.S. § 12101 et seq., claim, the
the Civil Rights Act of 1964, 42 U.S.C.S. § 2000e et seq., to       plaintiff must plead and prove that: (a) her employer is
bar requiring people to work in a discriminatorily hostile or       subject to the ADA; (b) she suffers from a disability within
abusive work environment. This form of harassment is                the meaning of the ADA; (c) she could perform the essential
actionable when the workplace is permeated with                     functions of her job with or without reasonable
discriminatory intimidation, ridicule, and insult that is           accommodation; and (d) she was discriminated against
sufficiently severe or pervasive to alter the conditions of the     because of her disability.
victim’s employment and to create an abusive working
environment.                                                           Labor & Employment Law > ... > Disability Discrimination >
                                                                        Scope & Definitions > General Overview
   Civil Rights Law > Protection of Rights > Procedural Matters >      Labor & Employment Law > ... > Disabilities Under ADA >
   Statute of Limitations                                               Mental & Physical Impairments > General Overview
   Governments > Legislation > Statute of Limitations > General        Labor & Employment Law > ... > Disabilities Under ADA >
   Overview                                                             Mental & Physical Impairments > Major Life Activities
   Governments > Legislation > Statute of Limitations > Time           Labor & Employment Law > ... > Scope & Definitions >
   Limitations                                                          Disabilities Under ADA > Regarded With Impairments
   Business & Corporate Compliance > ... > Discrimination >            Labor & Employment Law > ... > Evidence > Burdens of
   Labor & Employment Law > Discrimination                             Proof > Employee Burdens of Proof

HN11 The Connecticut Fair Employment Practices Act                  HN15 The Americans with Disabilities Act of 1990 (ADA),
(FEPA) was amended by the legislature to make the statute           42 U.S.C.S. § 12101 et seq., defines ″disability″ as: (1) a
coextensive with Title VII of the Civil Rights Act of 1964,         physical or mental impairment that substantially limits one
42 U.S.C.S. § 2000e et seq. FEPA, therefore, through the            or more of the major life activities of an individual; (2) a
CHRO, has a statute of limitations of 180 days.                     record of such impairment; or (3) being regarded as having
                                                                    such an impairment. 42. U.S.C.S. § 12102(2). Disability is
   Civil Procedure > ... > Responses > Defenses, Demurrers &
                                                                    not a unitary concept under the ADA. Instead, the ADA sets
   Objections > Motions to Dismiss
                                                                    forth three subsets of disability, any one of which is
   Business & Corporate Compliance > ... > Discrimination >         sufficient to trigger its protections.
   Labor & Employment Law > Discrimination
   Labor & Employment Law > Regulators > US Equal                      Civil Procedure > Preliminary Considerations > Federal &
   Employment Opportunity Commission > General Overview                State Interrelationships > Erie Doctrine
                                                                       Labor & Employment Law > Employment Relationships > At
HN12 A failure to comply with the administrative                       Will Employment > General Overview
requirements prescribed by the legislature for a
discrimination claim bars the statutory authority to pursue         HN16 A federal court must look to the highest level of
that claim in court.                                                decision-making in the state.

   Labor & Employment Law > ... > Disability Discrimination >          Business & Corporate Compliance > ... > Discrimination >
    Scope & Definitions > General Overview                             Labor & Employment Law > Discrimination

                                                             Page 3 of 11
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 9 of 57
                                            2000 U.S. Dist. LEXIS 9112, *1


  Labor & Employment Law > Wrongful Termination > Public         Labor & Employment Law > ... > Employment Contracts >
  Policy                                                          Conditions & Terms > General Overview

HN17 An employee who contests his or her discharge as a          Labor & Employment Law > Wrongful Termination > Breach
violation of the safe workplace public policy must prove         of Contract > General Overview
that the condition or situation in which a plaintiff was         Labor & Employment Law > Wrongful Termination > Breach
directed to work posed an objectively, substantial risk of       of Contract > Implied Contracts
death, disease, or serious bodily harm.
                                                              HN20 In Connecticut, an implied employment contract may
  Labor & Employment Law > Wrongful Termination > Breach      arise under the doctrine of promissory estoppel, where
  of Contract > General Overview                              injustice to a promisee who has acted in reliance can be
  Labor & Employment Law > Wrongful Termination > Breach      avoided only by enforcement of a clear and definite promise
  of Contract > For Cause Standard                            which a promisor could reasonably be expected to induce
  Labor & Employment Law > Wrongful Termination > Breach
                                                              reliance. To prevail on such a claim, a plaintiff again must
  of Contract > Implied Contracts                             prove by a fair preponderance of the evidence that her
                                                              employer agreed with her, by words or actions, that she
HN18 Under Connecticut law, a plaintiff must prove by a       could not be terminated without cause.
fair preponderance of the evidence that her employer
agreed, either by words or actions, to undertake some form       Contracts Law > Types of Contracts > Covenants
of actual contract commitment to a plaintiff, under which
                                                                 Governments > Legislation > Statute of Limitations > Time
she could not be terminated without just cause.
                                                                 Limitations

  Labor & Employment Law > Employment Relationships > At         Torts > Business Torts > Bad Faith Breach of Contract > General
  Will Employment > General Overview                             Overview
  Labor & Employment Law > Employment Relationships > At         Torts > Business Torts > Fraud & Misrepresentation > General
  Will Employment > Duration of Employment                       Overview
  Labor & Employment Law > ... > At Will Employment >            Torts > ... > Fraud & Misrepresentation > Negligent
   Exceptions > Implied Contracts                                Misrepresentation > General Overview
  Labor & Employment Law > ... > Employment Contracts >          Torts > ... > Fraud & Misrepresentation > Negligent
   Conditions & Terms > General Overview                         Misrepresentation > Defenses
  Labor & Employment Law > Wrongful Termination > Breach
                                                              HN21 Negligent misrepresentation claims, fraud claims and
  of Contract > General Overview
                                                              breach of the implied covenant of good faith and fair
  Labor & Employment Law > Wrongful Termination > Breach      dealing claims all must be brought within three years from
  of Contract > For Cause Standard                            the date of the act or omission of which Plaintiff complains.
  Labor & Employment Law > Wrongful Termination > Breach      Conn. Gen. Stat. § 52-577.
  of Contract > Implied Contracts
                                                                 Torts > Intentional Torts > Intentional Infliction of Emotional
HN19 Typically, an implied contract of employment does           Distress > General Overview
not limit the terminability of an employee’s employment but
                                                                 Torts > Negligence
merely includes terms specifying wages, working hours, job
responsibilities and the like.                                   Torts > ... > Types of Negligence Actions > Negligent Infliction
                                                                 of Emotional Distress > General Overview
  Contracts Law > Formation of Contracts > Consideration >       Torts > ... > Types of Negligence Actions > Negligent Infliction
  General Overview                                               of Emotional Distress > Elements
  Contracts Law > ... > Consideration > Enforcement of
                                                              HN22 In order to establish a cause of action for negligent
  Promises > General Overview
                                                              infliction of emotional distress, the plaintiff must prove that
  Contracts Law > Formation of Contracts > Consideration >    the defendants: (1) should have realized that their conduct
  Promissory Estoppel                                         involved an unreasonable risk of causing distress to the
  Labor & Employment Law > Employment Relationships >         plaintiff; and (2) should have realized that the distress, if
   Employment Contracts > Breaches                            caused, might result in illness or bodily harm.

                                                       Page 4 of 11
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 10 of 57
                                                  2000 U.S. Dist. LEXIS 9112, *1


   Labor & Employment Law > Wrongful Termination                      For BRENDAN SHANAHAN, SCOTT THIBEAULT,
   Torts > Intentional Torts > Intentional Infliction of Emotional
                                                                      NICK DAUKAS, defendants: David J. Burke, Robinson &
   Distress > General Overview                                        Cole, Stamford, CT.

   Torts > Negligence                                                 Judges: ELLEN BREE BURNS, SENIOR UNITED
   Torts > ... > Types of Negligence Actions > Negligent Infliction   STATES DISTRICT JUDGE.
   of Emotional Distress > General Overview
                                                                      Opinion by: ELLEN BREE BURNS
HN23 Negligent infliction of emotional distress in the
employment context arises only where it is based upon                 Opinion
unreasonable conduct of the defendant in the termination
process. The mere termination of employment, even where
                                                                      RULING ON MOTION TO DISMISS
it is wrongful, is therefore not, by itself, enough to sustain
a claim for negligent infliction of emotional distress. The           Plaintiff Barbara Cavuoto (″Plaintiff″) brings this
mere act of firing an employee, even if wrongfully motivated,         nineteen-count Complaint against her former employer,
does not transgress the bounds of socially tolerable behavior.        Oxford Health Plans, Inc., and three employees of Oxford
                                                                      (collectively ″Defendants″). She claims, inter alios,
   Torts > Intentional Torts > Intentional Infliction of Emotional    violations of Title VII based on hostile work environment,
   Distress > General Overview                                        gender discrimination and retaliation, the Americans with
   Torts > Intentional Torts > Intentional Infliction of Emotional    Disabilities Act (″ADA), the Equal Pay Act, the Connecticut
   Distress > Elements                                                Fair Employment Practices Act (″FEPA″), and state law
                                                                      claims based on breach of contract, promissory estoppel,
HN24 In order to assert a claim for intentional infliction of         implied duty of good faith and fair dealing, negligent
emotional distress, the plaintiff must establish four elements:       infliction [*2] of emotional distress and intentional infliction
(1) that the actor intended to inflict emotional distress or          of emotional distress. Defendants now move to dismiss all
that he knew or should have known that the emotional                  claims, pursuant to Rules 12(b)(1) and 12(b)(6) of the
distress was a likely result of his conduct; (2) that the             Federal Rules of Civil Procedure, with the exception of
conduct was extreme and outrageous; (3) that the defendant’s          those brought under Title VII for gender discrimination and
conduct was the cause of the plaintiff’s distress; and (4) that       the Equal Pay Act.
the distress suffered by the plaintiff was severe.
                                                                      STATEMENT OF FACTS
   Torts > Intentional Torts > Intentional Infliction of Emotional
                                                                      The Court sets forth only those facts deemed necessary to an
   Distress > General Overview
                                                                      understanding of the issues raised in, and decision rendered
HN25 Whether the defendant’s conduct is sufficient to                 on, the Motion. Inasmuch as, under each of these grounds
satisfy the element of extreme and outrageous conduct is a            for dismissal, the factual allegations of the Complaint are
question, in the first instance, for the court. Only where            deemed true, the Court distills the Statement of Facts from
reasonable minds would differ, does it become a question              said Complaint.
for the jury. The general rule is that there is liability for         Plaintiff is a resident of Connecticut and was employed by
conduct exceeding all bounds usually tolerated by a decent            Oxford as the Payroll Manager from June 26, 1995 to on or
society, of a nature which is especially calculated to cause,         about March 9, 1998. She does not allege that she was
and does cause, mental distress of a very serious kind.               working under a contract with Oxford, whose principal
                                                                      place of business is also in Connecticut.
Counsel: For BARBARA CAVUOTO, plaintiff: Eugene N.
Axelrod, Employment Law Group, Woodbridge, CT.                        Brendan Shanahan (″Shanahan″) was Oxford’s Vice
                                                                      President and Comptroller and Plaintiff’s immediate
For OXFORD HEALTH PLANS, INC, BRENDAN                                 supervisor. Scott Thibeault (″Thibeault″) was the Director
SHANAHAN, SCOTT THIBEAULT, NICK DAUKAS,                               of Compensation and Benefits, while Nick Daukus
defendants: John Higgins Kane, Robinson & Cole, Hartford,             (″Daukus″) was the Human Resources Generalist.
CT.
                                                                      Plaintiff alleges that, in her interview [*3] for the job,

                                                               Page 5 of 11
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 11 of 57
                                                2000 U.S. Dist. LEXIS 9112, *3



Shanahan orally promised and represented to her that the           I. The Standards of Review
payroll system was suitable for Oxford, that Oxford was
sensitive to family responsibilities, and that she would not       A. Federal Rule of Civil Procedure [*5] 12(b)(1)
have to work an excessive amount of hours each week.
                                                                   HN1 A Motion to Dismiss under Rule 12(b)(1) ″challenges
These alleged promises took place prior to her employment
                                                                   the court’s statutory or constitutional power to adjudicate
with Oxford.
                                                                   the case . . . and ″typically . . . alleges that the federal court
                                                                   lacks either federal question or diversity jurisdiction over
Plaintiff alleges that, as soon as she commenced employment,
                                                                   the action.″ 2A James W. Moore et al., Moore’s Federal
she discovered that the payroll system was inadequate, that
                                                                   Practice, P12.07, at 12-49 (2d ed. 1994) quoted in Bleiler v.
the Payroll Department lacked the necessary physical space
                                                                   Cristwood Contracting Co., Inc., 868 F. Supp. 461, 464
and staff, and that she was required to work sixty-five hours
                                                                   (D.Conn. 1994), affirmed in part, reversed in part on other
per week.
                                                                   grounds, 72 F.3d 13 (2d Cir. 1995).
Plaintiff also alleges that she inherited compliance issues,       HN2 In considering a motion to dismiss under Rule
that she complained to Shanahan in 1995, and that she              12(b)(1), the court construes the complaint broadly and
submitted a similar complaint through the Vice President of        liberally in conformity with the principle set out in Federal
Human Resources. Despite these discoveries, Plaintiff              Rule of Civil Procedure 8(f). See 5A Charles A. Wright et
continued her employment with Oxford. She further alleges          al., Federal Practice and Procedure § 1350, at 218-19 (1960
that, despite the fact that she continually requested assistance   & Supp. 1991). In ruling on such a motion, the court is to
from Shanahan concerning the affairs of the Payroll                consider allegations of the complaint as true. Zellars v.
Department, he failed to act ″in accord with his managerial        Liberty Nat. Life Ins. Co., 907 F. Supp. 355 (M.D.Ala.
responsibilities.″                                                 1995); Hart v. Mazur, 903 F. Supp. 277 (D.R.I. 1995).

Plaintiff further alleges that Shanahan ″continually″ used         B. Federal Rule of Civil Procedure 12(b)(6)
vulgarities while in her presence (although they are not
alleged to be directed to Plaintiff) [*4] and that he excluded     HN3 A motion to dismiss [*6] pursuant to Fed. R. Civ. P.
her from senior management meetings because she was an             12(b)(6) should be granted only if ″it is clear that no relief
″hysterical female″ who was ″incapable of attending″ such          could be granted under any set of facts that could be proved
meetings. She says that this occurred due to her severe            consistent with the allegations.″ Hishon v. Spalding, 467
                                                                   U.S. 69, 73, 104 S. Ct. 2229, 81 L. Ed. 2d 59 (1984). The
PMS, of which Shanahan was aware.
                                                                   function of a motion to dismiss is ″merely to assess the legal
Plaintiff also alleges that a ″Corrective Action Letter″ was       feasibility of a complaint, not to assay the weight of
issued to her on or about August 12, 1997, containing false        evidence which might be offered in support thereof.″ Ryder
accusations and blaming her for ″low morale″ in her                Energy Distribution Corp. v. Merrill Lynch Commodities,
department, when actually the low morale had been                  Inc., 748 F.2d 774, 779 (2d Cir. 1984) quoting Geisler v.
confirmed to be ″company wide″ by surveys done by                  Petrocelli, 616 F.2d 636, 639 (2d Cir. 1980).
Oxford.
                                                                   HN4 Pursuant to a Rule 12(b)(6) analysis, the Court takes
Plaintiff further states that Thibeault ″repeatedly″ used          all well-pleaded allegations as true, and all reasonable
profanity around her, although this, too, was not directed to      inferences are drawn and viewed in a light most favorable to
her. She also alleges that both Thibeault and Daukas tried to      the plaintiff. Leeds v. Meltz, 85 F.3d 51, 53 (2d Cir. 1996).
circumvent her authority by having her subordinates bring          See also Conley v. Gibson, 355 U.S. 41, 45-46, 78 S. Ct. 99,
complaints to them directly.                                       2 L. Ed. 2d 80 (1957)(Federal Rules reject approach that
                                                                   pleading is a game of skill in which one misstep by counsel
As to her Equal Pay claim, Plaintiff contends that Oxford          may be decisive of case). However, the Federal Rules do not
compensated females ″significantly less than male managers         allow the substitution of conclusory [*7] statements ″for
who had similar jobs and responsibilities.″                        minimally sufficient factual allegations.″ Furlong v. Long
                                                                   Island College Hosp., 710 F.2d 922, 927 (2d Cir. 1983).
Finally, she claims that when she was terminated, the
process followed by Oxford was unreasonable and extreme,           II. The Standards As Applied
and caused her to suffer emotional distress.
                                                                   a. Plaintiff’s Title VII Claims and ADA Claim: Counts
LEGAL ANALYSIS                                                     1,3,4

                                                            Page 6 of 11
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 12 of 57
                                                  2000 U.S. Dist. LEXIS 9112, *7



Defendant Oxford moves to dismiss these Title VII claims,            if those acts, standing alone, would have been barred by the
1
  firstly, for lack of subject matter jurisdiction. Fed.R.Civ.P.     statute of limitations. Annis v. County of Westchester, 136
12(b)(1). Oxford asserts that, inasmuch as Plaintiff failed to       F.3d 239, 246 (2d Cir. 1998). However, ″multiple incidents
meet the time limits of such a claim, she is now time-barred         of discrimination, even similar ones, that are not the result
from bringing it before this Court. Secondly, Defendant              of a discriminatory policy or mechanism do not amount to
alleges that Plaintiff was not subjected to a severely hostile       a continuing violation.″ Lambert v. Genesee Hosp., 10 F.3d
working environment within the meaning of Title VII or the           46, 53 (2d Cir. 1993), cert. denied, 511 U.S. 1052, 128 L.
ADA.                                                                 Ed. 2d 339, 114 S. Ct. 1612 (1994). Plaintiff may not use
                                                                     this exception simply because the conduct which she sets
HN5 Pursuant to 42 U.S.C. Section 2000e-5(e), a charge of
                                                                     forth in the complaint is not discriminatory conduct within
discrimination must be filed with the EEOC within 180 days
                                                                     the meaning of Title VII, in the first place.
of the alleged unlawful employment practice or, if the
claimant has already [*8] filed the charge with a state or           Plaintiff alleges that her job responsibilities were
local equal employment agency, the time is expanded to 300           misrepresented to her during her job interview and that,
days. Quinn v. Green Tree Credit Corp., 159 F.3d 759, 765            shortly following her employment, she found that these
(2d Cir. 1998). This requirement functions as a statute of           misrepresentations were significant. She further alleges that,
limitations, in that discriminatory incidents not timely             having discovered [*11] the above misrepresentations, in
charged before the EEOC will be time-barred upon Plaintiff’s         August, 1995, she submitted a complaint through Shanahan
suit in a district court. Van Zant v. KLM Royal Dutch                and the Human Resources Department. She also inquired of
Airlines, 80 F.3d 708, 712 (2d Cir. 1996); see also Butts v.         Shanahan why he had misrepresented the state of the payroll
City of New York, 990 F.2d 1397, 1401 (2d Cir. 1993).                department to her.
                                                                     Plaintiff further alleges that she was issued a Corrective
In Delaware v. Ricks, 449 U.S. 250, 258, 66 L. Ed. 2d 431,
                                                                     Action letter on August 12, 1997, which contained erroneous,
101 S. Ct. 498 (1980), the Supreme Court held that, HN6
                                                                     untrue and exaggerated statements concerning complaints
for purposes of the EEOC’s filing requirements, the period
                                                                     from employees in Plaintiff’s department. A revised
of limitations begins to run on the date the Plaintiff is given
                                                                     Corrective Action Letter was issued at the end of August,
notice of the alleged discriminatory act, even if the acts or
                                                                     1997.
its effects do not occur until later. 2 In the present case,
Plaintiff claimed discriminatory incidents beginning in June         Finally, she asserts that male co-workers frequently used
of 1995 and continuing through the end of August, 1997.              profanity in front of her, though it was not directed to her,
See, e.g., Complaint at PP 15, 22, 23, 27, 28 and 29.                which she found personally objectionable. However, the
However, she did not file her CHRO Complaint until June              lack of gentility of these particular men still does not: (a)
26, 1998, which is almost two years after [*9] the initial           bring her within any continuing violation exception: or (b)
conduct of which she complained as discriminatory conduct            set forth a claim for hostile work environment or sexual
amounting to a hostile work environment. 3                           discrimination within the meaning of Title VII. ″HN9 Title
                                                                     VII is not to be used as a ’general civility code’ but is
  [*10]     Nor can Plaintiff take advantage of the                  actionable only for conduct sufficiently ’extreme to amount
continuing-violation exception to the statute of limitations         to a change in the terms and conditions of employment.’″
under Title VII. HN8 Under this exception, the limitations           Osier v. Broome County, 47 F. Supp. 2d 311, 323, 1999 WL
period is extended for all claims of discriminatory conduct          304683 (N.D.N.Y. 1999), quoting Faragher v. City of Boca
committed under an ongoing policy of discrimination even             Raton, 524 U.S. 775, 783, 141 L. Ed. 2d 662, 118 S. Ct.

1
    The only Title VII claim which Defendants have not moved to dismiss is Count Two, which Count pleads gender discrimination.
2
   For purposes of examining the time requirements under both the EEOC and CHRO charges, the state courts have looked to the federal
courts in deciding issues regarding discriminatory practices. See Department of Health Servs. v. Commission on Human Rights &
Opportunities, 198 Conn. 479, 489, 503 A.2d 1151 (1986).
3
    Plaintiff alleges in her Complaint that she was retaliated against for making complaints about her working environment. However,
she never set forth a retaliation count in either of her EEOC or CHRO complaints. This is fatal to her retaliation claims, in that HN7
a Title VII plaintiff may not bring claims in a lawsuit which were not included in her EEOC (or CHRO) charges. Alexander v.
Gardner-Denver Co., 415 U.S. 36, 47, 39 L. Ed. 2d 147, 94 S. Ct. 1011 (1974). ″Allowing a complaint to encompass allegations outside
of the ambit of the predicate EEOC charge would frustrate the EEOC’s investigatory and conciliatory role, as well as deprive the charged
party of notice of the charge.″ Cheek v. Western and Southern Life Ins. Co., 31 F.3d 497, 499 (7th Cir. 1994).

                                                              Page 7 of 11
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 13 of 57
                                                 2000 U.S. Dist. LEXIS 9112, *11



2275 (1998). [*12]                                                   b. Count Five: The ADA Claim

HN10 The Supreme Court has interpreted Title VII to bar              HN13 The ADA prohibits an employer from discriminating
″requiring people to work in a discriminatorily hostile or           against a ″qualified individual with a disability because of
abusive work environment.″ Harris v. Forklift Systems, Inc.,         the disability . . . in regard to [the] terms, conditions and
510 U.S. 17, 21, 126 L. Ed. 2d 295, 114 S. Ct. 367 (1993).           privileges of employment.″ 42 U.S.C. Section 12112(a).
This form of harassment is actionable ″when the workplace
is permeated with discriminatory intimidation, ridicule, and         HN14 In order to state a viable ADA claim, the Plaintiff
insult that is sufficiently severe or pervasive to alter the         must plead and prove that: (a) her employer is subject to the
conditions of the victim’s employment and to create an               ADA; (b) she suffers from a disability within the meaning
abusive working environment.″ Id. In her Complaint,                  of the ADA; (c) she could perform the essential functions of
Plaintiff alleges a hostile work environment within the              her job with or without reasonable accommodation; and (d)
meaning of Title VII and the ADA which was caused by the             she was discriminated against because of her disability.
use of profanity in her presence, that her supervisors               Reeves v. Johnson Controls World Servs., 140 F.3d 144,
encouraged her subordinates to report to them, rather than to        149-50 (2d Cir. 1998); [*15] Ryan v. Grae & Rybicki, P.C.,
her, that, on two occasions, a coworker reduced her to tears         135 F.3d 867, 869-70 (2d Cir. 1998).
and, when she filed an action under Oxford’s anti-harassment         In the present case, Plaintiff succeeds in setting forth her
policy, her case was not investigated by Oxford. Construing          prima facie case in that she is regarded by her supervisor as
these allegations in the light most favorable to Plaintiff, the      having a disability within the meaning of the ADA. HN15
Court finds that such actions are simply run-of-the-mill             The ADA defines ″disability″ as: (1) a physical or mental
complaints about her particular job and were not sufficiently        impairment that substantially limits one or more of the
severe to make her working environment ″abusive″ within              major life activities of an individual; (2) a record of such
the meaning of Title VII or the ADA.                                 impairment; or (3) being regarded as having such an
                                                                     impairment. See 42. U.S.C. § 12102(2). ″Disability is not a
This cannot [*13] be the basis for a hostile work environment
                                                                     unitary concept under the ADA.″ Abbott v. Bragdon, 107
claim because there is no implication of all-encompassing
                                                                     F.3d 934, 938 (1st Cir. 1997). Instead, the statute sets forth
discriminatory behavior.
                                                                     three subsets of disability, any one of which is sufficient to
                                                                     trigger the Act’s protections. Id. The subset which Plaintiff
Accordingly, Counts 1 and 3, brought under Title VII, are
                                                                     meets is three, as her pleading that she was not permitted to
dismissed, both procedurally and substantively, pursuant to
                                                                     attend certain meetings because she was an ″hysterical
subsections (1) and (6) of Federal Rule of Civil Procedure
                                                                     woman″ due to her PMS, must be interpreted as being
12. 4 Count 4, brought under the ADA, and incorporating
                                                                     ″regarded as having a disability″ by her supervisor.
the identical conduct, also must be dismissed because such
                                                                     Accordingly, she states a claim upon which relief may be
did not create a hostile work environment under the standards
                                                                     granted in Count 5.
set forth above.
                                                                     c. Count 10: Conn. Gen. Stat. § 31-49 Claim
Counts 3, 7 and 8 are also dismissed as to the individual
Defendants, as Plaintiff did not [*14] name them in her              HN16 A federal court must look to [*16] the highest level
CHRO charge and never served them notice of same. HN12               of decision-making in the state, here the Supreme Court for
A failure to comply with the administrative requirements             Connecticut. The Supreme Court, in Parsons v. United
prescribed by the legislature for a discrimination claim bars        Technologies Corp., Sikorsky Aircraft Division, 243 Conn.
the statutory authority to pursue that claim in Court. See           66, 700 A.2d 655 (1997), held that an at-will employee
Sullivan v. Board of Police Commissioners, 196 Conn. 208,            could plead a cause of action for wrongful discharge for
216, 491 A.2d 1096 (1985); accord Carter v. City of                  refusing to travel to the area of the Persian Gulf war, as such
Hartford, 1998 U.S. Dist. LEXIS 21011, 1998 WL 823044                was a reasonably unsafe working condition, which threatened
(D.Conn. 1998)(dismissing individuals not named in EEOC              his physical welfare or could result in the risk of death,
petition pursuant to Fed.R.Civ.P. 12(b)(1)).                         disease or serious bodily harm to the employee. Id. at 80,

4
    HN11 The FEPA was amended by the legislature to make the statute coextensive with Title VII. FEPA, therefore, through the CHRO,
has a statute of limitations of 180 days. Accordingly, as with the Title VII claim, the FEPA claims brought in Counts 6-9 are dismissed
as time-barred. In any event, such claims are dismissed for the identical substantive reasons the Court has set forth in this Ruling
regarding Plaintiff’s Title VII claims.

                                                              Page 8 of 11
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 14 of 57
                                              2000 U.S. Dist. LEXIS 9112, *16



82. HN17 An employee ″who contests his or her discharge          Plaintiff alleges that after commencing employment with
as a violation of the safe workplace public policy [must]        Oxford, she found these statements, upon which she relied,
prove that the condition or situation in which a plaintiff was   to be untrue. This, however, does not legally change her
directed to work posed an objectively, substantial risk of       position to an employee who could not be terminated
death, disease, or serious bodily harm.″ Id. at 86.              without just cause, as Plaintiff seems to allege. ″HN19
                                                                 Typically, an implied contract of employment does not limit
Plaintiff’s pleadings herein are woefully insufficient to        the terminability of an employee’s employment but merely
plead a cause of action based on an unsafe working               includes terms specifying wages, working hours, job
condition. Based on the objective standard set forth in          responsibilities and [*19] the like.″ Torosyan v. Boehringer
Parsons in defining an unsafe working condition, Plaintiff’s     Ingelheim Pharmaceuticals, Inc., 234 Conn. 1, 14, 662 A.2d
claims do not, in whole or in part, set forth facts from which   89 (1995). Although the alleged promises of Oxford included
one could make [*17] the leap that the behavior complained       Plaintiff’s working hours and job responsibilities, Oxford
of is violative of Section 31-49. See also Perille v.            did not change Plaintiff’s at-will status and Plaintiff did not
Raybestos-Manhattan Europe, Inc., 196 Conn. 529, 494             plead that Oxford breached its implied contract with her by
A.2d 555 (no cause of action under Section 31-49, even           terminating her without cause. Rather, her claim for breach
where interactions among co-workers resulted in assault).        of an implied contract is the fact that the oral promises made
                                                                 to her were allegedly false. The Court is at a loss as to
Plaintiff fails to set forth a cause of action under Section     damages Plaintiff suffered as a result of this and, with no
31-49. Hence, Count 10 is also dismissed, pursuant to Rule       remedy, there can be no breach of implied contract.
12(b)(6) of the Federal Rules of Civil Procedure.
                                                                 Nor is Plaintiff’s claim for promissory estoppel (Count 14)
c. Counts 11-12: Breach of Implied Contract Count 14:            a viable cause of action under Connecticut law, based on the
Promissory Estoppel                                              facts of this case. Count 14 is a duplicate of the breach of
                                                                 implied contract Counts 11 and 12, except the term ″induced
Counts 11 through 13 allege that Oxford made certain             reliance″ is added to each sentence. HN20 In Connecticut,
promises to Plaintiff and breached those promises. Counts        an implied employment contract may arise under the doctrine
11 and 12 are both entitled ″Breach of Contract As to All        of promissory estoppel, where injustice to a promisee who
Defendants″.                                                     has acted in reliance can be avoided only by enforcement of
                                                                 ″a clear and definite promise which a promisor could
The Counts must be dismissed as to the individual                reasonably be expected to induce [*20] reliance.″ Manning,
Defendants, as it is clear from the language, and damages        807 F. Supp. at 895 (citations omitted). To prevail on such
sought, that they relate only to Oxford itself. No allegations   a claim, a plaintiff again must prove by a fair preponderance
against the three individual Defendants are pleaded.             of the evidence that her employer agreed with her, by words
Accordingly, pursuant to Fed.R.Civ.P. 12(b)(6), the              or actions, that she could not be terminated without cause.
individual Defendants are dismissed from these Counts.           Although Plaintiff pleads that she ″relied to her detriment″
                                                                 on the alleged statements set forth above, she does not say
As to Oxford, these claims must also be dismissed. HN18          why, or how, she was damaged thereby. Nowhere does she
Under Connecticut law, a plaintiff must prove by a fair          plead that she could not have been terminated without
preponderance of the evidence that her employer [*18]            cause, which is the sina qua non of claims of breach of
″’agreed, either by words or actions, to undertake [some]        implied contract and promissory estoppel.
form of actual contract commitment’″ to [Plaintiff], under
                                                                 Even viewing these allegations in the light most favorable to
which [she] could not be terminated without just cause.″
                                                                 Plaintiff, and drawing all inferences in her favor, the Court
Manning v. Cigna Corp., 807 F. Supp. 889, 895 (D.Conn.
                                                                 cannot find that she sets forth a claim under Count 11, 12 or
1991), quoting Coelho v. Posi-Seal Int’l., Inc., 208 Conn.
                                                                 14 and they are, accordingly, dismissed.
106, 112, 544 A.2d 170 (1988)(citations omitted). Plaintiff
alleges that an implied contract arose when Defendant            e. Counts 13, 15 and 16: The Statute of Limitations
advised her that the payroll department was in good shape,
that she would not have to work long hours, and that the         HN21 Negligent misrepresentation claims, fraud claims and
payroll system was capable of handling the size of the           breach of the implied covenant of good faith and fair
growing company. There are no written documents upon             dealing claims all must be brought within three years from
which Plaintiff relies to bolster her claim of implied           the date of the act or omission of which Plaintiff complains.
contract.                                                        Conn. Gen. Stat. § 52-577. Accord West Haven v.

                                                          Page 9 of 11
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 15 of 57
                                                 2000 U.S. Dist. LEXIS 9112, *20



Commercial Union Ins. Co. 894 F.2d 540 (2d Cir. 1996);                of employment, even where it is wrongful, is therefore not,
 [*21] In re Colonial Ltd. Partnership Litigation, 854 F.             by itself, enough to sustain a claim for negligent infliction of
Supp. 64, 90 (D.Conn. 1994).                                          emotional distress. ’The mere act of firing an employee,
                                                                      even if wrongfully motivated, does not transgress the
Plaintiff asserts that Defendants made certain                        bounds of socially tolerable behavior.’″. Parsons 243 Conn.
misrepresentations and fraudulent statements to her prior to          at 88-89, citing Morris v. Hartford Courant Co., 200 Conn.
her commencing employment with Oxford. She further                    676, 682, 513 A.2d 66 (1986) and Madani v. Kendall Ford,
alleges that ″immediately after commencing employment″,               Inc., 312 Ore. 198, 204, 818 P.2d 930 (1991).
she discovered that these statements and representations
were false. It is these allegations which form the basis for          In the present case, the Court finds that there was nothing
Plaintiff’s claim for implied covenant of good faith,                 unreasonable [*24] or socially intolerable behavior in the
promissory estoppel, negligent misrepresentation and                  termination of Plaintiff. The fact that she was not allowed to
fraud/deceit.                                                         retrieve her personal belongings without a corporate
                                                                      employee at hand is usual behavior for corporations for their
Plaintiff was hired on or about June 26, 1995. In her                 own protection. See Parsons, 243 Conn. at 89 (removing an
Complaint she alleges that these statements were made ″on             employee from building under security escort after
or about June of 1995, prior to accepting her position as             termination insufficient to support claim for negligent
payroll manager . . . . ″ She further asserts that she                infliction of emotional distress). The cancellation of her
″discovered″ that the representations were false ″immediately         voice mail is also not intolerable behavior, transgressing
upon commencing employment.″ Therefore, in order for                  bounds of decency.
these claims to be timely brought, Plaintiff must have filed
these claims by June 26, 1998.                                        Accordingly, Count 18 is dismissed for failure to state a
                                                                      claim upon relief may be granted. Fed.R.Civ.P. 12(b)(6).
Inasmuch as her Complaint containing these claims was not
brought until February 18, 1999, Count 13 through and                 g. Count 19: Intentional Infliction of Emotional Distress
including Count 16 are time-barred and will be dismissed,
as Plaintiff fails to set forth claims upon which [*22] relief        HN24 In order to assert a claim for intentional infliction of
may be granted. Fed.R.Civ.P. 12(b)(6). Accord, Fed.R.Civ.P.           emotional distress, the Plaintiff must establish four elements:
12(b)(1). 5                                                           ″(1) that the actor intended to inflict emotional distress; or
                                                                      that he knew or should have known that the emotional
f. Count 18: Negligent Infliction of Emotional Distress 6             distress was a likely result of his conduct; (2) that the
                                                                      conduct was extreme and outrageous; (3) that the defendant’s
HN22 In order to establish a cause of action for negligent            conduct was the cause of the plaintiff’s distress; and (4) that
infliction of emotional distress, [*23] the Plaintiff must            the distress suffered by the plaintiff was severe.″ Petyan v.
prove that the Defendants: (1) should have realized that              Ellis, 200 Conn. 243, 253, 510 A.2d 1337 (1986). [*25]
their conduct involved an unreasonable risk of causing
distress to the Plaintiff; and (2) should have realized that the      HN25 Whether the Defendant’s conduct is sufficient to
distress, if caused, might result in illness or bodily harm.          satisfy the element of extreme and outrageous conduct is a
Barrett v. Danbury Hospital, 232 Conn. 242, 259, 260-61,              question, in the first instance, for the Court. Johnson v.
654 A.2d 748 (1995).                                                  Chesebrough-Pond’s USA Co., 918 F. Supp. 543, 552
                                                                      (D.Conn.) aff’d 104 2d. 355 (2d Cir. 1996). Only where
There are, however, specific rules when the alleged infliction        reasonable minds would differ, does it become a question
occurs in the workplace. ″HN23 Negligent infliction of                for the jury. Id., citing Reed v. Signode Corp., 652 F. Supp.
emotional distress in the employment context arises only              129, 137 (D.Conn. 1986). See also 1 Restatement (Second)
where it is ’based upon unreasonable conduct of the                   of Torts § 46, comment (h). The general rule ″is that there
defendant in the termination process.’ The mere termination           is liability for conduct exceeding all bounds usually tolerated

5
    Plaintiff attempts to set forth additional arguments in her memorandum of law, not set forth in her complaint, regarding these causes
of action. These after-the fact allegations cannot supersede allegations of the Complaint, nor be considered by this Court in ruling on
this Motion to Dismiss. See, e.g. Davis v. Cole, 999 F. Supp. 809, 813 (E.D.Va. 1998).
6
   This Count is dismissed against the individual Defendants Thibeault and Daukus because there are no specific, wrongful allegations
brought against these two men in this Count. In fact, neither was involved in the termination of Plaintiff.

                                                              Page 10 of 11
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 16 of 57
                                              2000 U.S. Dist. LEXIS 9112, *25



by a decent society, of a nature which is especially calculated   CONCLUSION
to cause, and does cause, mental distress of a very serious
kind.″ Johnson, 918 F. Supp. at 552 quoting Mellaly v.            For all of the foregoing reasons, Defendants’ Motion to
Eastman Kodak Co., 42 Conn. Supp. 17, 19-20, 597 A.2d             Dismiss Counts 1, 3, 4, 6, 7, 8, 9, 10, 11, 12, 13, 14, 15, 16,
846 (Conn. Super. 1991). See also 1 Restatement (Second)          18, and 19 [Doc. No. 16] is GRANTED. It is DENIED as to
at comment (d)(″Conduct must be so outrageous and                 Count 5.
extreme . . . as to go beyond all possible grounds of decency,
and to be regarded as atrocious, and utterly intolerable in a     If the parties believe that a settlement conference would be
civilized society″.).                                             of assistance, they shall so notify the Court.

Applying these stringent standards to the present case,           SO ORDERRED
 [*26] while viewing them in the light most favorable to
Plaintiff, the Court finds that Defendants’ conduct as            ELLEN BREE BURNS
alleged in the Complaint was not ″so outrageous and
extreme . . . [as] to be regarded as atrocious and utterly        SENIOR UNITED STATES DISTRICT JUDGE
intolerable in a civilized society.″
                                                                  Dated at New Haven, Connecticut this 22nd day of June,
Hence, Count 19 is also dismissed for failure to state a claim    2000.
under which relief may be granted. Fed.R.Civ.P. 12(b)(6).




                                                           Page 11 of 11
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 17 of 57

     Neutral
As of: March 16, 2015 7:19 PM EDT


                                          Goins v. Bridgeport Hosp.
                                United States District Court for the District of Connecticut
                                      March 25, 2013, Decided; March 25, 2013, Filed
                                                    No. 3:11cv560 (SRU)

Reporter
2013 U.S. Dist. LEXIS 41160; 2013 WL 1193227

AMEY GOINS, Plaintiff, v. BRIDGEPORT HOSPITAL,                    Plaintiff Amey Goins alleges that her former employer,
MARYLYN COSCIA, Defendants.                                       Defendant Bridgeport Hospital (the ″Hospital″), created a
                                                                  hostile work environment, treated her disparately, wrongfully
Prior History: Goins v. Bridgeport Hosp., 2011 U.S. Dist.         terminated her, and unlawfully retaliated against her in
LEXIS 118774 (D. Conn., Oct. 14, 2011)                            violation of Title VII, 42 U.S.C. § 2000e et seq. She further
                                                                  alleges that her former supervisor, Defendant Marylyn
Core Terms                                                        Coscia, created a hostile work environment and discriminated
                                                                  against her in violation of 42 U.S.C. § 1981.
termination, adverse employment action, hostile work
                                                                  Currently pending are two motions for summary judgment:
environment, summary judgment, hostile, discriminatory,
                                                                  one brought by Bridgeport Hospital [doc. # 74] and the
disciplined, nurses, prima facie case, alleges, warning,
                                                                  other brought by Marylyn Coscia [doc. # 75]. For the
disciplinary, retaliation, workplace, genuine, shifts, material
fact, patient, oxygen, severe, summary judgment motion,           reasons that follow, [*2] the motions for summary judgment
disparate treatment, work environment, nonmoving party,           are granted.
written warning, co-worker’s, incidents, bitch, fails
                                                                  I. Background1
Counsel: [*1] For Amey Goins, Plaintiff: W. Martyn
Philpot, Jr., LEAD ATTORNEY, Law Offices of W. Martyn             Amey Goins, an African-American registered nurse began
Philpot, Jr., LLC, New Haven, CT.                                 working at the Hospital in 2005. Her supervisor from 2005
                                                                  until 2009 was Marylyn Coscia and from 2009 until Goins’
For Bridgeport Hospital, Defendant: Adam S. Mocciolo,             termination in March 2010 was Candace Maffei. Both
Michael N. Lavelle, LEAD ATTORNEYS, Pullman &                     Coscia and Maffei are Caucasian. Goins alleges that the
Comley - Bpt, Bridgeport, CT.                                     Hospital created a hostile work environment, treated her
                                                                  disparately, wrongfully terminated her employment and
For Marylyn Coscia, in her official and individual capacity,      unlawfully retaliated against her in violation of Title VII, 42
Defendant: Gordon D. Quinn, LEAD ATTORNEY, Sullivan               U.S.C. § 2000e et seq. She further alleges that two of her
& Hayes, Springfield, MA; Meghan B Sullivan, LEAD                 supervisors, Coscia and Maffei, created a hostile work
ATTORNEY, Sullivan, Hayes & Quinn, LLC, Springfield,              environment and treated her disparately in violation of 42
MA.                                                               U.S.C. § 1981, and that all three defendants intentionally
                                                                  inflicted emotional distress upon her in violation of
Judges: Stefan R. Underhill, United States District Judge.        Connecticut state law. In October 2011, District Judge Mark
                                                                  R. Kravtiz dismissed the suit against Maffei and dismissed
Opinion by: Stefan R. Underhill                                   the count of intentional infliction [*3] of emotional distress
                                                                  against all Defendants. See Ruling and Order [doc. # 49].

Opinion                                                           Goins claims that during her employment she was subjected
                                                                  to a variety of hostile and discriminatory behavior by Coscia
MEMORANDUM OF DECISION                                            and others. Goins claims that during her tenure at the

1
  Unless otherwise noted, the facts are taken from Defendants’ Local Rule 56(a)(1) Statements [docs. # 74-10, 75-6], Defendants’
Mots. for Summ. J. [docs. # 74, 75], Goins’ Local Rule 56(a)(2) Statement [doc. # 82-2] and Goins’ Opp’n to Summ. J. [doc. # 82].
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 18 of 57
                                              2013 U.S. Dist. LEXIS 41160, *4


Hospital, Coscia refused to post positive notes about Goins      In September 2009, one of Goins’ patients fell on the floor.
on the bulletin board by the nurses’ lounge, but posted          Maffei, who replaced Coscia, questioned Goins twice and
positive comments about other nurses on the same bulletin        issued her a disciplinary warning for not knowing the
board. In July 2005, Coscia grabbed her hand stiffly and         protocol to follow when a patient falls. Goins claims that
said that she was ″sick and tired of [the Hospital’s Chairman    white nurses were not repeatedly questioned and then
of Psychiatry] telling her that Goins was a good nurse.″ Pl.’s   disciplined in similar cases. After this incident, Goins filed
Local Rule 56(a)(2) Statement [doc. # 82-2] at 8-9.              a second CHRO complaint.
Beginning in 2006, Goins was consistently denied shift
change requests. Although Goins signed a work/payroll            Also in September 2009, someone anonymously wrote
schedule agreement with the Hospital, which established an       ″Fake Bitch″ with an arrow pointing to Goins’ name on the
evenings/night shift schedule, Goins asked to be assigned to     float log posted in the nurses’ lounge. Goins made a copy of
day shifts. Coscia repeatedly denied Goins’ shift-change         the float log and gave it to Maffei. Maffei asked her
requests while allowing white nurses to switch, despite the      supervisor if she recognized [*6] the handwriting. Her
fact that Goins had more seniority. Ultimately, Coscia’s         supervisor did not. Nothing more was done. The float log
denials were reversed by Anna Aquillo, Director of the Unit.     remained posted in the nurses’ lounge.

In January 2009, Peter Kokkoros, a white nurse, told Goins       Back in February 2009, Coscia failed to give Goins her
that a patient had [*4] an order from a physician for oxygen.    performance review. Goins claims that the delay caused her
Kokkoros had failed to enter the order into the computer         to forgo a wage increase because in March 2009 the
system before the end of his shift. Goins did not check the      Hospital instituted a wage freeze. However, the Hospital
computer system to verify the oxygen order before                states that the delay in the performance evaluation did not
administering the oxygen. Goins was issued a disciplinary        deprive Goins of a pay raise because any raise would apply
warning that remained in her personnel file for a period of      retroactively. Goins was not the only employee who did not
time. Kokkoros was not issued a written warning. After           receive a timely review from Coscia. Goins had still not
Goins found out that Kokkoros did not receive a written          received her review from Coscia when Coscia retired in
warning, Goins filed a complaint with the Commission on          September 2009. Finally in November 2009, Goins’
Human Rights and Opportunities (″CHRO″). Based on                performance evaluation for the period from February 2008
statements from Coscia, the Hospital answered the complaint      to February 2009 was completed by Maffei and Matthew
by stating that Goins and Kokkoros had received equivalent       McDonough, the department director. Goins received her
warnings. After the Hospital conducted a more thorough           review from Maffei, which indicated that she was lacking in
investigation, it discovered that Coscia had backdated a         overall competence, leadership and critical-thinking skills.
written warning to Kokkoros. Coscia was asked to retire.         Goins was placed on a 90-day performance improvement
The Hospital downgraded Goins’ discipline from a written         plan and was ineligible for a wage increase. This review was
warning to a verbal warning. The Hospital, however,              in contrast to her prior positive reviews.
considers Goins’ omission to be more serious than Kokkoros’
because she had administered the treatment without either a      A performance evaluation for the period of November 17,
direct physician order or confirmation of the order.             2009 to February 15, 2010 [*7] was prepared by Maffei and
                                                                 given to Goins on March 19, 2010, the date of her
Also in January 2009, while Goins was sitting at a conference    termination. Although Goins’ second CHRO complaint was
table giving a report, an African-American [*5] co-worker,       dismissed in February 2010, the CHRO subsequently
Pat Allen, pushed her way behind Goins. Goins believes that      reinstated the complaint after Goins was terminated, and
Allen’s actions constituted physical aggressiveness and          allowed her to file an amended complaint. Goins filed an
violence. Although Goins’ supervisor witnessed the event         amended complaint in October 2010. This complaint was
and other supervisors were apprised of the event, they did       also dismissed. A release of jurisdiction letter was issued by
not reprimand Allen. Allen continued to berate Goins during      the CHRO in March 2011. Goins then commenced this
her employment, suggesting that she should quit her job and      action.
questioning her sexual orientation.
                                                                 II. Standard of Review
In March 2009, Goins was disciplined for forgetting to
check off that she had given a patient medication. She           Summary judgment is appropriate when the record
claims that white nurses were not disciplined for the same       demonstrates that ″there is no genuine dispute as to any
infraction.                                                      material fact and the movant is entitled to judgment as a

                                                           Page 2 of 6
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 19 of 57
                                               2013 U.S. Dist. LEXIS 41160, *7


matter of law.″ Fed. R. Civ. P. 56(a); see also Anderson v.        situation, ″there can be ’no genuine issue as to any material
Liberty Lobby, Inc., 477 U.S. 242, 256, 106 S. Ct. 2505, 91        fact,’ since a complete failure of proof concerning an
L. Ed. 2d 202 (1986) (plaintiff must present affirmative           essential element of the nonmoving party’s case necessarily
evidence in order to defeat a properly supported motion for        renders all other facts immaterial.″ Id. at 322-23; accord
summary judgment).                                                 Goenaga v. March of Dimes Birth Defects Found., 51 F.3d
                                                                   14, 18 (2d Cir. 1995) (movant’s burden satisfied if he can
When ruling on a summary judgment motion, the court                point to an absence of evidence to support an essential
must construe the facts in the light most favorable to the         element of nonmoving party’s claim). In short, if there is no
nonmoving party and must resolve all ambiguities and draw          genuine issue [*10] of material fact, summary judgment
all reasonable inferences against the moving party. Anderson,      may enter. Celotex, 477 U.S. at 323.
477 U.S. at 255; Matsushita Elec. Indus. Co. v. Zenith Radio
Corp., 475 U.S. 574, 587, 106 S. Ct. 1348, 89 L. Ed. 2d 538        III. Discussion
(1986); Adickes v. S.H. Kress & Co., 398 U.S. 144, 158-59,
90 S. Ct. 1598, 26 L. Ed. 2d 142 (1970); [*8] see also             Goins brings hostile work environment (Count I), disparate
Aldrich v. Randolph Cent. Sch. Dist., 963 F.2d. 520, 523 (2d       treatment (Count I), wrongful termination (Count III) and
Cir. 1992) (court is required to ″resolve all ambiguities and      retaliation (Count IV) claims against Bridgeport Hospital.
draw all inferences in favor of the nonmoving party″).             Goins also brings hostile work environment and disparate
When a motion for summary judgment is properly supported           treatment claims (Count II) against Marylyn Coscia, her
by documentary and testimonial evidence, however, the              former supervisor.
nonmoving party may not rest upon the mere allegations or
denials of his pleadings, but must present sufficient probative    A. Hostile Work Environment Claims
evidence to establish a genuine issue of material fact.
                                                                   To succeed on a hostile work environment claim under
Celotex Corp. v. Catrett, 477 U.S. 317, 327, 106 S. Ct. 2548,
                                                                   either § 1981 or Title VII, ″the plaintiff must establish that
91 L. Ed. 2d 265 (1986); Colon v. Coughlin, 58 F.3d 865,
                                                                   his workplace was permeated with instances of racially
872 (2d Cir. 1995).
                                                                   discriminatory conduct such as ’discriminatory intimidation,
″Only when reasonable minds could not differ as to the             ridicule, and insult,’ such that ’the environment would
import of the evidence is summary judgment proper.″                reasonably be perceived, and is perceived, as hostile or
Bryant v. Maffucci, 923 F.2d 979, 982 (2d Cir. 1991); see          abusive.’ Whether the environment may be considered
also Suburban Propane v. Proctor Gas, Inc., 953 F.2d 780,          sufficiently hostile or abusive to support such claim is to be
788 (2d Cir. 1992). If the nonmoving party submits evidence        measured by the totality of circumstances, including the
that is ″merely colorable,″ or is not ″significantly probative,″   frequency and severity of the discriminatory conduct,
summary judgment may be granted. Anderson, 477 U.S. at             whether such conduct is physically threatening or
249-50.                                                            humiliating, and whether the conduct unreasonably interferes
                                                                   with the plaintiff’s work performance.″ Williams v. Cnty. of
The mere existence of some alleged factual dispute between         Westchester, 171 F.3d 98, 100 (2d Cir. 1999) [*11] (per
the parties will not defeat an otherwise properly supported        curium) (quoting Harris v. Forklift Sys., Inc., 510 U.S. 17,
motion for summary judgment; the requirement is that there         21, 114 S. Ct. 367, 126 L. Ed. 2d 295 (1993)) (citations
be no genuine issue of material fact. [*9] As to materiality,      omitted). ″As a general rule, incidents must be more than
the substantive law will identify which facts are material.        episodic; they must be sufficiently continuous and concerted
Only disputes over facts that might affect the outcome of the      in order to be deemed pervasive. . . . Isolated acts, unless
suit under the governing law will properly preclude the            very serious, do not meet the threshold of severity or
entry of summary judgment. Factual disputes that are               pervasiveness.″ Alfano v. Costello, 294 F.3d 365, 374 (2d
irrelevant or unnecessary will not be counted. Id. at 247-48.      Cir. 2002) (internal quotation marks and citations omitted).
To present a ″genuine″ issue of material fact, there must be       Nevertheless, ″a single act can meet the threshold, if by
contradictory evidence ″such that a reasonable jury could          itself, it can and does work a transformation of the plaintiff’s
return a verdict for the non-moving party.″ Id. at 248.            workplace.″ Id. ″In short, a plaintiff alleging a hostile work
                                                                   environment must demonstrate either a single incident was
If the nonmoving party has failed to make a sufficient             extraordinarily severe, or that a series of incidents were
showing on an essential element of his case with respect to        sufficiently continuous and concerted to have altered the
which he has the burden of proof at trial, then summary            conditions of her working environment.″ Id. (internal
judgment is appropriate. Celotex, 477 U.S. at 322. In such a       quotation marks omitted). In addition, the plaintiff must

                                                             Page 3 of 6
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 20 of 57
                                            2013 U.S. Dist. LEXIS 41160, *11



show that such harassment occurred because of her race. See     it moves for summary judgment on an issue that the plaintiff
Brennan v. Metro. Opera Ass’n, Inc., 192 F.3d 310, 318 (2d      must prove at trial. It need only to point to an absence of
Cir. 1999) (″A plaintiff must also demonstrate that she was     proof on plaintiff’s part, and, at that point, plaintiff must
subjected to the hostility because of her membership in a       ’designate specific facts showing that there is a genuine
protected class.″). But, race-based hostility need [*12] not    issue for trial.’″ (quoting Celotex Corp. v. Catrett, 477 U.S.
and does not always announce itself as such, and routine        317, 324, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986))).
workplace actions, when continuously handled in a racially      Therefore, Goins’ hostile work environment claim fails as a
discriminatory way, can combine to create a hostile work        matter of law.
environment. See Jemmott v. Coughlin, 85 F.3d 61 (2d Cir.
1996) (hostile work environment claim involving shift           B. Disparate Treatment
changes, job assignments, and disciplinary procedures in the
workplace).                                                     When evaluating a claim of employment discrimination
                                                                under 42 U.S.C. § 1981 and Title VII, we apply the
Construing Goins’ allegations liberally and viewing the         McDonnell-Douglas burden-shifting framework. Goins first
totality of circumstances in the light most favorable to her,   has an obligation to present evidence sufficient to establish
no reasonable jury could find that her work environment         a prima facie case of discrimination. ″In the context of
was hostile. Nothing in the record supports the conclusion      alleged discriminatory treatment, a plaintiff must show that
that the workplace was ″severely permeated″ with                (1) he is a member of a protected class; (2) he was qualified
discriminatory intimidation, ridicule or insult. Although       for the position he held; (3) he suffered an adverse
Goins may well have felt ridiculed or intimidated, there is     employment action; and (4) the adverse action took place
insufficient evidence to support a reasonable conclusion that   under circumstances giving rise to the inference of
the occurrences were pervasive and the product of               discrimination.″ Ruiz v. County of Rockland, 609 F.3d 486,
discriminatory intent. The incidents were sparse, often         491-92 (2d Cir. 2010). If plaintiff can establish a prima facie
separated by months. And no single act was extraordinarily      case, the burden shifts to the defendant to ″articulate some
severe, including the anonymous racially-neutral ″fake bitch″   legitimate, nondiscriminatory          [*15] reason″ for the
written on the nurses’ log. See Stepheny v. Brooklyn Hebrew     employment action. McDonnell Douglas, 411 U.S. at 802. If
School for Special Children, 356 F. Supp. 2d 248, 264           the defendant articulates such a nondiscriminatory reason,
(E.D.N.Y. 2005) (co-worker’s use of [*13] the phrase            the burden shifts back to the plaintiff ″to show that
″white bitch″ five times over five months did not create a      [defendant’s] stated reason for [the adverse employment
racially hostile work environment); Augustin v. Yale Club of    action] was in fact pretext.″ Id. at 804. ″The ultimate burden
New York City, 2006 U.S. Dist. LEXIS 67462, 2007 WL             of persuading the trier of fact that the defendant intentionally
2690289, at *21-22 (S.D.N.Y. 2006) (co-worker’s use of          discriminated against the plaintiff remains at all times with
″black bitch″ insufficient to create a hostile work             the plaintiff.″ Texas Dep’t of Community Affairs v. Burdine,
environment given the infrequent and sporadic nature of the     450 U.S. 248, 253, 101 S. Ct. 1089, 67 L. Ed. 2d 207
remark); Beale v. Mount Vernon Police Dept., 895 F. Supp.       (1981). Goins cannot survive summary judgment on her
2d 576, 2012 U.S. Dist. LEXIS 141215, 2012 WL 4473282,          disparate treatment claim against Coscia and the Hospital.
at *9 (″courts have regularly concluded that the occasional     Although Goins satisfies the first and second prongs of the
use of [bitch] is not severe enough to create a hostile work    McDonnell-Douglas framework, Goins fails to establish the
environment″).                                                  third prong (adverse employment action) against Coscia,
                                                                and the fourth prong (discriminatory intent) against Coscia
″Everyone can be characterized by sex, race, ethnicity, or
                                                                and the Hospital.
(real or perceived) disability; and many bosses are harsh,
unjust, and rude.″ Alfano, 294 F.3d at 377. Coscia and others   First, Goins did not establish a prima facie case for her
may have been harsh, unjust and rude to Goins, but that         section 1981 disparate treatment claim against Coscia.
alone does not constitute a hostile workplace environment.      Goins did not suffer an adverse employment action while
Goins’ warranted disciplinary actions for workplace             Coscia was an employee at Bridgeport Hospital. An adverse
violations do not create a hostile work environment. Neither    employment action ″must be [*16] more disruptive than a
do her disagreements with supervisors. And, other than          mere inconvenience or an alteration of job responsibilities.″
conjecture, Goins fails to produce evidence to support a        Williams v. R.H. Donnelley, Corp., 368 F.3d 123, 128 (2d
claim that the harassment occurred because of her race. See     Cir. 2004) (citation omitted). Employment actions that have
Parker v. Sony Pictures Entm’t, 260 F.3d 100, 111 (2d Cir.      been deemed sufficiently adverse include ″a termination of
2001) (″A defendant need not prove a negative [*14] when        employment, a demotion evidenced by a decrease in wage

                                                          Page 4 of 6
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 21 of 57
                                              2013 U.S. Dist. LEXIS 41160, *16



or salary, a less distinguished title, a material loss of         In order to establish a prima facie case of retaliation, Goins
benefits, significantly diminished material responsibilities.″    must show ″(1) that she participated in an activity protected
Id. (quoting Galabya v. New York City Bd. of Educ., 202           by Title VII, (2) that her participation was known to her
F.3d 636, 640 (2d Cir. 2000)). Goins alleges she suffered an      employer, (3) that her employer thereafter subjected her to
adverse employment action when she was not assigned her           a material adverse employment action, and (4) that there
requested shift changes, reprimanded for failing to check off     was a causal connection between the protected activity and
a patient’s name after giving medication, reprimanded for         the adverse employment action, i.e., that a retaliatory
not knowing the protocol policy when a patient fell, not          motive played a part in the adverse employment action.
given her yearly evaluation in a timely manner and                Cifra v. G.E. Co., 252 F.3d 205, 216 (2d Cir. 2001). If Goins
disciplined for the ″oxygen incident.″ But these incidents        submits evidence sufficient to demonstrate a prima facie
cannot be considered adverse employment actions. The              case, then the ″burden of production shifts to the defendant
disciplinary action was not an adverse employment action          to proffer a legitimate [*19] non-retaliatory reason for the
because the impact of the discipline was not sufficiently         adverse employment action. . . . If the employer produces
adverse. In fact, the written disciplinary warning Goins          such evidence, the employee must, in order to avoid
received for the ″oxygen incident″ was eventually reduced         summary judgment, point to evidence sufficient to permit an
to a verbal warning [*17] by the Hospital. Goins also did not     inference that the employer’s proffered non-retaliatory reason
suffer an adverse employment action when Coscia and               is pretextual and that retaliation was a substantial reason for
others denied her the day shifts she requested. Goins was         the adverse employment action.″ Id. at 552-53 (citation and
not hired for day shifts; therefore, denial of her requests did   quotation omitted).
not constitute a change in her employment.
                                                                  Goins has failed to produce evidence from which a
Second, even if I assume Goins has demonstrated a prima
                                                                  reasonable jury could find that Goins’ termination was
facie case, defendants have put forth evidence supporting
                                                                  caused by retaliatory animus. Goins argues that a temporal
legitimate nondiscriminatory reasons for Goins’ disciplinary
                                                                  inference can be made given the timing of her second
warnings, poor review and eventual termination: Goins
                                                                  CHRO complaint and her poor review and subsequent
failed to follow hospital protocol on the occasions she was
                                                                  termination. Goins filed her complaints in June 2009 and
disciplined; Goins had difficulty communicating with
                                                                  October 2009. She received a negative review in November
co-workers; Goins needs to improve her critical-thinking
                                                                  2009 and was terminated in March 2010. Although there is
skills. The burden then shifts back to Goins to show that the
                                                                  a temporal connection, Goins has provided no additional
″real reason″ for her termination was her race. But there is
                                                                  evidence that any of the individuals responsible for her
no direct or indirect evidence in the record that Goins was
                                                                  termination harbored any animus towards Goins because
treated differently because of her race. For many of the
                                                                  she filed the CHRO complaints. Goins has not even put
incidents Goins describes, Goins alleges that similarly
                                                                  forth evidence that her supervisors knew Goins filed the
situated white nurses were treated differently. But Goins
                                                                  second complaint.
does not provide much more than a few conclusory
statements to support that allegation. And for the one            Even if Goins did meet each element of her prima facie
example where she provides sufficient detail, the ″oxygen         case, [*20] the Hospital has produced evidence of a
incident,″ the Hospital, after it [*18] investigated the          legitimate, non-retaliatory reason for terminating her. The
incident, downgraded her discipline from written warning to       Hospital has shown that she had poor working relationships
verbal warning—the same discipline that the white nurse           with her coworkers, that she did not always follow hospital
received.                                                         protocol, and that she was given 90 days to improve her
                                                                  performance but failed to do so. Goins has no evidence that
C. Wrongful Termination                                           the Hospital’s decisions are pretextual. Accordingly, Goins’
Goins’ wrongful termination claim fails for the same reason       retaliation claim fails as a matter of law.
that her employment discrimination claim against the
Hospital fails. Wrongful termination claims are also decided      IV. Conclusion
using the McDonnell-Douglas framework. Even assuming
                                                                  For the foregoing reasons, the Hospital’s Motion for
proof of a prima facie case, a reasonable jury would not find
                                                                  Summary Judgment [doc. # 74] and Coscia’s Motion for
that the real reason she was terminated was because of her
                                                                  Summary Judgment [doc. # 75] are GRANTED. The clerk
race.
                                                                  shall enter judgment and close the file.

D. Retaliation                                                    It is so ordered.

                                                            Page 5 of 6
         Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 22 of 57
                                         2013 U.S. Dist. LEXIS 41160, *20


Dated at Bridgeport, Connecticut, this 25th day of March   Stefan R. Underhill
2013.
                                                           United States District Judge
/s/ Stefan R. Underhill




                                                     Page 6 of 6
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 23 of 57

     Positive
As of: March 16, 2015 7:29 PM EDT


                                              Morris v. Town of Islip
                              United States District Court for the Eastern District of New York
                                  September 22, 2014, Decided; September 22, 2014, Filed
                                                   No 12-CV-2984 (JFB)(SIL)

Reporter
2014 U.S. Dist. LEXIS 133168; 2014 WL 4700227

Core Terms                                                             Civil Procedure > ... > Summary Judgment > Opposing
                                                                       Materials > General Overview

disability, impairment, helper, major life activity, retaliation,   HN1 Where the opposing party fails to controvert a fact so
assigned, accommodate, summary judgment, emergency,                 set forth in the S.D.N.Y. & E.D.N.Y. Civ. R. 56.1 statement,
substantial limitation, requests, lifting, reasonable               that fact will be deemed admitted.
accommodation, discrimination claim, adverse employment
action, no evidence, allegations, overhead, retaliation claim,         Civil Procedure > Judgments > Summary Judgment >
prima facie case, functions, cause of action, return to work,          Evidentiary Considerations
light duty, essential function, termination, notice, days,             Civil Procedure > ... > Summary Judgment > Supporting
limitations, concludes                                                 Materials > General Overview
                                                                       Civil Procedure > ... > Summary Judgment > Entitlement as
Case Summary                                                           Matter of Law > General Overview
                                                                       Civil Procedure > ... > Summary Judgment > Burdens of
Overview                                                               Proof > General Overview
                                                                       Civil Procedure > ... > Summary Judgment > Opposing
HOLDINGS: [1]-In this ADA action, the employee failed to               Materials > General Overview
submit evidence that raised a genuine issue of fact to
whether he suffered from a disability, prior to July 23, 2009       HN2 Pursuant to Fed. R. Civ. P. 56(a), a court may grant a
where the employee was able to perform his alleged major            motion for summary judgment only if the movant shows
life activities, including his own pre-surgery job                  that there is no genuine dispute as to any material fact and
requirements, with little to no restriction and there was no        the movant is entitled to judgment as a matter of law. Fed.
medical evidence to the contrary; [2]-No rational jury could        R. Civ. P. 56(a). The moving party bears the burden of
find that the employee, between his return to work and              showing that he or she is entitled to summary judgment. A
                                                                    party asserting that a fact cannot be or is genuinely disputed
departure in late July 2009, had a record of impairment,
                                                                    must support the assertion by: (A) citing to particular parts
particularly where the employee’s own treating physician
                                                                    of materials in the record, including depositions, documents,
refused to provide the employee with a letter indicating that
                                                                    electronically stored information, affidavits or declarations,
he was limited or restricted in any way; [3]-The employee’s
                                                                    stipulations (including those made for purposes of the
retaliation claims were without merit where there was no
                                                                    motion only), admissions, interrogatory answers, or other
evidence that the employer actually took negative
                                                                    materials; or (B) showing that the materials cited do not
employment actions against the employee.
                                                                    establish the absence or presence of a genuine dispute, or
                                                                    that an adverse party cannot produce admissible evidence to
Outcome
                                                                    support the fact. Fed. R. Civ. P. 56(c)(1). The court is not to
Employer’s motion granted.                                          weigh the evidence but is instead required to view the
                                                                    evidence in the light most favorable to the party opposing
                                                                    summary judgment, to draw all reasonable inferences in
LexisNexis® Headnotes                                               favor of that party, and to eschew credibility assessments.

   Civil Procedure > ... > Summary Judgment > Supporting               Civil Procedure > ... > Summary Judgment > Entitlement as
   Materials > General Overview                                        Matter of Law > General Overview
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 24 of 57
                                           2014 U.S. Dist. LEXIS 133168, *133168


   Civil Procedure > ... > Summary Judgment > Burdens of              Labor & Employment Law > ... > Disability Discrimination >
   Proof > General Overview                                            Reasonable Accommodations > General Overview

HN3 On a motion for summary judgment, once the moving              HN6 No failure to accommodate claim can be made, as a
party has met its burden, the opposing party must do more          matter of law, for an individual who was ″regarded as″
than simply show that there is some metaphysical doubt as          disabled, rather than who was actually disabled. In other
to the material facts. The nonmoving party must come               words, the ″regarded as″ theory of disability is no longer
forward with specific facts showing that there is a genuine        actionable in the context of a failure to accommodate claim.
issue for trial. If the evidence is merely colorable, or is not
significantly probative, summary judgment may be granted.             Labor & Employment Law > ... > Scope & Definitions >
Indeed, the mere existence of some alleged factual dispute             Disabilities Under ADA > General Overview
between the parties alone will not defeat an otherwise
properly supported motion for summary judgment. Thus,              HN7 For a plaintiff to establish that she has a disability
the nonmoving party may not rest upon mere conclusory              under 42 U.S.C.S. § 12102(1), she must (1) show that she
allegations or denials but must set forth concrete particulars     suffers from a physical or mental impairment, (2) identify
showing that a trial is needed. Accordingly, it is insufficient    the activity claimed to be impaired and establish that it
for a party opposing summary judgment merely to assert a           constitutes a major life activity, and (3) show that her
conclusion without supplying supporting arguments or facts.        impairment substantially limits the major life activity
                                                                   previously identified. Pursuant to the Americans with
   Labor & Employment Law > ... > Evidence > Burdens of            Disabilities Act Amendment Act of 2008 (ADAAA), major
   Proof > Employee Burdens of Proof                               life activities include, but are not limited to, caring for
                                                                   oneself, performing manual tasks, seeing, hearing, eating,
   Labor & Employment Law > ... > Disability Discrimination >
    Scope & Definitions > General Overview
                                                                   sleeping, walking, standing, lifting, bending, speaking,
                                                                   breathing, learning, reading, concentrating, thinking,
HN4 The Americans with Disabilities Act of 1990 (ADA)              communicating, and working. 42 U.S.C.S. § 12102(2).
provides that no covered entity shall discriminate against a       Major life activities also may include the operation of a
qualified individual on the basis of disability in regard to job   major bodily function, including but not limited to, functions
application procedures, the hiring, advancement, or discharge      of the immune system, normal cell growth, digestive,
of employees, employee compensation, job training, and             bowel, bladder, neurological, brain, respiratory, circulatory,
other terms, conditions, and privileges of employment. 42          endocrine, and reproductive functions. 42 U.S.C.S. §
U.S.C.S. § 12112(a). The plaintiff bears the initial burden of     12102(2). Notably, post-ADAAA, major life activities no
proving by a preponderance of the evidence a prima facie           longer need to be of central importance. 42 U.S.C.S. §
case of discrimination. To make out a prima facie case, a          12102(2)(A).
plaintiff must show that (1) the employer is subject to the
ADA; (2) the plaintiff was a person with a disability within          Labor & Employment Law > ... > Disabilities Under ADA >
the meaning of the ADA; (3) the plaintiff was otherwise                Mental & Physical Impairments > Substantial Limitations
qualified to perform the essential functions of her job, with
or without reasonable accommodation; and (4) the plaintiff         HN8 The Americans with Disabilities Act of 1990 (ADA)
suffered adverse employment action because of her disability.      does not define what constitutes a substantial limitation.
                                                                   However, it is clear that the standard is not meant to be
   Labor & Employment Law > ... > Scope & Definitions >            demanding, 29 C.F.R. § 1630.2(j)(1)(i), and should not
    Disabilities Under ADA > General Overview                      demand extensive analysis, 29 C.F.R. § 1630.2(j)(1)(iii).
                                                                   Thus, an impairment will be considered a disability under
HN5 A threshold question is whether the plaintiff has a
                                                                   the ADA if it substantially limits the ability of an individual
disability within the meaning of the Americans with
Disabilities Act of 1990 (ADA). The ADA Amendment Act              to perform a major life activity as compared to most people
of 2008 defines ″disability″ as: (A) a physical or mental          in the general population. An impairment need not prevent,
impairment that substantially limits one or more major life        or significantly or severely restrict, the individual from
activities of such individual; (B) a record of such an             performing a major life activity in order to be considered
impairment; or (C) being regarded as having such an                substantially limiting. The revised Equal Employment
impairment. 42 U.S.C.S. § 12102(1).                                Opportunity Commission regulations provide that an
                                                                   impairment is a disability if it substantially limits the ability
   Labor & Employment Law > ... > Scope & Definitions >            of an individual to perform a major life activity as compared
    Disabilities Under ADA > Regarded With Impairments             to most people in the general population; that is, while an

                                                            Page 2 of 18
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 25 of 57
                                           2014 U.S. Dist. LEXIS 133168, *133168



impairment need not prevent, or significantly or severely          evidence must establish a physical impairment that
restrict, the individual from performing a major life activity     substantially impaired a major life activity.
in order to be considered substantially limiting, the
substantially limits analysis is comparative.                         Labor & Employment Law > ... > Disability Discrimination >
                                                                      Scope & Definitions > Qualified Individuals With Disabilities
   Labor & Employment Law > ... > Disabilities Under ADA >
    Mental & Physical Impairments > Substantial Limitations        HN13 ″Essential functions″ are defined under Equal
                                                                   Employment Opportunity Commission regulations to mean
HN9 To show substantial limitation with respect to work            the fundamental duties to be performed in the position in
under the Americans with Disabilities Act of 1990 a plaintiff      question, but not functions that are merely marginal.
must prove that he is significantly restricted in the ability to
perform either a class of jobs or a broad range of jobs in            Labor & Employment Law > ... > Evidence > Burdens of
various classes as compared to the average person having              Proof > Burden Shifting
comparable training, skills, and abilities. The inability to          Governments > State & Territorial Governments > Employees
perform a single, particular job does not constitute a                & Officials
substantial limitation in the major life activity of working.
However, an impairment that disqualifies a person from             HN14 N.Y. Civ. Serv. Law § 71 permits a civil service
                                                                   employer to terminate an employee who has been separated
only a narrow range of jobs is not considered a substantially
                                                                   from service for more than one year by reason of disability
limiting one.
                                                                   resulting from occupational injury. This provision is a
                                                                   legitimate, non-discriminatory basis for termination.
   Labor & Employment Law > ... > Scope & Definitions >
    Disabilities Under ADA > Records of Impairments
                                                                      Labor & Employment Law > ... > Civil Actions > Exhaustion
HN10 Even if a plaintiff cannot show a substantial limitation         of Remedies > General Overview
of a major life activity, she still may be able to establish an       Labor & Employment Law > ... > Civil Actions > Time
Americans with Disabilities Act of 1990-qualifying disability         Limitations > General Overview
if she can show ″a record″ of such an impairment. 42                  Labor & Employment Law > ... > Title VII Discrimination >
U.S.C.S. § 12102(1)(B). According to the Equal Employment              Statute of Limitations > General Overview
Opportunity Commission, this part of the definition is
satisfied if a record relied on by an employer indicates that      HN15 To bring a Title VII of the Civil Rights Act of 1964
the individual has or has had a substantially limiting             discrimination claim in federal court, a plaintiff must first
impairment. The impairment indicated in the record must be         exhaust administrative remedies by filing an administrative
an impairment that would substantially limit one or more of        charge alleging discrimination within 300 days of the
the individual’s major life activities. In other words, a          alleged discriminatory conduct. This statutory filing period
record reflecting a plaintiff’s classification as disabled for     is analogous to statutes of limitations, and, as such, a failure
                                                                   to timely file a charge acts as a bar to a plaintiff’s action.
other purposes or other standards is not enough.

                                                                      Labor & Employment Law > ... > Civil Actions > Exhaustion
   Labor & Employment Law > ... > Evidence > Burdens of
                                                                      of Remedies > General Overview
   Proof > Employee Burdens of Proof
                                                                   HN16 Claims that were not asserted before the Equal
HN11 District courts in the Second Circuit have repeatedly
                                                                   Employment Opportunity Commission (EEOC) or an
held that a plaintiff’s personal testimony which describes
                                                                   appropriate State or local agency may be pursued in a
the alleged limits that affect a major life activity, without
                                                                   subsequent federal court action if they are reasonably
supporting medical testimony, simply is not sufficient to
                                                                   related to those that were filed with the agency. Reasonably
establish his prima facie case under the Americans with
                                                                   related conduct is that which would fall within the scope of
Disabilities Act of 1990.
                                                                   the EEOC investigation which can reasonably be expected
   Labor & Employment Law > ... > Scope & Definitions >            to grow out of the charge that was made. In determining
    Disabilities Under ADA > Records of Impairments                whether a claim is ″reasonably related″ to the EEOC charge,
                                                                   the focus should be on the factual allegations made in the
HN12 Records of hospitalization or other medical treatment         EEOC charge itself and on whether those allegations gave
do not per se establish a record of an Americans with              the EEOC adequate notice to investigate the claims asserted
Disabilities Act of 1990-qualifying disability; rather, the        in court.

                                                            Page 3 of 18
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 26 of 57
                                           2014 U.S. Dist. LEXIS 133168, *133168


   Labor & Employment Law > Discrimination > Retaliation >         of 1964 retaliation context (distinct from and broader than
    Burdens of Proof                                               the standard in the Title VII discrimination context) to mean
   Labor & Employment Law > ... > Retaliation > Elements >         an action that is materially adverse and that well might have
    General Overview                                               dissuaded a reasonable worker from making or supporting a
                                                                   charge of discrimination. The same definition applies to
   Labor & Employment Law > ... > Retaliation > Statutory
   Application > Americans With Disabilities Act                   retaliation claims under the Americans with Disabilities Act
                                                                   of 1990.
HN17 Retaliation claims brought under the Americans with
Disabilities Act of 1990 (ADA) are examined under the                 Labor & Employment Law > ... > Retaliation > Elements >
McDonnell Douglas burden-shifting framework. To establish              Adverse Employment Actions
a prima facie case of retaliation under the ADA, the plaintiff        Labor & Employment Law > ... > Disability Discrimination >
must show the following elements: (1) he engaged in an                 Reasonable Accommodations > General Overview
activity protected by the ADA; (2) the employer was aware
of this activity; (3) the employer took adverse employment         HN20 Requesting accommodation inevitably carries the
action against him; and (4) a causal connection exists             possibility that the employer will not honor the request. If
between the alleged adverse action and the protected activity.     the prospect that an employer might not honor the request
                                                                   would deter a reasonable employee from even making the
   Labor & Employment Law > Discrimination > Retaliation >         request, reasonable employees would not request
    Burdens of Proof
                                                                   accommodation. For this reason, a failure to accommodate
HN18 If the plaintiff establishes a prima facie case of            cannot constitute retaliation for an employee’s request for
unlawful discrimination, the burden then shifts to the             accommodation.
defendant to set forth some legitimate, nondiscriminatory
reason for the complained-of conduct. Where the defendant             Labor & Employment Law > ... > Retaliation > Elements >
articulates such a reason, then the presumption of                     Adverse Employment Actions
discrimination is rebutted, and it simply drops out of the            Labor & Employment Law > ... > Statutory Application > Title
picture. The burden then shifts back to the plaintiff to show,        VII of the Civil Rights Act of 1964 > General Overview
without the benefit of any presumption, that a reasonable
jury could conclude by a preponderance of the evidence that        HN21 ″Minor annoyances″ do not rise to the level of
the employer’s explanation is merely a pretext for                 actionable retaliation under Title VII of the Civil Rights Act
impermissible retaliation. To meet this burden, the plaintiff      of 1964.
may rely on evidence presented to establish the prima facie
case as well as additional evidence. Such additional evidence      Counsel: [*1] For Plaintiff: Damon Andrew Hagan, Mayer,
may include direct or circumstantial evidence of                   Ross & Hagan, Patchogue, NY.
discrimination. It is insufficient, however, for a plaintiff
merely to show that she satisfies McDonnell Douglas’s              For Defendant: Ernest Stolzer, Jessica Moller, Lauren
minimal requirements of a prima facie case and to put              Darienzo, and Richard Finkel, Bond Schoeneck & King,
forward evidence from which a factfinder could find that the       PLLC, Garden City, NY.
employer’s explanation was false. Instead, the key is whether
there is sufficient evidence in the record from which a            Judges: JOSEPH F. BIANCO, United States District Judge.
reasonable trier of fact could find in favor of plaintiff on the
ultimate issue, i.e., whether the record contains sufficient
                                                                   Opinion by: JOSEPH F. BIANCO
evidence to support an inference of discrimination.

   Labor & Employment Law > ... > Retaliation > Elements >         Opinion
    Adverse Employment Actions
   Labor & Employment Law > ... > Retaliation > Statutory          MEMORANDUM AND ORDER
   Application > Americans With Disabilities Act
                                                                   JOSEPH F. BIANCO, District Judge:
   Labor & Employment Law > ... > Statutory Application > Title
   VII of the Civil Rights Act of 1964 > General Overview
                                                                   Plaintiff Andrew Morris (″Morris″ or ″plaintiff″) brings this
HN19 The U.S. Supreme Court has defined an ″adverse                action against defendant Town of Islip (″defendant″ or ″the
employment action″ in the Title VII of the Civil Rights Act        Town″), alleging employment discrimination in violation of

                                                            Page 4 of 18
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 27 of 57
                                               2014 U.S. Dist. LEXIS 133168, *1



the Americans with Disabilities Act, 42 U.S.C. §§ 12101 et          accommodation, there is uncontroverted evidence that it
seq. (″ADA″).1 Specifically, plaintiff alleges that defendant       did—namely, plaintiff acknowledged that his supervisors
(1) discriminated against plaintiff on account of his disability    provided him with a helper unless there was a ″freak thing″
by failing to accommodate plaintiff’s requests for reasonable       where one was unavailable. It is uncontroverted that plaintiff
accommodation, assigning him elevated or overhead work,             had a helper on twenty of the twenty-nine days he worked,
denying his request for an emergency personal day, and              including the date of his injury (i.e., July 23, 2009). Finally,
directing him to come to work to be evaluated for light duty        to the extent [*4] plaintiff asserts a claim based upon a
and discharging him without proper notice after a second            temporary denial of a personal day (which was later restored
injury in July 2009; and (2) retaliated against plaintiff           to plaintiff), no rational jury could conclude that such an act
through similar conduct for filing a disability discrimination      is an adverse employment action either under the standard
complaint with the New York State Division of Human                 for a disability discrimination claim, or under the more
Rights (″NYSDHR″) in April 2009.                                    liberal standard for adverse action under a retaliation claim.
                                                                    In short, plaintiff has failed to submit any evidence that
The Town moves for summary judgment pursuant to Federal             raises a genuine issue of disputed fact as to any of these
Rule of Civil Procedure 56, arguing: (1) the discrimination         claims for disability discrimination or retaliation.
claims must be dismissed because plaintiff cannot establish
an ADA-qualifying disability for certain claims, or that he         With respect to the seventh cause of action, an ADA
was an otherwise ″qualified individual″ for purposes of the         discrimination and retaliation claim relating to the period
ADA, (2) the discrimination claims fail on their merits             after July 23, 2009, the Court concludes that this cause of
because the uncontroverted evidence demonstrates that the           action also cannot survive summary judgment. First, there
Town provided reasonable accommodations, plaintiff did              can be no disability discrimination claim for that period
not suffer adverse employment actions, and the Town                 because it is uncontroverted that, as a result of the July 23,
lawfully terminated plaintiff’s employment pursuant to New          2009 injury, plaintiff was totally disabled and, thus, not
York Civil Service Law § 71; and (3) plaintiff cannot               otherwise qualified to perform the essential functions of his
establish a retaliation claim because he cannot set forth a         job, with or without a reasonable accommodation. Second,
prima facie case of retaliation or show that any decisions          it is undisputed that plaintiff was separated from service for
were pretextual. For the following reasons, the Court grants        more than one year by reason of disability resulting from
the motion for summary judgment in its entirety.                    occupational therapy, and plaintiff provides [*5] no evidence
                                                                    or legal argument to raise a genuine issue of fact as to
The first six causes of action—which relate to the period           defendant’s decision to terminate plaintiff under Section 71
from early June 2009 to July 23, 2009—cannot survive                of the New York Civil Service Law. In fact, plaintiff’s
summary judgment for several reasons. First, it is                  counsel did not even argue in his opposition papers that
uncontroverted that Morris, upon returning to work in June          plaintiff’s termination was unlawful or discriminatory.
2009, provided documentation from his treating orthopedist          Finally, to the extent plaintiff asserts that the constant light
that indicated that plaintiff could return to work on June 8,       duty evaluation requests were discriminatory or retaliatory,
2009. The documentation did not [*3] list any physical              the Town has submitted uncontroverted evidence that such
restrictions or limitations. Moreover, prior to July 23, 2009,      evaluations were requested pursuant to a provision in the
plaintiff never provided any medical documentation to               collective bargaining agreement with plaintiff’s union.
indicate he was restricted in his ability to perform his job        Moreover, plaintiff has submitted no evidence of any
functions. In fact, plaintiff testified that he tried to get such   negative consequence that resulted. In short, plaintiff has
documentation from his doctor, and his doctor refused to            submitted no evidence that would allow a rational juror to
provide it. Thus, given these uncontroverted facts, no              find that such requests for evaluations under that provision
rational jury could conclude that plaintiff suffered from a         were discriminatory or retaliatory.
disability under the ADA during this period. Second, even
assuming arguendo that a disability could be established,           I. BACKGROUND
there is uncontroverted evidence that overhead work is an
essential function of plaintiff’s job and, thus, the employer
                                                                    A. Factual Background
was not required to eliminate that function to accommodate
an individual with a disability. Third, even assuming               The Court takes the following facts from the parties’
arguendo that the Town had to provide a reasonable                  affidavits, depositions, exhibits, and defendant’s Rule 56.1

1
    The Court previously dismissed plaintiff’s state law [*2] claims. (See Order, Docket No. 18.)

                                                             Page 5 of 18
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 28 of 57
                                                 2014 U.S. Dist. LEXIS 133168, *5



Statement of Facts.2 Contrary to Local Rule 56.1(b), plaintiff         according to the magnitude of the work to be undertaken,
did not file a Rule 56.1 Statement of Facts in response to             and might not be assigned to mechanics that are performing
defendant’s submission. In fact, plaintiff submitted no                work of a less intensive nature. (Id. ¶¶ 12-13.)
evidence in connection with his opposition, only a
                                                                       In August 2001, plaintiff was promoted to MMIII, a title
memorandum of law. Accordingly, the Court [*6] could
                                                                       that requires that the employee be in [*8] a ″physical
deem every fact in defendant’s submission admitted for
                                                                       condition commensurate with the demands of the position.″
purposes of this motion. L.R. 56.1(c); see also Giannullo v.
                                                                       (Id. ¶¶ 14-15.) The work Morris performed as an MMI, i.e.,
City of New York, 322 F.3d 139, 140 (2d Cir. 2003) (HN1
                                                                       heavy lifting, overhead work, and elevated work, also was
Where ″the opposing party [] fails to controvert a fact so set
                                                                       required of the MMIII title. (Id. ¶¶ 16-17.) According to
forth in the [] Rule 56.1 statement, that fact will be deemed
                                                                       Morris, ″sometimes″ the MMIII was provided with a helper.
admitted.″); Litchhult v. USTRIVE2, Inc., No. 10-CV-3311
                                                                       (Id. ¶ 18.) As of January 2, 2007, plaintiff performed
(JFB)(ARL), 2013 U.S. Dist. LEXIS 98619, 2013 WL
                                                                       whatever ″electrical work within the Town of Islip [that]
3491076, at *2 n.1 (E.D.N.Y. July 10, 2013) (detailing
                                                                       needed to be done.″ (Id. ¶ 19.) His electrical responsibilities
standard). However, in an abundance of caution, the Court
                                                                       included overhead work, elevated work, and lifting of heavy
has examined the record carefully and concludes that the
                                                                       objects weighing between one-hundred and two-hundred
facts in defendant’s Rule 56.1 Statement are supported by
                                                                       pounds. (Id. ¶ 20.) Plaintiff also performed ″a lot more
admissible evidence, and plaintiff has not pointed to any
                                                                       ballast and overhead lighting″ work after his promotion. (Id.
evidence in the record to controvert such facts. In addition,
                                                                       ¶ 21.)
the Court’s own independent review of the record has not
uncovered any evidence to controvert the facts contained in
                                                                       2. Plaintiff’s Alleged Disability and Return to Work
defendant’s Rule 56.1 Statement. The Court construes the
facts in the light most favorable to plaintiff, the nonmoving          On January 2, 2007, plaintiff injured his shoulder slipping
party. See Capobianco v. City of New York, 422 F.3d 47, 50             off a truck and was out of work until January 22, 2007. (Id.
(2d Cir. 2005).                                                        ¶¶ 22-23.) Two years later, on January 30, 2009, plaintiff
                                                                       had surgery on the injured shoulder. (Id. ¶ 24.) For a time
1. Plaintiff’s Employment                                              after his surgery, plaintiff was ″one hundred percent
                                                                       disabled.″ (Id. ¶ 25.) He was unable to perform the ″normal″
Plaintiff began working for the Town in May 1995, starting
                                                                       and ″everyday″ functions of his job title, with or without a
as a Custodial Worker I based at Islip MacArthur Airport.
                                                                       reasonable accommodation. [*9] (Id. ¶ 26.)
(Def. 56.1 ¶¶ 1-2.) In March 1997, he became a Maintenance
Mechanic I (″MMI″). (Id. ¶ 3.) As part of [*7] his job                 In April 2009, while out work because of the surgery and on
responsibilities, plaintiff carried heavy light fixtures, which        workers’ compensation, plaintiff filed a complaint with the
sometimes weighed as much as one to two hundred pounds.                NYSDHR. (Id. ¶ 27; see NYSDHR Complaint, Finkel Aff.
(Id. ¶ 5.) He also had to drive, carry ladders, and perform            Ex. E.) Morris alleged that the Town’s requests for him to
overhead and elevated work. (Id. ¶ 6.) Other responsibilities          come in for a light duty evaluation, and its decision to
included replacing broken lights, changing light fixtures,             subject plaintiff to additional scrutiny, were discriminatory.
repairing electrical outlets, and working on ceiling and               (Def. 56.1 ¶ 28.) NYSDHR conducted an investigation and
exhaust fans. (Id. ¶ 7.) In July 1998, Morris transferred from         found that the Town’s attempt to monitor and evaluate
MacArthur Airport to the Town’s Department of Public                   plaintiff’s physical condition and capacity to perform light
Works Maintenance Bureau (″the Bureau″). (Id. ¶ 8.) After              duty work was in accordance with the ″policy and procedure
his transfer, Morris continued to perform the heavy lifting,           set forth in the Collective Bargaining Agreement and rules
driving, and overhead work required of the MMI position.               governing Worker’s Compensation,″ which was a
(Id. ¶ 9.)                                                             ″legitimate, non-discriminatory reason″ for the Town’s
                                                                       actions. (Id. ¶ 29; see NYSDHR Finding, Finkel Aff. Ex. F.)
Roughly fifteen maintenance mechanics were assigned to                 Accordingly, NYSDHR found no probable cause and
the Bureau, spread fairly evenly across three job                      dismissed the complaint. (Def. 56.1 ¶ 30.)
classifications-I, II, and III. (Id. ¶10.) Approximately four
held the MMI title. (Id. ¶ 11.) MMIs generally serve as                Plaintiff returned to work on or about June 9, 2009. (Id. ¶
helpers for the MMIIs and MMIIIs; they are assigned                    31.) Upon his return, he provided the Town with medical

2
   Although the Rule 56.1 Statement of Fact contains specific citations to the record, the Court cites to the statements rather than to the
underlying citations.

                                                                Page 6 of 18
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 29 of 57
                                                  2014 U.S. Dist. LEXIS 133168, *9



documentation from his treating orthopedist, Dr. Joshua                 them that, in accordance with the Collective Bargaining
Dines. (Id. ¶ 32.) Dr. Dines stated that plaintiff ″may return          Agreement, ″Emergency Absences (PV or Personal Leave
to work on 6-8-09.″ (Id. ¶ 33; see Dines Letter, Abbate                 Day) with less than three (3) days notice will require an
Affidavit [*10] Ex. I.) Dr. Dines did not list any physical             explanation and/or documentation,″ and the failure to provide
restrictions or limitations. (See generally Dines Letter.)              an explanation ″may result in the denial of the paid leave.″
Between his return in June 2009 and subsequent injury on                (Id. ¶ 50; Emergency Absences Notice, Abbate Aff. Ex. M.)
July 23, 2009, plaintiff never provided the Town with any               During 2009, the Commissioner requested explanations
medical documentation to indicate that he was restricted or             from other employees twenty-nine times, twelve of those
limited in his ability to perform his job functions. (Def. 56.1         coming before July 9, 2009. (Def. 56.1 ¶ 53.) Employees
¶ 35.) According to Morris, he tried to get a letter from Dr.           provided various reasons for their requests (which were
Dines to indicate what plaintiff’s restrictions were before
                                                                        approved), including child care issues, car trouble, or home
July 23, 2009, but Dr. Dines ″would not give it to me saying
                                                                        maintenance concerns. (Id. ¶ 54; see Leave Requests,
anything else.″ (Id. ¶ 36; Morris Dep. at 136:14-22, Finkel
                                                                        Abbate Aff. Ex. N.)
Aff. Ex. C.)

After he returned to work, Morris claims that he was ″for               On July 9, 2009, plaintiff took a day off, requesting that it
the most part″ able to perform the essential functions of his           be considered a paid emergency personal day. (Def. 56.1 ¶
job title. (Def. 56.1 ¶ 37.) He described ″lifting and                  51.) The Town asked plaintiff to explain his request. (Id. ¶
reaching″ as his ″biggest problem,″ but he performed                    52.) He stated, [*13] ″I took an emergency personal day.″
overhead work to the best of his ability.3 (Id. ¶¶ 38-39.)              (Id. ¶ 55; Morris Leave Request, Abbate Aff. Ex. O.) The
According to plaintiff, he spoke with his supervisors and               Town then denied plaintiff’s request for leave. (Def. 56. 1 ¶
asked them to let him have ″at least one or two helpers″ if             56.) On July 21, 2009, plaintiff filed a grievance relating to
there was a ″big″ job coming up. (Id. ¶ 40.) By plaintiff’s             that denial. (Id. ¶ 57.) He wrote, ″I feel I am being singled
own account, until his injury in July 2009, he was provided             out due to my shop steward duties and past grievance. I
with helpers ″[f]or the most part,″ though ″[n]ot every                 would like the 8 hours I was docked [pay] returned.″ (Id. ¶
day.″4 (Morris Dep. at 145:4-10.) [*11] His supervisors                 58; Leave Request Grievance, Abbate Aff. Ex. P.) The
provided a requested helper if it was ″feasible″—unless                 grievance did not allege disability discrimination. The Town
″there were some freak thing where a lot of people were out             held a hearing on the grievance in late 2009 or early 2010.
or something like that, but for the most part it wasn’t a               (See Def. 56.1 ¶ 60.) At the hearing, Morris explained why
problem getting me a helper.″ (Id. at 145:13.) A helper was
                                                                        he used the paid emergency personal day. (Id. ¶ 61.) The
assigned to Morris twenty of the twenty-nine days that he
                                                                        Town then rescinded the denial, granted plaintiff’s request,
worked before his injury on July 23, 2009. (Def. 56.1 ¶ 44.)
                                                                        and restored the eight hours of pay that had been docked for
During this time, Bobby Powers was the only other MMIII
                                                                        using the day without explanation.5 (Id. ¶ 62.)
who performed electrical work. (Id. ¶ 45.) Powers handled
the ″bigger jobs″ and was only assigned helpers on nine of
                                                                        4. July 2009 Injury and Discharge
the thirty-one days that he worked during the same time
period. (Id. ¶¶ 45-47.)
                                                                        On July 23, 2009, Morris suffered another shoulder injury
                                                                        while working at the marina. (Id. ¶ 63.) He had been
3. Emergency Personal Leave Day
                                                                        assigned a helper on that day. (Id. ¶ 64.) Since then, by his
On or about April 29, 2009, the Acting Commissioner of                  own account, Morris has been ″totally disabled″ and not
Public Works issued a memorandum to employees advising                  been physically capable of performing the job duties of an

3
    It is uncontroverted that the Town assigned Morris the same type of work upon his return to surgery as he had been assigned prior
to his surgery, including the following tasks: installation of a fan and electrical switch, installation of electrical switches for lighting
replacement of ceiling tiles, rewiring a fuse and changing a bulb at the marina, removing piping from a roof, repairing an exit light, fixing
flood lights, examining breakers and dryers, and installing ceiling fans and new lights. (Def. 56.1 ¶¶ 48-49.)
4
   Helpers also were provided before the injury. (See Morris [*12] Dep. at 143:9-14 (Q: Well, didn’t the helpers work with you before
you were injured? A: Yes. Q: So nothing changed after your injury. A: No. They still helped me.″).)
5
   According to a letter from Robert Finnegan, the Director of the Office of Labor Relations and Personnel, during the hearing, Morris
did not raise anti-union issues, refer to any past grievance, or argue that the policy was a change in practice or contract. (Finnegan Letter,
Abbate Aff. Ex. Q.) Instead, Morris said he took the day off because of [*14] the emergency hospitalization of an immediate family
member. (Id.) Finnegan, therefore, found that Morris had satisfied the disclosure requirements. (Id.)

                                                                 Page 7 of 18
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 30 of 57
                                              2014 U.S. Dist. LEXIS 133168, *13



MMIII, even with a helper. (Id. ¶ 65.) Plaintiff’s orthopedist     depositions, documents, electronically stored information,
corroborated this physical condition. (Id. ¶ 66; see               affidavits or declarations, stipulations (including those made
Physician’s Notes, Abbate Aff. Exs. S, T, U, V, W, X, Y, Z,        for purposes of the motion only), admissions, interrogatory
AA (stating that plaintiff is totally disabled and may not         answers, or other materials; or (B) showing that the materials
return to work).) In November 2009, plaintiff applied to           cited do not establish the absence or presence of a genuine
New York State for a permanent disability retirement               dispute, or that an adverse party cannot produce admissible
pension. (Def. 56.1 ¶ 67.) At that time, plaintiff had no          evidence to support the fact.″ Fed. R. Civ. P. 56(c)(1). The
intention of ever returning to work. (Id. ¶ 68.) He represented    court ″is not to weigh the evidence but is instead required to
to the State’s examining physician that he was unable to           view the evidence in the light most favorable to the party
perform his job duties. (Id. ¶ 69.)                                opposing summary judgment, to draw all reasonable
                                                                   inferences in favor of that party, and to eschew credibility
As of August 24, 2010, plaintiff had not returned to work.         assessments.″ Amnesty Am. v. Town of W. Hartford, 361 F.3d
(Id. ¶ 71.) By then, he had been absent from work for more         113, 122 (2d Cir. 2004) (quoting Weyant v. Okst, 101 F.3d
than one continuous year. (Id. ¶ 72.) As a result [*15] of that    845, 854 (2d Cir. 1996)); see Anderson v. Liberty Lobby,
continued absence, the Town separated plaintiff from his           Inc., 477 U.S. 242, 248, 106 S. Ct. 2505, 91 L. Ed. 2d 202
employment, sending him a letter stating, ″In accordance           (1986) (summary judgment is unwarranted if ″the evidence
with the agreement between the Town of Islip and                   is such that a reasonable jury could return a verdict for [*17]
International Brotherhood of Teamsters, Local #237, and            the nonmoving party″).
pursuant to Section 71 of the Civil Service Law, you will be
removed from the payroll as of August 31, 2010.″ (Id. ¶ 73;        HN3 Once the moving party has met its burden, the
see Separation Notice, Abbate Aff. Ex. BB.) New York               opposing party ″’must do more than simply show that there
granted plaintiff’s permanent disability retirement pension        is some metaphysical doubt as to the material facts . . . .
in May 2011, finding him ″permanently incapacitated from           [T]he nonmoving party must come forward with specific
the performance of his duties.″ (Def. 56.1 ¶ 70; see               facts showing that there is a genuine issue for trial.’″
Disability Services Letter, Abbate Aff. Ex. CC.)                   Caldarola v. Calabrese, 298 F.3d 156, 160 (2d Cir. 2002)
                                                                   (alteration and emphasis in original) (quoting Matsushita
B. Procedural Background                                           Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
                                                                   586-87, 106 S. Ct. 1348, 89 L. Ed. 2d 538 (1986)). As the
Plaintiff filed the complaint on June 14, 2012. Defendant          Supreme Court stated in Anderson, ″[i]f the evidence is
moved to dismiss the New York State Human Rights Law               merely colorable, or is not significantly probative, summary
claims on September 19, 2012. The Court granted the                judgment may be granted.″ 477 U.S. at 249-50 (citations
motion during a telephone conference on November 26,               omitted). Indeed, ″the mere existence of some alleged
2012. Defendant filed its answer on January 7, 2013.               factual dispute between the parties alone will not defeat an
Defendant moved for summary judgment on February 4,                otherwise properly supported motion for summary
2014. Plaintiff opposed on March 19, 2014. Defendant               judgment.″ Id. at 247-48 (emphasis in original). Thus, the
replied on April 2, 2014. The Court held oral argument on          nonmoving party may not rest upon mere conclusory
May 7, 2014. The Court has fully considered the submissions        allegations or denials but must set forth ″’concrete
of the parties.                                                    particulars’″ showing that a trial is needed. R.G. Grp., Inc.
                                                                   v. Horn & Hardart Co., 751 F.2d 69, 77 (2d Cir. 1984)
II. STANDARD   OF   REVIEW                                         (quoting SEC v. Research Automation Corp., 585 F.2d 31,
                                                                   33 (2d Cir. 1978)). Accordingly, it is insufficient for a party
HN2 Pursuant to Federal Rule of Civil Procedure 56(a), a
                                                                   opposing summary judgment ″’merely to assert a conclusion
court may grant a motion [*16] for summary judgment only
                                                                   without supplying supporting arguments or facts.’″ BellSouth
if ″the movant shows that there is no genuine dispute as to
                                                                   Telecomms., Inc. v. W.R. Grace & Co., 77 F.3d 603, 615 (2d
any material fact and the movant is entitled to judgment as
                                                                   Cir. 1996) (quoting Research Automation Corp., 585 F.2d at
a matter of law.″ Fed. R. Civ. P. 56(a); Gonzalez v. City of
                                                                   33).
Schenectady, 728 F.3d 149, 154 (2d Cir. 2013). The moving
party bears the burden of showing that he or she is entitled
                                                                   III. DISCUSSION
to summary judgment. Huminski v. Corsones, 396 F.3d 53,
69 (2d Cir. 2005). ″A party asserting that a fact cannot be or     Plaintiff’s first, third, fifth, and seventh causes of action
is genuinely disputed must support the assertion by: (A)           allege disability discrimination: (1) Claim 1: upon his return
citing to particular parts of materials in the record, including   from a work-related injury [*18] in June 2009, the Town

                                                            Page 8 of 18
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 31 of 57
                                               2014 U.S. Dist. LEXIS 133168, *18



refused to assign plaintiff a helper as a reasonable                reasons set forth below, the Court agrees with defendant.
accommodation; (2) Claim 3: upon his return from a
work-related injury in June 2009, the Town ″regularly″              1. Claims 1, 3, and 5
assigned plaintiff ″elevated or overhead work″; (3) Claim 5:
upon his return from a work-related injury in June 2009, the        a. Whether Plaintiff Had an ADA-Qualifying Disability
Town denied plaintiff’s request for an emergency personal
day; and (4) Claim 7: after his second injury in July 2009,         HN4 The ADA provides that ″[n]o covered entity shall
the Town repeatedly directed plaintiff to be evaluated for          discriminate against a qualified individual on the basis of
light duty at a time when he was ″totally disabled and              disability in regard to job application procedures, the hiring,
unable to work,″ and then discharged him without proper             advancement, or discharge of employees, employee
notice. (Complaint ¶¶ 37, 41, 50, 62.) Plaintiff’s second,          compensation, job training, and other terms, conditions, and
fourth, sixth, and seventh causes of action allege retaliation:     privileges of employment.″ 42 U.S.C. § 12112(a). The
(1) Claim 2: plaintiff was denied helpers in retaliation for        plaintiff ″bears the initial burden of proving by a
filing a disability discrimination complaint against the Town       preponderance of the evidence a prima facie case of
in April 2009; (2) Claim 4: plaintiff was assigned overhead         discrimination.″ Heyman v. Queen Vill. Comm. for Mental
and elevated work in retaliation for the filing; (3) Claim 6:       Health for Jamaica Cmty. Adolescent Program, Inc., 198
the Town denied plaintiff’s paid emergency personal day             F.3d 68, 72 (2d Cir. 1999); see also Wernick v. Fed. Reserve
request in retaliation for the filing; and (4) Claim 7: after his   Bank of N.Y., 91 F.3d 379, 383 (2d Cir. 1996) (″A plaintiff
second injury in July 2009, the Town retaliated against             who raises a disability discrimination claim bears the initial
plaintiff by harassing him to come in for evaluation for light      burden of establishing a prima facie case.″). To make out a
 [*19] duty assignments and by discharging him without              prima facie case, a plaintiff must show that (1) the employer
proper notice. (Id. ¶¶ 30, 39, 44, 52, 63.) The Court               is subject to the ADA;6 (2) the plaintiff was a person with a
addresses each claim in turn.                                       disability within the meaning of the ADA; (3) the plaintiff
                                                                      [*21] was otherwise qualified to perform the essential
A. ADA Discrimination Claims                                        functions of her job, with or without reasonable
                                                                    accommodation; and (4) the plaintiff suffered adverse
The first, third, and fifth causes of action center on events
                                                                    employment action because of her disability. Shannon v.
alleged to have occurred between June 9, 2009, and July 23,
                                                                    N.Y.C. Transit Auth., 332 F.3d 95, 99 (2d Cir. 2003) (citing
2009. The seventh cause of action arises from events alleged
                                                                    Ryan v. Grae & Rybicki, P.C., 135 F.3d 867, 869-70 (2d Cir.
to have taken place after July 23, 2009. Defendant argues
                                                                    1998)).
that the first three causes of action must be dismissed
because (1) plaintiff did not have an ADA-qualifying                HN5 A threshold question is whether the plaintiff has a
disability; (2) the failure to accommodate claim fails as a         disability within the meaning of the ADA. Graham v. Three
matter of law because not only was the Town not obligated           Vill. Cent. Sch. Dist., No. 11-CV-5182, 2013 U.S. Dist.
to provide reasonable accommodations for his essential job          LEXIS 143264, 2013 WL 5445736, at *10 (E.D.N.Y. Sept.
functions, but plaintiff also cannot show that, even if             30, 2013). The ADA Amendment Act of 2008 (″ADAAA″)
reasonable accommodations were needed in order for him to           defines ″disability″ as:
complete the essential job functions, defendant did not
provide him with such; (3) defendant did not have to                    (A) a physical or mental impairment that
eliminate essential job functions; and (4) the temporary                substantially limits one or more major life activities
denial of the paid emergency personal day is not actionable             of such individual;
as a matter of law. Defendant argues that the seventh cause
of action must be dismissed because (1) after the July 2009             (B) a record of such an impairment; or
injury, plaintiff was not otherwise qualified to perform [*20]          (C) being regarded as having such an impairment.
the essential functions of his job, with or without a
reasonable accommodation; (2) the Town requested that               42 U.S.C. § 12102(1).
plaintiff report for evaluation and also discharged him
pursuant to the Collective Bargaining Agreement and N.Y.            As relevant in this case,HN6 ″no failure to accommodate
Civ. Serv. Law § 71; and (3) plaintiff otherwise failed to          claim can be made, as a matter of law, for an individual who
exhaust his available administrative remedies. For the              was ’regarded as’ disabled, rather than who was actually

6
    This is undisputed in this case.

                                                             Page 9 of 18
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 32 of 57
                                              2014 U.S. Dist. LEXIS 133168, *21



disabled. In other words, the ’regarded as’ theory of              are not limited to, ″caring for oneself, performing manual
disability is no longer actionable in the context of a failure     tasks, seeing, hearing, eating, sleeping, walking, standing,
to accommodate claim.″ Graham, 2013 U.S. Dist. LEXIS               lifting, bending, speaking, breathing, learning, reading,
143264, 2013 WL 5445736, at *11 (citing 42 U.S.C. §                concentrating, thinking, communicating, and working.″ 42
12201(h)); see also Powers v. USF Holland, Inc., 667 F.3d          U.S.C. § 12102(2). Major life activities also may include
815, 823 n.7 (7th Cir. 2011) (″[T]he ADAAA clarified that          ″the operation of a major bodily function, including but not
an individual ’regarded as’ disabled (as opposed to actually       limited to, functions of the immune system, normal cell
disabled) is not entitled to a ’reasonable accommodation.″         growth, digestive, bowel, bladder, neurological, brain,
(quoting 42 U.S.C. § 12201(h))). Further, with respect to the      respiratory, circulatory, endocrine, and reproductive
other pre-July 23, 2009 discrimination claims, there is no         functions.″ Id. Notably, post-ADAAA, ″major life activities
evidence from which a reasonable jury could conclude [*22]         no longer need to be of ’central importance.’″ D’Entremont
that that plaintiff was regarded by the Town as having an          v. Atlas Health Care Linen Servs., Co., No. 12-CV-0060
ADA-qualifying disability from June 9 to July 23, 2009, as         (LEK/RFT), 2013 U.S. Dist. LEXIS 34474, 2013 WL
required. See Sutton v. United Airlines, Inc., 527 U.S. 471,       998040, at *6 (N.D.N.Y. Mar. 13, 2013) (quoting Sam-Sekur
489, 119 S. Ct. 2139, 144 L. Ed. 2d 450 (1999) (for                v. Whitmore Grp., Ltd., No. 11-CV-4938, 2012 U.S. Dist.
purposes of the ″regarded as″ prong, requiring the covered         LEXIS 83586, 2012 WL 2244325, at *6 (E.D.N.Y. June 15,
entity to ″believe either that one has a substantially limiting    2012)); see also 42 U.S.C. § 12102(2)(A).
impairment that one does not have or that one has a
substantially limiting impairment when, in fact, the               HN8 The ADA does not define what [*24] constitutes a
impairment is not so limiting″).7 Dr. Dines cleared plaintiff      substantial limitation. See Kravtsov, 2012 U.S. Dist. LEXIS
to return to work and did not list any limitations, and there      94819, 2012 WL 2719663, at *10 (stating that ″[t]he ADA
is no evidence that the Town knew or thought that plaintiff        does not define the term ’substantially limited,’ but
had any restrictions from work. (See Def. 56.1 ¶¶ 31-40.)          post-ADAAA regulations″ clarify the term). However, it is
Plaintiff was assigned and performed the identical work as         clear that the standard ″is not meant to be [] demanding,″ 29
before his surgery, and nothing indicates that the Town            C.F.R. § 1630.2(j)(1)(i), and ″should not demand extensive
changed its expectations of his performance, either. (See id.      analysis,″ id. 1630.2(j)(1)(iii). Thus, an impairment will be
¶¶ 48-49.) In fact, plaintiff did not specifically raise a         considered a disability under the ADA ″if it substantially
″regarded as″ theory of liability in his opposition. Thus, for     limits the ability of an individual to perform a major life
purposes of the first three discrimination claims, this Court      activity as compared to most people in the general
only addresses in more detail below whether there is               population.″ Risco v. McHugh, 868 F. Supp. 2d 75, 108 n.47
evidence from which a rational jury could find that plaintiff      (S.D.N.Y. 2012) (quoting 29 C.F.R. § 1630.2(j)(1)(ii))
was disabled or had a record of disability.                        (internal quotation marks omitted). An impairment ″need
                                                                   not prevent, or significantly or severely restrict, the
i. Whether Plaintiff [*23] Had a Physical Impairment that          individual from performing a major life activity in order to
Affects a Major Life Activity                                      be considered substantially limiting.″ Kravtsov, 2012 U.S.
                                                                   Dist. LEXIS 94819, 2012 WL 2719663, at *10 (quoting 29
HN7 For a plaintiff to establish that she has a disability         C.F.R. § 1630.2(j)(1)(ii)) (internal quotation marks omitted);
under the statute’s first subsection, she must ″(1) show that      see also Brandon v. O’Mara, No. 10-CV-5174(RJH), 2011
[she] suffers from a physical or mental impairment, (2)            U.S. Dist. LEXIS 112314, 2011 WL 4478492, at *7
identify the activity claimed to be impaired and establish         (S.D.N.Y. Sept. 28, 2011) (″[T]he revised EEOC regulations
that it constitutes a major life activity, and (3) show that       provide that [a]n impairment is a disability . . . if it
[her] impairment substantially limits the major life activity      substantially limits the ability of an individual to perform a
previously identified.″ Green v. DGG Props. Co., No.               major life activity as compared to most people in the general
11-CV-1989 (VLB), 2013 U.S. Dist. LEXIS 13138, 2013                population[; t]hat is, while [a]n impairment need not prevent,
WL 395484, at *9 (D. Conn. Jan. 31, 2013) (quoting                 or significantly or severely restrict, the individual from
Kravtsov v. Town of Greenburgh, No. 10-CV-3142(CS),                performing a major life activity in order to be considered
2012 U.S. Dist. LEXIS 94819, 2012 WL 2719663, at *10               substantially [*25] limiting, . . . the substantially limits
(S.D.N.Y. July 9, 2012)) (internal quotation marks omitted).       analysis is comparative.″ (second and fourth alterations in
Pursuant to the ADAAA, major life activities include, but          original) (citation and internal quotation marks omitted)).

7
  Sutton was superseded by statute on other grounds. See, e.g., Young v. Precision Metal Prods., Inc., 599 F. Supp. 2d 216, 223 (D.
Conn. 2009).

                                                           Page 10 of 18
            Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 33 of 57
                                                   2014 U.S. Dist. LEXIS 133168, *25



Plaintiff claims that the injury to his shoulder rendered him            the ADA″); Williams v. Channel Master Satellite Sys., Inc.,
″unable to lift his right arm over his head″ and prompted his            101 F.3d 346, 349 (4th Cir. 1996) (same, for twenty-five
doctor to ″restrict[] him from lifting more than 15 pounds.″             pound lifting limitation); Aucutt v. Six Flags, Over Mid—Am.,
(Complaint ¶ 32.) Defendant argues that there is no evidence             Inc., 85 F.3d 1311, 1319 (8th Cir. 1996) (same, for
that this alleged impairment substantially limited a major               twenty-five pound lifting restriction); Gittens v. Garlocks
life activity. The Court agrees with the Town.                           Sealing Techs., 19 F. Supp. 2d 104, 111 (W.D.N.Y. 1998)
                                                                         (same, for thirty pound lifting restriction).8
In the instant case, plaintiff’s selfserving, conclusory
allegation of disability is belied by ″the record evidence that          Moreover, to the extent plaintiff may claim a limitation with
plaintiff was cleared by his doctor,″ and, thus, standing                respect to work,
alone, it ″cannot support a finding by a rational fact finder
that plaintiff was substantially limited″ in a major life                     HN9 to show substantial limitation in this activity
activity. McDonald v. City of New York, 786 F. Supp. 2d                       under the ADA a plaintiff must prove that he is
588, 608 (E.D.N.Y. 2011) (″These vague and ambiguous                          ″significantly restricted in the ability to perform
descriptions by plaintiff of his limitations, coupled with the                either a class of jobs or a broad range of jobs in
record evidence that plaintiff was cleared by his doctor to                   various classes as compared to the average person
walk up to three miles per day cannot support a finding by                    having comparable training, skills, and abilities.
a rational factfinder that plaintiff was substantially limited                The inability to perform a single, particular job
in the major life activities of walking or standing.″). In                    does not constitute a substantial limitation in the
addition, with respect to the claimed lifting limitation, [*26]               major life activity of working.″
numerous courts have held, ″as a matter of law, that the
weight limitation similar to that claimed by plaintiff is                McDonald, 786 F. Supp. 2d at 609 (quoting 29 C.F.R. §
insufficient to establish a substantial limitation on one’s              1630.2(j)(3)(i)). However, ″[a]n impairment that disqualifies
ability to lift, work, or perform any other major life                   a person from only a narrow range of jobs is not considered
activity.″ Id. at 609 (discussing claimed limitation of inability        a substantially limiting one.″ Muller v. Costello, 187 F.3d
to lift weighs exceeding twenty pounds); see also Colwell v.             298, 313 (2d Cir. 1999) (internal quotation marks and
Suffolk Cnty. Police Dep’t, 158 F.3d 635, 644 (2d Cir. 1998)             citation omitted). Here, Morris has not shown that his
(finding two plaintiffs’ inability to lift ″very heavy objects″          alleged impairment significantly restricted his ability to
or ″anything heavy,″ respectively, insufficient to establish             perform a class of jobs, or a broad range of jobs in various
substantial limitation on ability to lift as compared to                 classes, during the relevant time period. He has presented no
average person); Snow v. Ridgeview Med. Ctr., 128 F.3d                   evidence to suggest that he was disqualified from performing
1201, 1207 (8th Cir. 1997) (explaining that a ″general lifting           even the essential functions of his own job. By his own
restriction imposed by a physician, without more, is                     account, when he returned to work in June 2009, he was ″for
insufficient to constitute a disability within the meaning of            the most part″ able to perform [*29] the essential functions

8
    Plaintiff’s reliance on the NYSDHR’s finding of ″probable cause,″ as to his second complaint in 2010, is unavailing. As a threshold
matter, plaintiff has not shown that the finding of probable cause would have preclusive effect in New York State courts or in this Court,
particularly because there was no final administrative [*27] determination, and no state court reviewed the NYSDHR’s findings. See
Macer v. Bertucci’s Corp., No. 13-CV-2994 (JFB)(ARL), 2013 U.S. Dist. LEXIS 170367, 2013 WL 6235607, at *4-6 (E.D.N.Y. Dec.
3, 2013) (detailing claim preclusion standard). Moreover, plaintiff did not submit the entire NYSDHR report and, thus, the Court does
not know what information the NYSDHR had before it in reaching that initial determination. Thus, the NYSDHR’s finding itself has
no probative value, especially in light of the uncontroverted evidence that defendant has submitted to this Court regarding the disability
and retaliation claims. As the Second Circuit has noted, under such circumstances, that initial finding is not enough to preclude summary
judgment:

        Plaintiffs assert that the mere existence of the initial CCHR ″probable cause″ determination, later reversed, is enough to
        preclude summary judgment, but an initial finding which does no more than simply repeat facts alleged elsewhere and
        conclusorily states that the facts reflect discrimination does not create a genuine issue of material fact. This is particularly
        so where, as here, factual determinations are entirely absent from the initial determination.

    Hines v. City of New York, 159 F.3d 1346, 1998 WL 514323, at *2 (2d Cir. 1998) (summary order) (citing Goldberg v. B. Green &
    Co., 836 F.2d 845, 848 (4th Cir. 1988) (holding Commission’s probable cause finding not sufficiently [*28] probative to create a
    genuine issue of fact on age discrimination claim)).

                                                                 Page 11 of 18
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 34 of 57
                                              2014 U.S. Dist. LEXIS 133168, *29



of his job title. (Def. 56.1 ¶ 37.) He described ″lifting and      the individual has or has had a substantially limiting
reaching″ as his ″biggest problem,″ but he performed               impairment. The impairment indicated in the record must be
overhead work to the best of his ability. (Id. ¶¶ 38-39.) This     an impairment that would substantially limit one or more of
uncontroverted evidence record precludes any rational              the individual’s major life activities.″ Colwell, 158 F.3d at
finding that plaintiff’s alleged impairment significantly          645 (quoting 29 C.F.R. pt. 1630 App., § 1630.2(k)) (emphasis
limited his ability to perform a class of jobs or a broad range    added). In other words, ″a record reflecting a plaintiff’s
of jobs in various classes. See, e.g., Young, 599 F. Supp. 2d      classification as disabled for other purposes or other
at 225-26 (finding that plaintiff’s ability to maintain a          standards is not enough.″ Id.
fulltime job that is apparently similar to his previous job        Morris claims that ″[t]here are numerous medical records
undermines the argument that plaintiff is significantly            establishing [his] disability, and the Town of Islip were fully
restricted in working); see also Ongsiako v. City of New           aware of [his] injuries and limitations.″ (Opposition, at 9.)
York, 199 F. Supp. 2d 180, 185-86 (S.D.N.Y. 2002) (finding         This is insufficient, because plaintiff points to no supporting
absence of evidence ″from which a rational juror could infer       documentation in the record for the time period at issue. See
that [plaintiff’s] impairment precluded him from performing        Jeffries v. Verizon, No. 10-CV-2686(JFB)(AKT), 2012 U.S.
a broad class of jobs,″ where evidence ″leads to only one          Dist. LEXIS 135543, 2012 WL 4344197, at *10 (E.D.N.Y
rational inference: plaintiff’s back impairment . . . prevented    Aug. 31, 2012) (HN11 ″District courts in the Second Circuit
him only from working as a City construction laborer or in         have repeatedly held that a plaintiff’s personal testimony
other jobs for which heavy lifting was an essential function″);    which describes the alleged limits that affect a major life
Gittens, 19 F. Supp. 2d at 111 (granting summary judgment          activity, without supporting medical testimony, simply is
and finding that plaintiff has ″failed to plead that he has a      not sufficient to establish his prima facie case under the
disability within the meaning of the ADA″ where ″plaintiff         ADA.″ [*32] (quoting Sussle v. Sirina Prot. Sys. Corp., 269
has not been limited from employment in general, and in            F. Supp. 2d 285, 301 (S.D.N.Y. 2003)) (internal quotation
fact [*30] has remained employed by defendant″).                   marks omitted); Cody v. Cnty. of Nassau, 577 F. Supp. 2d
In sum, the Court concludes that plaintiff has failed to           623, 642 (E.D.N.Y. 2008) (concluding that plaintiff’s ″record
submit evidence that raises a genuine issue of fact to             of impairment″ claim fails, in part, because plaintiff ″offers
whether he suffered from a disability, prior to July 23, 2009,     no evidence to support a finding that she has a record of an
within the meaning of the ADAAA. Plaintiff was able to             impairment that substantially limits a major life activity,″
perform his alleged major life activities, including his own       and that ″the only statement offered by plaintiff that even
pre-surgery job requirements, with little to no restriction.       addresses this argument is contained in the affidavit of her
There is no medical evidence to the contrary. For these            counsel″). Moreover, even if plaintiff had provided such
reasons, the Court concludes that plaintiff has failed to          materials,HN12 records of hospitalization or other medical
produce evidence from which a rational jury could conclude         treatment do not per se establish a record of an
that his alleged impairment with respect to a major life           ADA-qualifying disability; rather, the evidence must
activity was substantially limiting. Accordingly, even             establish a physical impairment that substantially impaired a
construing the evidence most favorably to plaintiff, he            major life activity. See, e.g., Colwell, 158 F.3d at 645
cannot demonstrate a disability under subsection one of the        (record of previous hospital stay did not, by itself, constitute
ADAAA for the time period before July 23, 2009. See                a record of impairment); Dupre v. Charter Behavioral
Graham, 2013 U.S. Dist. LEXIS 143264, 2013 WL 5445736,             Health Sys. of Lafayette, Inc., 242 F.3d 610, 615 (5th Cir.
at *14-15 (finding that plaintiff did not suffer from disability   2001) (health screening form, which indicated that new
under ADAAA definition based upon own testimony and                employee was under care of physician and had undergone
lack of any medical evidence to support contrary finding).         surgery, did not show that plaintiff’s impairment substantially
                                                                   limited any major life activity, and therefore, was insufficient
ii. The ″Record″ of a Disability Prong                             as record of disability); Hilburn v. Murata Elecs. N. Am.,
                                                                   Inc., 181 F.3d 1220, 1229-30 (11th Cir. 1999) (employer
HN10 Even if a plaintiff cannot show a substantial limitation      record that employee missed work following heart attack
of a major life activity, she still may be able to establish an    and in following years did not establish that employee had
ADA-qualifying disability if she [*31] can show ″a record″         record of disability); Dicara v. Conn. Rivers Council, 663 F.
of such an impairment. See 42 U.S.C. § 12102(1)(B).                Supp. 2d 85, 93 (D. Conn. 2009) (noting [*33] that fact that
According to the Equal Employment Opportunity                      employee underwent surgery and was hospitalized was
Commission (″EEOC″), this ″part of the definition is               insufficient to create record of substantially limiting
satisfied if a record relied on by an employer indicates that      impairment). Finally, as noted supra, Dr. Dines authorized

                                                           Page 12 of 18
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 35 of 57
                                               2014 U.S. Dist. LEXIS 133168, *33



plaintiff’s return to work, without indicating that plaintiff       N.Y.C. Police Dep’t, No. 97-CV-02891-RJD, 2001 U.S.
had any disability or limitations or restrictions. Dr. Dines        Dist. LEXIS 25431, 2001 WL 34835239, at *9 (E.D.N.Y.
also refused to provide plaintiff with a letter indicating that     Sept. 4, 2001). Once a plaintiff has set forth a prima facie
he was limited or restricted in any way. (Def. 56.1 ¶ 29.)          case, ″the burden shifts to the employer to demonstrate that
                                                                    the employee’s proposed accommodation would result in an
Accordingly, even construing the record in plaintiff’s favor,
                                                                    undue hardship.″ Scalera v. Electrograph Sys., Inc., 848 F.
the first, third, and fifth causes of action cannot survive
                                                                    Supp. 2d 352, 360 (E.D.N.Y. 2012). For the following
summary judgment, because no rational jury could find that
                                                                    reasons, and assuming that plaintiff had a disability and the
plaintiff, between his return to work and departure in late
                                                                    Town had notice of the disability, the accommodation claim
July 2009, had a physical impairment that substantially
                                                                    cannot survive summary judgment because plaintiff does
affected a major life activity, or that plaintiff had a record of
impairment, particularly where plaintiff’s own treating             not show that, ″even if reasonable accommodations were
physician refused to provide such evidence.                         needed in order for [him] to complete [his] essential job
                                                                    functions (which, based on plaintiff’s own testimony, seems
b. Alternative Grounds                                              clear was not, in fact, the case), defendant did not provide
                                                                    [him] with such.″ Graham, 2013 U.S. Dist. LEXIS 143264,
The Court’s analysis of the first three discrimination claims       2013 WL 5445736, at *19 (footnote omitted).
may properly end here, because plaintiff has failed the first
requirement of such claims. See Cody, 577 F. Supp. 2d at            During his deposition, plaintiff admitted that he was able to
643 (concluding that because plaintiff had failed to show           perform the core functions of an MMIII upon his return, that
she had an ADA-qualifying disability under her disability
                                                                    he was able to perform overhead work, and that he only
discrimination claim, [*34] her reasonable accommodation
                                                                     [*36] requested helpers if there was a ″big″ job for him to
claim could not prevail). The Court, however, in an
                                                                    do. (Def. 56.1 ¶¶ 30, 32, 33.) He also admitted that when he
abundance of caution, will address the other grounds raised
                                                                    did request a helper, the Town provided one unless ″there
by the defendant. As detailed below, the Court concludes
                                                                    was some freak thing where a lot of other people were out
that, even assuming arguendo that there was sufficient
                                                                    or something like that.″ (Id. ¶ 34.) The Town’s records
evidence from which plaintiff could establish that he had a
                                                                    confirm that plaintiff had a helper on twenty of the
disability within the meaning of the ADAAA, plaintiff’s
pre-July 23, 2009 claims also fail on several other grounds:        twenty-nine days he worked after his return in June 2009.
(1) no rational jury find that defendant failed to provide          The only other individual sharing plaintiff’s title and
plaintiff with a reasonable accommodation; (2) no rational          responsibilities had helpers on nine of thirty-one days. The
jury could find that plaintiff’s essential job functions did not    Court also notes that there is no evidence that plaintiff
include overhead work; and (3) no rational jury could find          specifically requested help because of an impairment, rather
that the temporary denial of a paid leave day was an adverse        than because there was a ″big″ job for him to do, which also
employment action (or retaliatory).                                 weighs against a finding of failure to accommodate. See
                                                                    Taylor v. Phoenixville Sch. Dist., 174 F.3d 142, 162 (3d Cir.
i. Failure to Accommodate Claim                                     1999) (describing possible actions that might reflect
                                                                    interactive process between employer and employee as
With respect to a claim under the ADA for failure to                ″meet[ing] with the employee who requests an
accommodate, an employer may be liable if it ″fails to make         accommodation request, request[ing] information about the
’reasonable accommodations to the known physical or                 condition and what limitations the employee has, ask[ing]
mental limitations of an otherwise qualified individual with
                                                                    the employee what he or she specifically wants, show[ing]
a disability who is . . . an employee.’″ Cody, 577 F. Supp.
                                                                    some sign of having considered [the] employee’s request,
2d at 643 (quoting Sussle, 269 F. Supp. 2d at 312). ″A
                                                                    and offer[ing] and discuss[ing] available alternatives when
plaintiff can state a claim for discrimination based upon an
                                                                    the request is too burdensome″). Thus, no reasonable
employer’s failure to accommodate her disability by alleging
                                                                    factfinder could conclude [*37] that the Town did not honor,
 [*35] facts showing: (1) that she has a disability within the
                                                                    where feasible, plaintiff’s requests for accommodation (if
meaning of the [ADA]; (2) that the defendants, who are
covered by the ADA, had notice of her disability; (3) that
with reasonable accommodations she could perform the
essential functions of the position sought; and (4) that
defendant refused to make such accommodations.″ Feeley v.

                                                            Page 13 of 18
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 36 of 57
                                                2014 U.S. Dist. LEXIS 133168, *37



any).9 Accordingly, based on the uncontroverted evidence,             compensatory and vacation time, ″to survive a motion for
including plaintiff’s own testimony, the Court grants                 summary judgment, plaintiff must present evidence
summary judgment to defendant on the failure to                       demonstrating that she was entitled to and denied a benefit,
accommodate claim on this ground, as well.                            and that the reason for that denial was [unlawful
                                                                      discrimination]″); Kalp v. Kalmon Dolgin Affiliates of Long
ii. Assignment of Essential Job Function                              Island Inc., No. 11-CV-4000 (JG), 2013 U.S. Dist. LEXIS
                                                                      43548, 2013 WL 1232308, at *6 (E.D.N.Y. Mar. 27, 2013)
Plaintiff claims that he suffered an adverse employment
                                                                      (″The denial of a single vacation request, without any
action because he was assigned a greater percentage of
                                                                      indication that there was an absolute prohibition against
overhead work after his injury. (Opposition, at 13.) This
                                                                      plaintiff taking any vacation time, is not a material adverse
does not establish an adverse employment action sufficient
                                                                      employment action. . . . Kalp has not demonstrated that the
to support the third cause of action. ″Adverse employment
                                                                      denial of her vacation request was a complete bar to her
actions [*38] include discharge, refusal to higher, refusal to
promote, demotion, reduction in pay, and reprimand.″                  taking vacation. In fact, she took March 7, 2011 as a
Wrobel v. Cnty. of Erie, 692 F.3d 22, 31 (2d Cir. 2012); see          vacation day.″ (internal quotation marks and citation
also Graham, 2013 U.S. Dist. LEXIS 143264, 2013 WL                    omitted)). The uncontroverted evidence in the record is that,
5445736, at *22 (explaining that, for purposes of retaliation         in initially denying one day of paid leave, defendant was
claim, adverse employment actions include termination of              applying a written policy that was part of the Collective
employment, demotion, less distinguished title, material              Bargaining Agreement, which required an explanation for a
loss of benefits, or significantly diminished material                request for a paid emergency personal day. Specifically, it is
responsibilities). ″Courts have continuously found that               undisputed that plaintiff initially provided [*40] no
employers are not required to assign existing employees or            explanation other than to state, ″I took an emergency
hire new employees to perform certain functions or duties of          personal day,″ and his request for one day paid leave was
a disabled employee’s job which the employee cannot                   denied. After filing a grievance and providing an explanation
perform by virtue of his disability.″ Bratten v. SSI Servs.,          at the hearing for his request to use an emergency personal
Inc., 185 F.3d 625, 632-33 (6th Cir. 1999) (citing Cochrum            day, the denial was rescinded, and the eight hours of pay
v. Old Ben Coal Co., 102 F.3d 908, 913 (7th Cir. 1996)).              that had been docked for using the day without an
                                                                      explanation were restored to him. Under these circumstances,
Therefore, no reasonable factfinder could conclude that               no rational jury could find that plaintiff suffered an adverse
plaintiff’s essential job functions did not include these             employment action, either under a disability discrimination
duties and that the Town impermissibly assigned plaintiff             claim, or under the more liberal standard for adverse action
such work. Moreover, there is no evidence that would allow
                                                                      under a retaliation claim. Moreover, plaintiff points to
the factfinder to compare the distribution of plaintiff’s work
                                                                      nothing to indicate that defendant’s legitimate,
before and after his injury to ascertain the merits of the
                                                                      non-discriminatory reason for the temporary denial was a
above allegation. Accordingly, the Court grants summary
                                                                      pretext for discrimination or for retaliation. Accordingly, the
judgment to defendant on plaintiff’s third cause of action on
                                                                      Court also grants summary judgment to defendant on the
this ground, as well.
                                                                      fifth cause of action on these independent grounds.
iii. Emergency Personal Day
                                                                      2. Claim 7
Finally, the Court concludes that the temporary denial of the
paid leave day, [*39] which the Town later rescinded, does            The seventh cause of action alleges that the Town
not constitute an adverse employment action sufficient to             discriminated against plaintiff by directing him to come in
sustain a discrimination claim as a matter of law. See, e.g.,         to be evaluated for light duty assignments ″when it knew or
Lieberman v. Reisman, 857 F.2d 896, 900 (2d Cir. 1988)                should have known″ that he ″was totally disabled and
(stating that where defendants have denied plaintiff pay for          unable to work,″ and for discharging him without [*41]

9
    Plaintiff argues that ″[p]rior to the injury, he had a helper nearly every day, especially when he was doing any sort of sizeable job.
After he returned subsequent to the first injury, he was sometimes denied helpers under the guise of helpers being needed elsewhere, only
to find out later that said helpers were assigned where they were not needed to prevent Mr. Morris from getting the help he needed.″
(Opposition, at 13.) Plaintiff, however, points to no admissible evidence to support this conclusory allegation. Any temporal proximity,
standing alone, cannot overcome defendant’s showing and plaintiff’s own testimony.

                                                              Page 14 of 18
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 37 of 57
                                                 2014 U.S. Dist. LEXIS 133168, *41



proper notice. (Complaint ¶ 62.)10 The claim covers events             Rockland, 200 F. Supp. 2d 311, 321 (S.D.N.Y. 2002)
subsequent to July 23, 2009.                                           (finding that requests for medical evaluations to ascertain
                                                                       fitness to work all three shifts as required by job was not
As a threshold matter, the claim fails because it is undisputed        adverse employment action under ADA because requests
that, as a result of the July 23, 2009, injury, plaintiff was not      did not materially change plaintiff’s working conditions).
otherwise qualified to perform the essential functions of his
job, with or without a reasonable accommodation. See                   Similarly, defendant claims that plaintiff was separated from
Shannon, 332 F.3d at 99.HN13 ″Essential functions″ are                 his employment pursuant to HN14 N.Y. Civil Service Law
defined under EEOC regulations to mean the ″’fundamental’              § 71, which ″permits a civil service employer to terminate
duties to be performed in the position in question, but not            an employee who has been separated from service for more
functions that are merely ’marginal.’″ Stone v. City of Mount          than one year by reason of disability resulting from
Vernon, 118 F.3d 92, 97 (2d Cir. 1997) (citing 29 C.F.R. §             occupational injury.″ O’Leary v. Town of Huntington, No.
1630.2(n)(1) (1996)). Plaintiff testified that since July 23,          11-CV-3754 (JFB)(GRB), 2012 U.S. Dist. LEXIS 126086,
2009, he has been incapable of performing his duties, even             2012 WL 3842567, at *12 (E.D.N.Y. Sept. 5, 2012) (quoting
with a helper (Def. 56.1 ¶ 54), and medical evidence                   Santiago v. Newburgh Enlarged City Sch. Dist., 434 F.
supports the conclusion that plaintiff is totally disabled (id.        Supp. 2d 193, 195 (S.D.N.Y. 2006)). This provision is a
¶¶ 55, 56). Plaintiff also told the State’s examining physician        legitimate, non-discriminatory basis for the termination.
that he is unable to perform his job functions. See Cleveland          Hatter v. Fulton, No. 92 CIV. 6065(WK), 1997 U.S. Dist.
v. Policy Mgmt. Sys. Corp., 526 U.S. 795, 806, 119 S. Ct.              LEXIS 10429, 1997 WL 411623, at *7 (S.D.N.Y. 1997)
1597, 143 L. Ed. 2d 966 (1999) (″[A] plaintiff’s sworn                 (stating that upon defendant’s assertion of right to terminate
assertion in an application for disability benefits that she is,       under Civil Service Law § 71, burden shifts to plaintiff to
for example, ’unable to work’ will appear to negate an                 show that proffered reason was pretextual), aff’d sub. nom.
essential element [*42] of her ADA case—at least if she                Hatter v. N.Y.C. Housing Auth., 165 F.3d 14 (2d Cir. 1998).
does not offer a sufficient explanation.″). Thus, because              ″No presumption of discrimination arises when an employer
plaintiff was not ″otherwise qualified″ subsequent to July             makes a decision explicitly provided for by the Civil
23, and he does not proffer a sufficient explanation, plaintiff        Service Law. Bresloff-Hernandez v. Horn, No. 05 Civ.
cannot establish a prima facie case of disability                      0384(JGK), 2007 U.S. Dist. LEXIS 71257, 2007 WL
discrimination under the ADA.                                          2789500, at *6 (S.D.N.Y. Sept. 25, 2007) (citing Syken v.
                                                                       New York, 02 Civ. 4673, 2006 U.S. Dist. LEXIS 92264,
In addition, according to the Town, the predicate for its              2006 WL 3771095, at *9 (S.D.N.Y. Dec. 21, 2006)).
requests to evaluate plaintiff for light duty assignments was          Plaintiff has not presented any evidence [*44] that
a provision in the Collective Bargaining Agreement between             defendant’s proffered reason was pretextual.
the Town and its workforce. Even assuming arguendo that
plaintiff otherwise was qualified to perform the essential             Lastly, the discharge-related claim also fails because plaintiff
functions of his job, the enforcement of such a provision              has not exhausted his administrative remedies by raising a
cannot support a claim of discrimination based on disability.          termination claim before the NYSDHR or EEOC. HN15 To
See Cioce v. Cnty. of Westchester, 128 F. App’x 181, 184 (2d           bring a Title VII discrimination claim in federal court, a
Cir. 2005) (″Even assuming arguendo that his allegations               plaintiff must first exhaust administrative remedies by filing
support his claim that he is disabled as that term is defined          an administrative charge alleging discrimination within 300
under the ADA, Cioce’s allegations and submitted evidence              days of the alleged discriminatory conduct. O’Grady v.
indicate that his receipt of benefits for his injuries—pursuant        Middle Country Sch. Dist. No. 11, 556 F. Supp. 2d 196, 199
to the collective-bargaining agreement (″CBA″) between                 (E.D.N.Y. 2008) (citing Ruhling v. Tribune Co., No. 04 Civ.
Westchester County and the Correction Officers Benevolent              2430(ARL), 2007 U.S. Dist. LEXIS 116, 2007 WL 28283,
Association—was terminated because of his failure to                   at *8 (E.D.N.Y. Jan. 3, 2007)). This statutory filing period is
submit to independent medical examinations as required by              ″analogous to [ ] statute[s] of limitations,″ Van Zant v. KLM
the CBA, and not because of his disability. [*43] The fact             Royal Dutch Airlines, 80 F.3d 708, 712 (2d Cir. 1996), and,
that Cioce disagreed as to whether he was required to                  as such, ″a failure to timely file a charge acts as a bar to a
submit to these examinations does not support his claim of             plaintiff’s action.″ Butts v. N.Y.C. Dep’t of Hous. Pres. &
discrimination based on his disability.″); Honey v. Cnty. of           Dev., No. 00 Civ. 6307(KMK), 2007 U.S. Dist. LEXIS

10
    In his opposition, plaintiff only addresses the light duty requests, not his discharge. (See Opposition, at 19-21.) Plaintiff also does
not address most of defendant’s arguments for summary judgment.

                                                               Page 15 of 18
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 38 of 57
                                                 2014 U.S. Dist. LEXIS 133168, *44



6534, 2007 WL 259937, at *6 (S.D.N.Y. Jan. 29, 2007); see               denial of promotions, the second [*46] is a threat to place
also McPherson v. N.Y.C. Dep’t of Educ., 457 F.3d 211, 214              plaintiff on leave, and the third is plaintiff’s reassignment to
(2d Cir. 2006).                                                         the Day Treatment Program. As neither complaint raises the
                                                                        elimination of plaintiff’s position in any way, the current
Nevertheless,HN16 ″’claims that were not asserted before                claim has not been exhausted.″). Accordingly, the Court
the EEOC [or an appropriate State or local agency] may be               grants summary judgment to defendant on plaintiff’s
pursued in a subsequent federal court action if they are                discharge-related discrimination claim on this ground, as
reasonably related to those that were filed with the agency.’″          well.
Jute v. Hamilton Sundstrand Corp., 420 F.3d 166, 177 (2d
Cir. 2005) (quoting Legnani v. Alitalia Linee Aeree Italiane,           B. Retaliation Claims
S.P.A., 274 F.3d 683, 686 (2d Cir. 2001) (per curiam)).
″Reasonably related conduct is that ’which would fall                   1. Legal Standard
within the scope of the EEOC investigation which can
reasonably be expected to grow out of the charge that was               HN17 Retaliation claims brought under the ADA are
made.’″ Id. (quoting Fitzgerald v. Henderson, 251 F.3d 345,             examined under the same McDonnell Douglas
358 (2d Cir. 2001)); see also Mathirampuzha v. Potter, 548              burden-shifting framework. See, e.g., Treglia v. Town of
F.3d 70, 77 (2d Cir. 2008) (stating that claim is reasonably            Manlius, 313 F.3d 713, 719 (2d Cir. 2002). To establish a
related where ″administrative complaint can be fairly read              prima facie case of retaliation under the ADA, the plaintiff
to encompass the claims [*45] ultimately pleaded in a civil             must show the following elements: ″(1) he engaged in an
action or to have placed the employer on notice that such               activity protected by the ADA; (2) the employer was aware
claims might be raised″). In determining whether a claim is             of this activity; (3) the employer took adverse employment
″reasonably related″ to the EEOC charge, ″’the focus should             action against him; and (4) a causal connection exists
be on the factual allegations made in the [EEOC] charge                 between the alleged adverse action and the protected
itself’″ and on whether those allegations ″gave the [EEOC]              activity.″ Id.HN18 If the plaintiff establishes a prima facie
’adequate notice to investigate’″ the claims asserted in                case of unlawful discrimination, the burden then shifts to the
court. Williams v. N.Y.C. Hous. Auth., 458 F.3d 67, 70 (2d              defendant to set forth ″some legitimate, nondiscriminatory
Cir. 2006) (quoting Deravin v. Kerik, 335 F.3d 195, 201-02              reason″ for the complained-of conduct. McDonnell Douglas,
(2d Cir. 2003)).                                                        411 U.S. at 802; see also Fincher, 604 F.3d at 720 (stating
Plaintiff’s termination allegations arose subsequent to the             that where the plaintiff succeeds in establishing a prima
filing of his NYSDHR complaint. There is no evidence that               facie [*47] case, ″then a presumption of retaliation arises
plaintiff ever brought a termination allegation to the                  and the employer must articulate a legitimate, non-retaliatory
NYSDHR and EEOC, and the Court concludes that such an                   reason for the action that the plaintiff alleges was
allegation is not ″reasonably related″ to the other                     retaliatory″). Where the defendant articulates such a reason,
discrimination allegations in the April 2009 NYSDHR                     then the presumption of discrimination is rebutted, and it
complaint. As a matter of law, then, plaintiff’s claim                  ″simply drops out of the picture.″ St. Mary’s Honor Ctr. v.
expands the scope of the charge to encompass ″new                       Hicks, 509 U.S. 502, 510-11, 113 S. Ct. 2742, 125 L. Ed. 2d
unlawful employment practices or bases for discrimination,″             407 (1993) (citation omitted). The burden then shifts back to
rather than ″additional acts which constitute unlawful                  the plaintiff to show, without the benefit of any presumption,
employment practices related to or growing out of the                   that a reasonable jury could conclude by a preponderance of
subject matter of the original charge.″ Holtz v. Rockefeller &          the evidence that the employer’s explanation is merely a
Co., Inc., 258 F.3d 62, 83 (2d Cir. 2001) (citations omitted);          pretext for impermissible retaliation. Treglia, 313 F.3d at
see Lyles v. District of Columbia, 777 F. Supp. 2d 128, 136             721.11 To meet this burden, the plaintiff may rely on
(D.D.C. 2011) (″Plaintiff’s EEO charges outline three                   evidence presented to establish the prima facie case as well
allegedly retaliatory acts of discrimination. The first is              as additional evidence. Such additional evidence may include

11
     Following the Supreme Court’s decisions in University of Texas Southwestern Medical Center v. Nassar, 133 S. Ct. 2517, 186 L.
Ed. 2d 503 (2013), and Gross v. FBL Financial Services, Inc., 557 U.S. 167, 129 S. Ct. 2343, 174 L. Ed. 2d 119 (2009), it is an open
question in this Circuit whether an ADA plaintiff must now show that disability discrimination (or the plaintiff’s protected activity, in
a retaliation claim) was a but-for cause of the adverse employment action. See Castro v. City of New York, F. Supp. 2d , 24 F. Supp.
3d 250, 2014 U.S. Dist. LEXIS 79040, 2014 WL 2582830, at *14 n.34 (E.D.N.Y. 2014) (″[T]he question of whether the heightened,
’but-for’ standard of causation for Title VII retaliation claims . . . applies to claims asserted under the ADA, is one that has not yet been
addressed by the Second Circuit.″); see also Tse v. New York Univ., No. 10-CV-7207 (DAB), 2013 U.S. Dist. LEXIS 134223, 2013 WL

                                                                Page 16 of 18
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 39 of 57
                                                2014 U.S. Dist. LEXIS 133168, *47



direct or circumstantial evidence of discrimination. Desert           with a helper unless none were available. Thus, there is no
Palace, Inc. v. Costa, 539 U.S. 90, 99-101, 123 S. Ct. 2148,          evidence that defendant actually took negative employment
156 L. Ed. 2d 84 (2003). It is insufficient, however, for a           actions against plaintiff, or that there was any change in his
plaintiff merely to show that she satisfies ″McDonnell                working conditions, when he did not have a helper.
Douglas’s minimal requirements of a prima facie case″ and             Moreover, defendant’s ″alleged failure to accommodate
to put forward ″evidence from which a factfinder could find           [plaintiff’s] [*50] disability subsequent to an ADA . . .
that the employer’s explanation . . . was false.″ James v. N.Y.       protected request cannot be bootstrapped into a viable
Racing Ass’n, 233 F.3d 149, 157 (2d Cir. 2000). Instead, the          disability retaliation claim.″ Missick v. City of New York,
key is whether there is sufficient evidence in the record             707 F. Supp. 2d 336, 356-57 (E.D.N.Y. 2010) (citing Gomez
from which a reasonable trier of fact could find in [*48]             v. Laidlaw Transit, Inc., 455 F. Supp. 2d 81, 90 (D. Conn.
favor of plaintiff on the ultimate issue, i.e., whether the           2006)); Gomez, 455 F. Supp. 2d at 90 (″To the extent
record contains sufficient evidence to support an inference           plaintiff claims that defendant’s ongoing failure to
of discrimination. See id.; Connell v. Consol. Edison Co.,            accommodate her constituted retaliation, this claim is also
109 F. Supp. 2d 202, 207-08 (S.D.N.Y. 2000).                          insufficient as a matter of law. HN20 Requesting
                                                                      accommodation inevitably carries the possibility that the
HN19 The Supreme Court has defined an ″adverse                        employer will not honor the request. If the prospect that an
employment action″ in the Title VII retaliation context               employer might not honor the request would deter a
(distinct from and broader than the standard in the Title VII         reasonable employee from even making the request,
discrimination context) to mean an action that is ″materially         reasonable employees would not request accommodation.
adverse″ and that ″well might have dissuaded a reasonable             For this reason, a failure to accommodate cannot constitute
  [*49]    worker from making or supporting a charge of               retaliation for an employee’s request for accommodation.″).
discrimination.″ Burlington N. & Santa Fe Ry. Co. v. White,           The Court also notes that, even assuming plaintiff established
548 U.S. 53, 68, 126 S. Ct. 2405, 165 L. Ed. 2d 345 (2006)            a prima facie case of retaliation based on temporal proximity,
(internal citations omitted). The same definition applies to          he fails to proffer any evidence that defendant’s legitimate
retaliation claims under the ADA. Platt v. Inc. Vill. of              non-discriminatory reason—no helper was provided on
Southampton, 391 F. App’x 62, 64 (2d Cir. 2010); Ragusa v.            days when no MMI was available—is a pretext for
Malverne Union Free Sch. Dist., 381 F. App’x 85, 90 (2d               retaliation.
Cir. 2010).
                                                                      b. Overhead Work
2. Application
                                                                      Similarly, there simply is no evidence that plaintiff’s
In his opposition, plaintiff only addresses the denied                NYSDHR complaint in April 2009 motivated defendant to
emergency personal day and the request that he report for a           assign plaintiff overhead and elevated work after he returned
light duty evaluation. (Opposition, at 18.) Although it               from surgery. [*51] For instance, there is no evidence
appears that plaintiff has abandoned his other claims, see            whatsoever that the Town disproportionately assigned
Marache v. Akzo Nobel Coatings, Inc., No. 08. Civ. 11049,             plaintiff such projects after he complained to the NYSDHR,
2010 U.S. Dist. LEXIS 23273, 2010 WL 908467, at *15                   much less any statements or evidence that would allow a
(S.D.N.Y. Mar. 12, 2010) (finding a claim abandoned by                reasonable jury to conclude that the existence of such
virtue of plaintiff’s failure to address it in opposition to          projects was a pretext for retaliation.
motion for summary judgment), out of an abundance of
caution, the Court addresses all the retaliation allegations.         c. Emergency Personal Day
For the following reasons, the Court concludes that plaintiff’s
retaliation claims are without merit.                                 As discussed supra, after plaintiff was denied the paid leave
                                                                      day, he filed a grievance, was afforded a hearing, and had
a. Alleged Failure to Provide a Helper                                the denial reversed, with ultimately no loss to him. Plaintiff
                                                                      does not dispute the existence of the Town’s policy with
As discussed supra, plaintiff’s testimony and the Town’s              respect to emergency days. In his opposition, plaintiff states
uncontroverted records show that plaintiff was provided               that other employees were allowed to take emergency leave
5288848, at *18 n.18 (S.D.N.Y. Sept. 19, 2013); Najjar v. Mirecki, No. 11-CV-5138 (KBF), 2013 U.S. Dist. LEXIS 94011, 2013 WL
3306777, at *7 (S.D.N.Y. July 2, 2013). This Court need not resolve that issue in this case because, as discussed infra, plaintiff has not
produced sufficient evidence from which a rational jury could find that he was retaliated against, even under the ″motivating factor″
standard.

                                                              Page 17 of 18
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 40 of 57
                                                 2014 U.S. Dist. LEXIS 133168, *51



without offering any details. (Opposition, at 19.) Plaintiff,           F.3d at 141 (2d Cir. 2003). As a threshold matter, it is not
however, does not show that those employees requested the               even clear from the record that plaintiff complied with these
leave fewer than three days before taking it, and he ignores            requests by coming to the office to be evaluated. It appears
the documentary evidence that supports defendant’s claim                from his deposition that he simply submitted a note from his
that they neutrally applied the policy to all employees.                doctor saying he was unable to come to work. (Morris Dep.
Therefore, the Court concludes that plaintiff fails to establish        at 228.) Given the lack of any consequences to plaintiff, no
a prima facie case of retaliation with respect to the emergency         rational jury could find that these requests would reasonably
personal day. See Chin-McKenzie v. Continuum Health                     dissuade an employee from making a charge of
Partners, 876 F. Supp. 2d 270, 286 (S.D.N.Y. 2012) (″It is,             discrimination. Moreover, it is uncontroverted that NYSDHR
simply, not a material adverse change in a term or condition            found that the Town’s attempt to monitor and evaluate
of employment to require [*52] an employee to go to the                 plaintiff’s physical condition and capacity to perform light
EHS or ED after having an on-the-job allergy attack, to                 duty work was in accordance with the procedures in the
notify a supervisor before leaving duty, or to undergo a                Collective Bargaining Agreement. (Def. 56.1 ¶ 29.) Plaintiff
fitness examination. Nor did Chin—McKenzie incur a                      proffers no admissible evidence to show this was a pretext
materially adverse change in work conditions when she                   for retaliation.12
received an ″average″ performance rating, was compelled to
document the reason for a bereavement leave, or was denied              Therefore, even viewing the facts in the light most favorable
requested days off. These are the sort ofHN21 ’minor                    to plaintiff, the Court concludes that no reasonable jury
annoyances’ that do not rise to the level of actionable                 could find that defendant retaliated against plaintiff in
retaliation under Title VII.″ (internal citation and footnote           response to his NYSDHR complaint in April 2009.13
omitted)); see also Pierre v. Napolitano, 958 F. Supp. 2d               Accordingly, the Court grants summary judgment to
461, 480 (S.D.N.Y. 2013) (concluding that temporary denial              defendant on plaintiff’s retaliation claims.
of Law Enforcement Availability Pay benefits, which was
rescinded as soon as supervisor realized error in                       IV. CONCLUSION
interpretation of preconditions for benefits, ″were more
                                                                        For the foregoing reasons, the Court grants defendant’s
disruptive than a mere inconvenience″ and did not
                                                                        motion for summary judgment in its entirety. Plaintiff’s
″demonstrate that [the plaintiff] suffered an adverse
                                                                        complaint is dismissed in its entirety. The Clerk of the Court
employment action″ (citations and internal quotation marks
                                                                        shall enter judgment accordingly and close this case.
omitted)). Moreover, even if plaintiff had established prima
facie case, he proffers no proof to suggest that his NYSDHR             SO ORDERED.
filing motivated defendant to initially deny the request.
                                                                        JOSEPH F. BIANCO
d. ″Light Duty″ Evaluation Requests
                                                                        United States District Judge
Plaintiff proffers no evidence or authority that the requests           Dated: September 22, 2014
for him to discuss [*53] the potential of light duty from
August 2009 through January 2010 constituted ″an                        Central Islip, NY
employment action disadvantaging the plaintiff.″ Terry, 336

12
    Plaintiff claims that his union representative told plaintiff that he would be left alone if he dropped his claims with NYSDHR.
(Opposition, at 21.) This testimony is hearsay, and plaintiff’s argument that the representative was speaking on behalf of a member of
the Town is wholly speculative [*54] and cannot establish a genuine dispute of material fact.
13
     In his opposition papers and at oral argument, plaintiff alleged that defendants’ investigators conducted surveillance of his activities
in March and April 2009, while he was on workers’ compensation because of surgery. As a threshold matter, although these allegations
are contained in the background section of the complaint, they are not mentioned in connection with any of the specific causes of action.
Moreover, to the extent plaintiff has attempted to assert a cause of action based upon this alleged conduct, defendant correctly argues
that those same allegations were raised before the NYSDHR in plaintiff’s first complaint and, subsequent to its dismissal based upon
a finding of no probable cause, plaintiff did not bring a timely action based upon those allegations. Thus, any such claim would be
time-barred. In [*55] any event, those allegations could not be the basis for a plausible retaliation claim. Plaintiff alleges that the
surveillance, including the March 24, 2009 incident at the school, began prior to his April 2009 filing with the NYSDHR. Thus, on the
issue of causation, no rational jury could find that surveillance that began prior to the filing was retaliation for that filing.

                                                                Page 18 of 18
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 41 of 57

No Shepard’s Signal™
As of: March 16, 2015 7:24 PM EDT


                                       Perrelli v. Prudential Ins. Co.
                                United States District Court for the District of Connecticut
                                                September 19, 2008, Decided
                                         CIVIL ACTION NO. 3:07-cv-01797 (VLB)

Reporter
2008 U.S. Dist. LEXIS 70800

STEVE PERRELLI, Plaintiff, v. PRUDENTIAL                          to dismiss is GRANTED.
INSURANCE COMPANY, INC., Defendant.
                                                                  Perrelli sued Prudential in Connecticut Superior Court,
                                                                  asserting violations of the Connecticut Fair Employment
Core Terms                                                        Practices Act (CFEPA), Conn. Gen. Stat. § 46a-51 et seq.,
                                                                  and claims of intentional infliction of emotional distress and
benefits, termination, motion to dismiss, disability, alleges,    negligent infliction of emotional distress. Prudential removed
argues, infliction of emotional distress                          the case to this Court on the basis of federal question
                                                                  jurisdiction pursuant to 28 U.S.C. § 1331, claiming that
Counsel: [*1] For Steve Perrelli, Plaintiff: W. Martyn            Perrelli’s state law causes of action are preempted by
Philpot, Jr., LEAD ATTORNEY, Law Offices of W. Martyn             ERISA. Prudential asserted in the alternative that this Court
Philpot, Jr., LLC, New Haven, CT.                                 has jurisdiction on the basis of diversity of citizenship
                                                                  pursuant to 28 U.S.C. § 1332(a)(1) because Perrelli is a
For Prudential Ins Co Inc, Defendant: Debra S. Morway,            citizen of Connecticut, Prudential is incorporated and
LEAD ATTORNEY, Morgan, Lewis & Bockius, New York,                 maintains its principal place of business in New Jersey, and
NY; Jeremy P. Blumenfeld, Sarah E. Pontoski, LEAD                 the amount in controversy exceeds $ 75,000.
ATTORNEYS, PRO HAC VICE, Morgan, Lewis & Bockius
LLP-PA, Philadelphia, PA; Rene M. Johnson, LEAD                   Perrelli alleges in his complaint that he began working for
ATTORNEY, PRO HAC VICE, Morgan Lewis & Bockius                    Prudential in 1980. From February to August 2005, he took
LLP - NJ, Princeton, NJ.                                          a short term disability leave of absence because of his stress
                                                                  and depression. He received short term disability benefits
Judges: Vanessa L. Bryant, United States District Judge.          during that leave. In August 2005, Perrelli began receiving
                                                                  long term disability benefits. Perrelli’s eligibility for
Opinion by: Vanessa L. Bryant                                      [*3] long term benefits was to be reviewed after one year.
                                                                  Perrelli alleges that he ″was classified as a ’retiree’ for
Opinion                                                           purposes of his medical benefits,″ suggesting that he
                                                                  maintained his status as an employee while he received long
                                                                  term disability benefits. [Doc. # 1, Ex. A, Complaint p. 1]
MEMORANDUM     OF    DECISION      GRANTING
                                                                  He alleges that he ″has not worked for Prudential since
DEFENDANT’S MOTION TO DISMISS [Doc. # 16]
                                                                  August 2006 . . . .″ [Doc. # 1, Ex. A, Complaint p. 2] It is
The defendant, Prudential Insurance Company, Inc.                 unclear from Perrelli’s complaint whether ″not work[ing]″
(″Prudential″), moves pursuant to Fed. R. Civ. P. 12(b)(6) to     for Prudential is equivalent to termination, resignation,
dismiss this action filed by the plaintiff, Steve Perrelli.       retirement, or taking a leave of absence. According to
Prudential argues that all of Perrelli’s causes of action are     Perrelli’s complaint, Prudential informed him that he was
preempted by the Employee Retirement Income Security              not eligible for further disability benefits on February 13,
Act of 1974 (ERISA), 29 U.S.C. § 1001 et seq. Because             2007.
Perrelli has not stated an ERISA claim, Prudential argues
that his case must be dismissed. In the alternative, Prudential   Perrelli filed a charge with the Connecticut Commission on
argues that even if ERISA does not preempt Perrelli’s             Human Rights and Opportunities (CHRO) on April 27,
claims, they are time barred and do not allege sufficient         2007. The CHRO issued a release of jurisdiction letter on
facts. For the reasons given below, [*2] Prudential’s motion      October 5, 2007, and Perrelli then filed the present case. In
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 42 of 57
                                               2008 U.S. Dist. LEXIS 70800, *4



his present complaint, Perrelli claims that Prudential’s           to Prudential’s motion to dismiss that he does have a claim
termination of his benefits violated the CFEPA and                 for improper termination of benefits. Because those benefits
constituted both intentional infliction of emotional distress      were paid under a plan governed by ERISA, Perrelli may
and negligent infliction of emotional distress. According to       not bring state law causes of action with respect to his
Perrelli, Prudential terminated his benefits [*4] because of       benefits. Pursuant to 29 U.S.C. § 1144(a), ERISA supersedes
his age, which was 51, and his disability of depression.           all state laws relating to ERISA-governed plans. Perrelli has
Perrelli also alleges that he was harassed, that he endured an     not amended his complaint to state an ERISA claim despite
″openly hostile work environment,″ that he was ″unfairly           being on notice of Prudential’s preemption argument.
discharged from his position,″ and that Prudential
″permitt[ed] [Perrelli] to be subjected to unchecked, rampant      The remaining issue is whether Perrelli may assert state law
discrimination in the workplace, and then fir[ed] him when         claims regarding harassment, an ″openly hostile work
he complained about it . . . .″ [Doc. # 1, Ex. A, Complaint        environment,″ unfair discharge, and being fired for
pp. 2, 4, 5] Perrelli does not allege any other facts regarding    complaining about ″unchecked, rampant discrimination.″
the manner in which he was harassed, discriminated against,        [Doc. # 1, Ex. A, Complaint pp. 2, 4, 5] It is unclear from
and terminated.                                                    Perrelli’s complaint whether those allegations relate solely
                                                                   to the termination of his benefits, in which case ERISA
Prudential removed the case to this Court on December 6,           provides the exclusive means of relief, or whether they
2007, and filed a motion to dismiss on January 11, 2008.           relate to other conduct by Prudential, in which case Perrelli’s
Prudential argues that Perrelli’s complaint alleges only one       state law claims could be cognizable. Construing the
adverse action by Prudential, namely, the termination of           complaint liberally, Perrelli appears to claim that regardless
Perrelli’s benefits. Because those benefits were paid pursuant     of the termination of his benefits, his employment was
to the Prudential Welfare Benefits Plan, which expressly           terminated [*7] because of his age and disability.
states that it is governed by ERISA, Prudential argues that
Perrelli’s state law causes of action are preempted by             However, Prudential argues that those possible claims of
ERISA. Perrelli filed his memorandum in opposition to              age and disability discrimination are time barred because
Prudential’s motion to dismiss on March 3, 2008. Perrelli          the CFEPA requires Perrelli to file his CHRO charge within
argues that the termination of his benefits ″is but one of the     180 days of the discriminatory act. See Conn. Gen. Stat. §
  [*5] litany of violations ascribed to″ Prudential in the         46a-82(f). Perrelli filed his CHRO charge on April 27, 2007,
complaint. [Doc. # 22, p. 4] Prudential filed a reply on           and 180 days prior to that date was October 29, 2006. If the
March 20, 2008.                                                    discriminatory act occurred before October 29, 2006,
                                                                   Perrelli’s CFEPA claims are time barred. The complaint
″The Federal Rules of Civil Procedure require that a               does not state the date of Perrelli’s termination or
pleading contain ’a short and plain statement of the claim         Prudential’s other discriminatory acts.
showing that the pleader is entitled to relief.’ Fed. R. Civ. P.
8(a)(2). Under this simplified standard for pleading, a court      In an effort to address the 180 day requirement, Perrelli
may dismiss a complaint only if it is clear that no relief         submitted an affidavit with his memorandum in opposition
could be granted under any set of facts that could be proved       to Prudential’s motion to dismiss. Thereafter, Prudential
consistent with the allegations. . . . [The court] therefore       attached to its reply brief a letter sent to Perrelli by
must construe the complaint liberally . . . .″ McCarthy v.         Prudential’s benefit appeals specialist. Neither the affidavit
Dun & Bradstreet Corp., 482 F.3d 184, 191 (2d Cir. 2007).          nor the letter is mentioned in the complaint or attached to it.
The court ″accept[s] as true all factual statements alleged in     Accordingly, the Court cannot consider those documents in
the complaint and draw[s] all reasonable inferences in favor       ruling on the motion to dismiss. The Court must limit its
of the non-moving party. . . . In general, [the court’s] review    consideration to the facts alleged in the complaint and
is limited to the facts as asserted within the four corners of     documents that are attached to the complaint or to which the
the complaint, the documents attached to the complaint as          complaint refers.
exhibits, and any documents incorporated in the complaint
by reference.″ Id. ″To survive a motion to dismiss, a              Although [*8] the complaint does not state the date on
complaint must plead enough facts to state a claim to relief       which any discriminatory acts occurred, the complaint
that is plausible on its face.″ Ruotolo v. City of New York,       alleges that Perrelli ″has not worked for Prudential since
514 F.3d 184, 188 (2d Cir. 2008).                                  August 2006 . . . .″ [Doc. # 1, Ex. A, Complaint p. 2] A
                                                                   reasonable inference to draw from that allegation is that
Perrelli [*6] acknowledges in his memorandum in opposition         Perrelli was terminated in August 2006, more than 180 days

                                                             Page 2 of 3
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 43 of 57
                                              2008 U.S. Dist. LEXIS 70800, *8


before he filed his CHRO charge. Therefore, Perrelli’s            therefore, they are also dismissed.
CFEPA claims are time barred. Furthermore, even if Perrelli
was terminated within 180 days before filing his CHRO             Prudential’s [*9] motion to dismiss [Doc. # 16] is
charge, he has failed to allege enough facts to make his          GRANTED. The Clerk is directed to CLOSE this case.
CFEPA claims facially plausible. It is insufficient for
Perrelli to allege that he was harassed, subjected to a hostile   IT IS SO ORDERED.
work environment, and unfairly discharged for complaining
                                                                  /s/
about unspecified discrimination unless Perrelli bolsters
those assertions with concrete facts that are unrelated to the    Vanessa L. Bryant
termination of his benefits. Because Perrelli has failed to do
that, his CFEPA claims must be dismissed. Perrelli’s claims       United States District Judge
of intentional infliction of emotional distress and negligent
infliction of emotional distress appear to concern the same       Dated at Hartford, Connecticut: September 19, 2008.
insufficiently alleged conduct as the CFEPA claims, and,




                                                            Page 3 of 3
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 44 of 57

     Positive
As of: March 16, 2015 7:21 PM EDT


                                     Peters v. Sikorsky Aircraft Corp.
                                 United States District Court for the District of Connecticut
                                      August 10, 2006, Decided ; August 10, 2006, Filed
                                                  Case No. 3:04cv1066 (PCD)

Reporter
2006 U.S. Dist. LEXIS 55626; 180 L.R.R.M. 2414; 18 Am. Disabilities Cas. (BNA) 671

Edward PETERS, Plaintiff, v. SIKORSKY AIRCRAFT                      the employee failed to exhaust his state administrative
CORP., Defendant.                                                   remedies as to the layoff. As to the first recall, the employee
                                                                    did not show that he was qualified for the job as he was
Core Terms                                                          unable to operate the jitney, which was an essential job
                                                                    function. As to the second recall, the employee failed to
                                                                    submit to the required medical examination to determine if
jitney, preempted, duties, Lift, Fork, rights, collective
                                                                    he was qualified. The breach of contract claims, which were
bargaining agreement, summary judgment, restrictions,
                                                                    preempted by § 301 of the LMRA, were not filed within the
essential function, open position, fork truck, layoff,
                                                                    six month limitations period.
accommodate, state law, six-month, plaintiff’s claim, Grade,
statute of limitations, employees, recalls, hybrid, physical
                                                                    Outcome
disability, disability, seniority, alleges, terms, discrimination
                                                                    The court granted the employer’s motion for summary
claim, prima facie case, court held
                                                                    judgment.

Case Summary
                                                                    LexisNexis® Headnotes
Procedural Posture
                                                                       Civil Procedure > ... > Summary Judgment > Entitlement as
Plaintiff former employee sued defendant former employer               Matter of Law > General Overview
alleging that a layoff and two failed recalls constituted
                                                                    HN1 Fed. R. Civ. P. 56(c) provides that summary judgment
discrimination based upon a physical disability in violation
                                                                    shall be rendered forthwith if the pleadings, depositions,
of the Connecticut Fair Employment Practices Act, Conn.
                                                                    answers to interrogatories, and admission on file, together
Gen. Stat. § 46a-60, and breach of contract based on a
                                                                    with the affidavits show that there is no genuine issue as to
collective bargaining agreement with a union. The employer
                                                                    any material fact and that the moving party is entitled to
moved for summary judgment dismissing both claims. The
                                                                    judgment as a matter of law. Fed. R. Civ. P. 56(c).
employee contested the motion.
                                                                       Civil Procedure > ... > Summary Judgment > Burdens of
Overview                                                               Proof > Nonmovant Persuasion & Proof
Due to restrictions from a wrist operation, the employee               Civil Procedure > ... > Summary Judgment > Entitlement as
worked as a fork lift operator. He suffered another wrist              Matter of Law > Genuine Disputes
injury and was unable to operate a jitney vehicle used in this
                                                                       Civil Procedure > ... > Summary Judgment > Entitlement as
job. After a reduction in force, the employee was notified of          Matter of Law > Materiality of Facts
an available job in 2002, but the employer determined that
he was not qualified as the job required use of the jitney.         HN2 The mere existence of an alleged factual dispute is not,
The employer assumed that the employee was not interested           by itself, sufficient to defeat a motion for summary judgment.
in another position in 2003 as he failed to obtain a required       An adverse party must provide sufficient evidence to
medical examination or respond to five letters. The court           demonstrate that there is a genuine issue of material fact.
granted the employer’s motion. The discriminatory
employment practices claims were not preempted by § 301                Civil Procedure > ... > Summary Judgment > Entitlement as
of the Labor Management Relations Act (LMRA). However,                 Matter of Law > Materiality of Facts
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 45 of 57
                                          2006 U.S. Dist. LEXIS 55626, *55626



HN3 Only disputes over facts that might affect the outcome      the Supreme Court has held that this federal interest in
of a suit under the governing law will properly preclude the    uniform interpretation of collective bargaining agreements
entry of summary judgment.                                      may preempt certain state-law tort actions. If resolution of a
                                                                state law claim depends upon analysis of the terms of a
   Civil Procedure > Judgments > Summary Judgment >             collective bargaining agreement, then § 301 pre-empts the
   Evidentiary Considerations
                                                                claim. However, when a state law claim can be resolved
HN4 On summary judgment a court must view the facts in          without interpreting the collective bargaining agreement,
the light most favorable to the adverse party and draw all      the claim is independent of it and not preempted by § 301.
inferences in its favor.
                                                                   Labor & Employment Law > ... > Disability Discrimination >
   Civil Procedure > ... > Summary Judgment > Burdens of            Scope & Definitions > General Overview
   Proof > Nonmovant Persuasion & Proof
                                                                   Business & Corporate Compliance > ... > Discrimination >
HN5 An adverse party may not rest upon the mere                    Disability Discrimination > Federal & State Interrelationships
allegations or denials of the adverse party’s pleading, but
                                                                HN8 Under the Connecticut Fair Employment Practices Act
the adverse party’s response must set forth specific facts
showing that there is a genuine issue for trial. Fed. R. Civ.   (CFEPA), it is a discriminatory employment practice to
P. 56(e). A party may not rely on mere speculation or           refuse to hire or employ or to bar or to discharge from
conjecture as to the true nature of the facts to overcome a     employment any individual because of the individual’s
motion for summary judgment.                                    physical disability. Conn. Gen. Stat. § 46a-60(a)(1). Courts
                                                                construe disability discrimination claims brought under the
   Business & Corporate Compliance > ... > Discrimination >     CFEPA similarly to those brought under the Americans with
   Disability Discrimination > ADA Enforcement                  Disabilities Act, 42 U.S.C.S. § 12101 et seq., and Connecticut
   Labor & Employment Law > ... > Civil Actions > Exhaustion    courts review federal precedent concerning employment
   of Remedies > Filing of Charges                              discrimination for guidance in enforcing the CFEPA.
   Labor & Employment Law > ... > Civil Actions > Time
   Limitations > General Overview                                  Civil Procedure > ... > Summary Judgment > Burdens of
                                                                   Proof > Movant Persuasion & Proof
HN6 A plaintiff bringing a civil action for employment             Labor & Employment Law > ... > Evidence > Burdens of
discrimination under the Connecticut Fair Employment               Proof > Burden Shifting
Practices Act (CFEPA) must first file a ″timely complaint″
with the Connecticut Commission on Human Rights and             HN9 Courts employ the burden shifting framework of
Opportunities (CHRO) and then obtain a release from the         McDonnell Douglas Corp. v. Green in a disability
commission. Conn. Gen. Stat. §§ 46a-100, 46a-101. The           discrimination suit. A plaintiff must first demonstrate a
CFEPA states that an administrative complaint must be filed     prima facie case of discrimination, the defendant must then
within 180 days with the CHRO in order to be timely. Conn.      offer a legitimate reason for its decision, and if it does so,
Gen. Stat. §§ 46a-82 .                                          the burden shifts back to plaintiff who must demonstrate
                                                                pretext. The burden of proof that must be met to permit an
   Labor & Employment Law > Collective Bargaining & Labor       employment discrimination plaintiff to survive a summary
   Relations > Federal Preemption                               judgment motion at the prima facie stage is de minimus.

HN7 Although § 301 of the Labor Management Relations               Labor & Employment Law > ... > Disability Discrimination >
Act (LMRA) is facially a grant of jurisdiction to the federal       Evidence > General Overview
district courts, it has been construed to be a source of
substantive law as well, giving federal courts the authority    HN10 Under Connecticut law, as under the Americans with
to fashion a uniform federal common law to resolve              Disabilities Act, 42 U.S.C.S. § 12101 et seq., to establish a
disputes over collective bargaining agreements. The United      prima facie case of discrimination, a plaintiff must show
States Supreme Court has analyzed the preemptive effect of      that (1) he was a member of a protected group; (2) he was
§ 301 and stressed that uniform interpretation of collective    qualified for the job; (3) he suffered an adverse employment
bargaining agreements according to a federal body of            action; and (4) the adverse employment decision occurred
common law would allow parties to negotiate and administer      under circumstances giving rise to a reasonable inference of
these agreements with certainty and efficiency. Accordingly,    discrimination.

                                                         Page 2 of 14
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 46 of 57
                                            2006 U.S. Dist. LEXIS 55626, *55626


   Labor & Employment Law > ... > Disability Discrimination >         Labor & Employment Law > ... > Disability Discrimination >
   Scope & Definitions > Qualified Individuals With Disabilities       Reasonable Accommodations > General Overview

HN11 In order to make out his prima facie disability               HN15 A plaintiff must show an accommodation is available
discrimination case, a plaintiff must demonstrate that he is       that allows the plaintiff to perform the essential functions of
qualified for the positions at issue. In determining if a          the job by introducing evidence that such an accommodation
plaintiff is ″qualified,″ courts look to whether or not the        exists and would permit the employee to perform the job at
employee can perform the essential functions of the job.           the same level as a non-disabled employee.
Although the term ″essential functions″ is not defined in the
Americans with Disabilities Act (ADA), 42 U.S.C.S. §                  Civil Procedure > ... > Summary Judgment > Burdens of
12101 et seq., itself, the Equal Employment Opportunity               Proof > Nonmovant Persuasion & Proof
Commission defines the term in its ADA regulations to
                                                                      Labor & Employment Law > ... > Disability Discrimination >
mean the fundamental duties of the position in question, but          Scope & Definitions > Qualified Individuals With Disabilities
not functions that are merely marginal. The regulations
illustrate possible reasons a given function may be considered        Labor & Employment Law > ... > Evidence > Burdens of
                                                                      Proof > Employee Burdens of Proof
″essential.″ 29 C.F.R. § 1630.2(n). A function may be
essential because of the limited number of employees                  Labor & Employment Law > ... > Disability Discrimination >
available among whom the performance of that job function              Reasonable Accommodations > General Overview
can be distributed. 29 C.F.R. § 1630.2(n)(2)(ii). Also, a
court must give considerable deference to an employer’s            HN16 To withstand a motion for summary judgment, a
judgment regarding what functions are essential for service        plaintiff must identify a reasonable accommodation which,
in a particular position.                                          if implemented, would permit him to perform the essential
                                                                   functions of the job.
   Labor & Employment Law > ... > Disability Discrimination >
   Scope & Definitions > Qualified Individuals With Disabilities      Business & Corporate Compliance > ... > Disability
                                                                      Discrimination > Reasonable Accommodations > Interactive
HN12 A function may be essential if a limited number of               Process
employees are available to perform that function, and if the
employer actually requires employees in the position to            HN17 The Americans with Disabilities Act (ADA), 42
perform the function it claims is essential. 29 C.F.R. §           U.S.C.S. § 12101 et seq., envisions an ″interactive process,″
1630.2(n).                                                         whereby employers and employees work together to evaluate
                                                                   whether an employee’s disability can be reasonably
   Labor & Employment Law > ... > Disability Discrimination >      accommodated. Courts construing ADA claims recognize
   Scope & Definitions > Qualified Individuals With Disabilities   that medical inquiries may be necessary where an employer
                                                                   has genuine reason to doubt whether that employee can
HN13 Employers formulate jobs to fit the needs of their            perform job-related functions.
enterprises and the essential character of a particular job
qualification is therefore a matter of judgment and opinion.          Labor & Employment Law > Collective Bargaining & Labor
                                                                      Relations > Federal Preemption
   Labor & Employment Law > ... > Disability Discrimination >
   Scope & Definitions > Qualified Individuals With Disabilities   HN18 When a court must construe and interpret the terms
                                                                   and provisions of a collective bargaining agreement to
   Labor & Employment Law > ... > Disability Discrimination >
                                                                   decide a plaintiff’s breach of contract claim, it is well settled
    Reasonable Accommodations > General Overview
                                                                   that federal labor law preempts the state law claim. Questions
HN14 The Connecticut Fair Employment Practices Act,                relating to what the parties to a labor agreement agreed, and
Conn. Gen. Stat. § 46a-60, has been interpreted to require an      what legal consequences were intended to flow from
employer to reasonably accommodate disabled employees.             breaches of that agreement, must be resolved by reference to
However, it is well established that a reasonable                  uniform federal law.
accommodation can never involve the elimination of an
                                                                      Governments > Legislation > Statute of Limitations > Time
essential function of a job.
                                                                      Limitations
   Labor & Employment Law > ... > Disability Discrimination >         Labor & Employment Law > Collective Bargaining & Labor
   Scope & Definitions > Qualified Individuals With Disabilities      Relations > Enforcement of Bargaining Agreements

                                                            Page 3 of 14
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 47 of 57
                                           2006 U.S. Dist. LEXIS 55626, *55626


HN19 A six-month statute of limitations applies to hybrid        Schwartz, Southport, CT; Peter Harvey, Orange, CT.
claims brought under § 301 of the Labor Management
Relations Act. A hybrid claim is one in which an employee        For Sikorsky Aircraft Corp, Defendant: Albert Zakarian,
has a cause of action against both the employer and the          Day, Berry & Howard, Hartford, CT; Douglas W. Bartinik,
union, where the two claims are inextricably linked, and         Robert C. McNamee, Day, Berry & Howard-Htfd-CT,
where the case to be proved is the same against both.            Hartford, CT.
Because there is no federal statute of limitations that
expressly applies to such hybrid claims, the appropriate         Judges: Peter C. Dorsey, United States District Judge.
statute of limitations is the six-month time period provided
under § 10(b) of the National Labor Relations Act, 29            Opinion by: Peter C. Dorsey
U.S.C.S. § 160(b).

   Governments > Legislation > Statute of Limitations > Time     Opinion
   Limitations
   Labor & Employment Law > Collective Bargaining & Labor
                                                                 RULING ON DEFENDANT’S MOTION FOR
   Relations > Enforcement of Bargaining Agreements              SUMMARY JUDGMENT Plaintiff Edward Peters
                                                                 (″Peters″) brings this action alleging discrimination based
HN20 The United States Court of Appeals for the Second           upon a physical disability (Count I) and breach of contract
Circuit has concluded that a hybrid claim is presented if a      (Count II). Defendant Sikorsky Aircraft Corp. (″Sikorsky″)
plaintiff, in addition to suing the employer, can also bring a   moves for summary judgment on both counts of Plaintiff’s
cause of action against a union for breach of the duty of fair   Amended Complaint [Doc. No. 35]. For the reasons set
representation (regardless of whether or not the plaintiff       forth herein, Defendant’s Motion for Summary Judgment
actually does bring the union action). A plaintiff cannot        [Doc. No. 37-1] is granted.
circumvent the six-month limitations period for hybrid
actions by choosing to sue only his employer. What makes         I. BACKGROUND
a case a ″hybrid″ action against both union and employer is
the nature of the claim, not the identity of the parties. A      Defendant Sikorsky designs, manufactures and overhauls
six-month statute of limitations applies to an action for        helicopters. Its main manufacturing plant is located in
breach of contract brought against the employer only.            Stratford, Connecticut and it also maintains smaller
                                                                 Connecticut facilities in Bridgeport and Shelton. Sikorsky
   Governments > Legislation > Statute of Limitations > Time     employed Plaintiff from 1988 until his layoff on January 12,
   Limitations                                                   2001. Plaintiff primarily worked in the larger Stratford
   Labor & Employment Law > Collective Bargaining & Labor
                                                                 facility, but he also [*2] worked for short periods of time at
   Relations > Enforcement of Bargaining Agreements              its smaller Bridgeport and Shelton locations. Plaintiff was a
                                                                 member of the Teamsters Union, Local 1150 (the ″Union″)
HN21 The United States Court of Appeals for the Second           while he was employed at Sikorsky. A collective bargaining
Circuit has held that the mere presence of an arbitration        agreement (″CBA″) between Sikorsky and the Union set
clause in a collective bargaining agreement is enough to         forth, among other things, the rules that Sikorsky must
make an employee’s claim a hybrid one and subject it to the      follow when laying off and recalling employees. Employees
six-month statute of limitations.                                are laid off and recalled by their non-interchangeable
                                                                 occupational groups in accordance with seniority. This
   Governments > Legislation > Statute of Limitations > Time     process, and the definitions and parameters of these terms,
   Limitations                                                   are contained in the CBA, Article VIII, Sections 8.1-8.24
   Labor & Employment Law > Collective Bargaining & Labor        and Appendix A.
   Relations > Enforcement of Bargaining Agreements
                                                                 Plaintiff began his employment at Sikorsky in 1988 as a
HN22 The six-month limitations period begins to run when         Riveter/ Assembler. After Plaintiff underwent surgery to his
a plaintiff discovers, or should have discovered, those acts     right wrist in 1991, his doctor gave him permanent medical
that constitute an alleged violation of the collective           restrictions that prohibited him from riveting and lock
bargaining agreement.                                            bolting. Sikorsky attempted to find Plaintiff another position
                                                                 that would accommodate his restrictions and eventually,
Counsel: [*1] For Edward Peters, Plaintiff: Alexander H.         Sikorsky found Plaintiff a Labor Grade 9 Fork Lift Operator

                                                          Page 4 of 14
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 48 of 57
                                                  2006 U.S. Dist. LEXIS 55626, *2



position on the first shift in its Bridgeport facility. Later, he      board maintenance duties, and fork lift work. Some of these
received a promotion to a Labor Grade 8 Fork Lift Operator             duties are light duty. During these temporary assignments,
position in the main Stratford plant. As [*3] a Labor Grade            Sikorsky maintained Plaintiff’s title, hourly pay and labor
8 Fork Lift Operator, Plaintiff was responsible for moving             grade of Fork Lift Operator.
material using two machines: a jitney vehicle (also called a
″power ox″) and a fork truck (also called a ″fork lift″). 1 A          On January 12, 2001, Sikorsky conducted a reduction in
Grade 8 Fork Lift Operator would also have to load and                 force that affected the Plaintiff’s occupational group. As a
unload the wagon pulled by the jitney vehicle and could be             result, Plaintiff and four other employees in transportation
assigned other duties. In the Grade 8 position, Plaintiff              were laid off. The CBA provided employees laid off for lack
estimated that he used the jitney vehicle 30% of the time,             of work with [*6] certain recall rights based upon their
and the fork truck 70% of the time, until a second injury in           seniority. When a position becomes available for recall, the
1996.                                                                  Sikorsky human resources department contacts the most
                                                                       senior employee laid off in that occupational group. If the
In 1996, Plaintiff’s second injury [*4] to his right wrist             laid off employee is interested in the position, he or she
meant that he could no longer physically drive the jitney              must complete pre-employment processing (including a
vehicle. Plaintiff’s physician, Dr. Zaretsky, assessed a               medical exam, drug test and background check). Sikorsky
permanent disability rating for his right wrist of 27% and             had an opening in one of the two Fork Lift Operator
ordered that Plaintiff stop driving the jitney vehicle.                positions in its smaller
Sikorsky’s Medical Department concurred with Dr.
Zaretsky’s order and Plaintiff never drove the jitney vehicle          Bridgeport facility in early 2002. The other Fork Lift
after 1996. In 1997, Sikorsky issued Plaintiff a revised               Operator position was held by a work leader that had more
Medical Placement Report (″1997 MPL″) at Dr. Zaretsky’s                seniority and was two labor grades more advanced than
request detailing his restrictions. 2 Plaintiff testified that         Plaintiff. On February 14, 2002, the Human Resources
these medical restrictions have not changed since 1997.                Department notified Plaintiff of this open position.
After 1996, Plaintiff sought and was given a significant
                                                                       On February 26, 2002, Plaintiff attended his pre-employment
amount of family leave. Plaintiff also took time off from
                                                                       processing at Sikorsky. He continued to have the same
work because of wrist pain. Plaintiff used [*5] only a fork
                                                                       restrictions set out in the 1997 MPR (including an inability
truck, and not a jitney vehicle, from 1996 until 1998 to
                                                                       to drive jitney vehicles). Plaintiff assumed that the duties of
perform his duties as a Fork Lift Operator. The large
                                                                       the Bridgeport position were the same as the duties of the
Stratford facility had six other Fork Lift Operators on the
                                                                       Fork Lift position Sikorsky had been able to modify to
first shift at this time.
                                                                       accommodate his restrictions four years earlier in Stratford.
In 1998, Plaintiff asked for a shift change to the smaller             However, after learning about Plaintiff’s continued [*7]
second shift to reduce his absences for family reasons.                inability to use a jitney vehicle, Sikorsky notified him that
Sikorsky tried to grant Plaintiff’s requests by offering a             he would not be called back because the position required
number of temporary light duty jobs on the second shift that           someone to operate both the jitney vehicle and the fork
satisfied his medical restrictions. Plaintiff performed various        truck. 3 Sikorsky then filled the position with the next most
duties in all three of Defendant’s Connecticut facilities              senior person on layoff status.
during 1998, 1999 and 2000, including: placing nuts and
bolts in UR bins, performing some crib attendant duties and            As a result of the failed recall in 2002, Plaintiff filed a claim
kitting assembler jobs in both Stratford and Shelton, panel            with the Connecticut Commission on Human Rights and

1
    During the time that Plaintiff worked as a Labor Grade 9 Fork Lift Operator in the Bridgeport facility, he used only the jitney vehicle.
The jitney vehicle pulls a wagon and delivers small parts and packages. It is operated by manipulating handgrips that must be pressed
to start, steer and stop the vehicle. The fork truck is primarily used to move material on wooden pallets. In contrast to a jitney vehicle,
the fork truck has a wheel for steering and levers to raise and lower the boom.
2
     The restrictions in the 1997 MPL are as follows: (i) minimal use of right hand with minimum grasping, (ii) no lifting over 10 pounds,
(iii) no riveting or lock bolting, (iv) no repetitive gripping or grasping, and (v) no duties driving jitney vehicles (power oxs).
3
   Plaintiff’s ″denial″ in his 56(a)(2) at P 53 is not credited, because it does not deny Defendant’s assertion that these were the reasons
given for refusing to assign Peters to the 2002 open position. (See Am. Compl. at P 7.) To the extent that Plaintiff denies Defendant’s
assertion that jitney vehicle duties were essential for the open position, see discussion infra Part III.A.2.ii.

                                                                Page 5 of 14
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 49 of 57
                                                   2006 U.S. Dist. LEXIS 55626, *7



Opportunities (″CHRO″) on September 3, 2002, claiming                   on the basis of disability by not placing him in the Shelton
discrimination on the basis of disability.                              position in 2003.

In May 2003, another open Fork Lift Operator position                   Plaintiff filed his Amended Complaint (″Am. Compl.″) with
became available in Sikorsky’s Shelton facility on the                  this Court on June 16, 2005. Peters alleges that the layoff
second shift. The position [*8] included operating a fork               and two failed recalls constitute discriminatory employment
truck some of the time, going out into the yard to get parts,           practices based upon a physical disability in violation of
operating a scrubber, using hand tools, and other odd jobs.             Conn. Gen. Statute § 46a-60 (Count I). He also alleges that
The scrubber had hand controls like a jitney that required an           these events constitute [*11] a breach of the CBA between
operator to use his or her wrists to operate it. Supervision for        Sikorsky and his Union (Count II).
this open Shelton position was concerned that the restrictions
in Plaintiff’s 1997 MPR would prevent him from performing               II. STANDARD OF REVIEW
the job duties of the position. 4
                                                                        HN1 Rule 56(c) provides that summary judgment ″shall be
Nevertheless, Sikorsky contacted Plaintiff about this open              rendered forthwith if the pleadings, depositions, answers to
position and he came in for a pre-employment medical                    interrogatories, and admission on file, together with the
screening on May 23, 2003. Dr. Mongillo, one of                         affidavits . . . show that there is no genuine issue as to any
Defendant’s parttime physicians, examined him. At the                   material fact and that the moving party is entitled to
examination, Plaintiff wore a splint on his right hand and              judgment as a matter of law.″ Fed. R. Civ. P. 56(c). HN2
complained of pain, including parethesias (numbness),                   The mere existence of an alleged factual dispute is not, by
tingling, and pain in the arm. Dr. Mongillo was concerned               itself, sufficient to defeat a motion for summary judgment.
that a doctor had [*9] not seen Plaintiff since 2001. Thus, he          Anderson v. Liberty Lobby, Inc. 477 U.S. 242, 247-48, 106
recommended that Plaintiff see Dr. Watson, a hand specialist,           S. Ct. 2505, 91 L. Ed. 2d 202 (1986). The adverse party
to get an objective diagnosis of Plaintiff’s condition,                 must provide sufficient evidence to demonstrate that there is
comment on therapy, and give an opinion as to what                      a genuine issue of material fact. See id. at 248-49. HN3
Plaintiff’s medical restrictions should be. Dr. Mongillo told           ″Only disputes over facts that might affect the outcome of
Plaintiff that Sikorsky would pay for the examination and               the suit under the governing law will properly preclude the
that he must see a hand specialist for an evaluation. While             entry of summary judgment.″ Id. at 248. HN4 The court
he recommended Dr. Watson, he later told the Plaintiff that             must view the facts in the light most favorable to the
he could see another doctor for the evaluation, provided the            adverse party and draw all inferences in its favor. See
doctor was a hand specialist. In addition to Plaintiff’s                Aldrich v. Randolph Cent. Sch. Dist., 963 F.2d 520, 523 (2d
conversation with Dr. Mongillo, the Sikorsky Medical                    Cir. 1992). [*12] However,HN5 ″an adverse party may not
Department and the Sikorsky Human Resources Department                  rest upon the mere allegations or denials of the adverse
sent, and Plaintiff received, five letters trying to schedule an        party’s pleading, but the adverse party’s response . . . must
appointment for a hand specialist. 5 Plaintiff did not answer           set forth specific facts showing that there is a genuine issue
the letters and he did not see a hand specialist. 6 As a result,        for trial.″ Fed. R. Civ. P. 56(e). A party may not ″rely on
Sikorsky did not make a further determination as to                     mere speculation or conjecture as to the true nature of the
Plaintiff’s restrictions or his ability to perform the job at the       facts to overcome a motion for summary judgment.″ Knight
Shelton plant. Pursuant to the last letter (dated November              v. U.S. Fire Ins. Co., 804 F.2d 9, 12 (2d Cir. 1986).
20, 2003), Plaintiff’s lack of response by December 4, 2003
led Sikorsky to presume that he had chosen not to pursue                III. DISCUSSION
any further employment with Sikorsky. [*10] On December
4, 2003, Plaintiff amended his complaint at the CHRO to                 Defendant argues in its briefs that both Counts I and II are
include allegations that Sikorsky discriminated against him             preempted by the Labor Management Relations Act

4
   Plaintiff’s response to Defendant’s factual assertions in its 56(a)(1) Statement at 60 is not responsive to the facts asserted therein. See
discussion infra Part III.A.2.ii.
5
    The letters were dated May 30, 2003, July 23, 2003, August 13, 2003, August 28, 2003 and November 20, 2003.
6
   Plaintiff’s denial of Defendant’s factual assertion in its 56(a)(1) Statement at P 75 is not responsive to the facts asserted therein,
because P 75 simply quotes Peters’ deposition testimony. However, the Court credits additional facts that Plaintiff alleges in his 56(a)(2)
Statement at P 75, adequately supported by citations to the record.

                                                                 Page 6 of 14
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 50 of 57
                                                  2006 U.S. Dist. LEXIS 55626, *12



(″LMRA″) because they require analysis of, and are                     respect to the January 2001 layoff. 7 See Sullivan v. Board
dependent on, a collective bargaining agreement. As                    of Police Comm’rs, 196 Conn. 208, 215-16, 491 A.2d 1096
explained below, Count I for discriminatory employment                 (1985) (holding that plaintiff’s failure to follow
practices is not preempted by the LMRA, but summary                    administrative route set in the Connecticut statute gives
judgment is granted to Defendants on other grounds. Count              plaintiff no authority to pursue his claim in civil court).
II for breach of the CBA is preempted by the LMRA,                     Consequently, Plaintiff’s claim under Conn. Gen. Stat. §
subject to a six-month statute of limitations, and since the           46a-60 regarding his January 2001 layoff is dismissed and
action was not filed within six months, summary judgment               summary judgment is granted to the Defendants as to this
is granted to Defendants as to Count II.                               claim.

A. Count I: Discriminatory Employment Practices In                      [*15] 2. The 2002 and 2003 Recalls
Plaintiff’s Am. Compl. [*13] , he identifies three separate
                                                                       i. LMRA Pre-emption
incidents of alleged discrimination based on his physical
disability: the January 2001 layoff, the February 2002 failed          Defendant argues that Plaintiff’s state law disability
recall (″2002 Recall″), and the May 2003 failed recall                 discrimination claim based upon the two recalls is preempted
(″2003 Recall″). Each of these events will be treated                  by § 301 of the LMRA. Defendant maintains that the claims
separately.                                                            are founded upon recall rights created by the CBA, and the
                                                                       Court will have to interpret the terms of the CBA to resolve
1. The January 2001 Layoff
                                                                       these claims. The Court disagrees.

In Count I, Plaintiff alleges that his layoff in January 2001          HN7 Although § 301 of the LMRA is facially a grant of
″was prompted by the physical disability of the plaintiff″             jurisdiction to the federal district courts, it has been construed
and this layoff constitutes a discriminatory employment                to be a source of substantive law as well, giving federal
practice in violation of Conn. Gen. Statute § 46a-60. It is            courts the authority to fashion a uniform federal common
unnecessary for the court to consider Defendant’s LMRA                 law to resolve disputes over collective bargaining
preemption argument with respect to Count I and the 2001               agreements. See Textile Workers v. Lincoln Mills, 353 U.S.
layoff, because the Plaintiff failed to exhaust his state              448, 456, 77 S. Ct. 912, 1 L. Ed. 2d 972 (1957); Teamsters
administrative remedies under the Connecticut Fair                     v. Lucas Flour Co., 369 U.S. 95, 103-104, 82 S. Ct. 571, 7
Employment Practices Act (″CFEPA″).                                    L. Ed. 2d 593 (1962). In Lucas Flour, the Supreme Court
                                                                       analyzed the preemptive effect of § 301 and stressed that
HN6 A plaintiff bringing a civil action for employment
                                                                       uniform interpretation of collective bargaining agreements
discrimination under the CFEPA must first file a ″timely
                                                                       according to a federal body of common law would allow
complaint″ with the CHRO and then obtain a release from
                                                                       parties to negotiate and administer these agreements with
the commission. Conn. Gen. Stat. § 46a-100, 46a-101. The
                                                                       certainty [*16] and efficiency. Id.
CFEPA states that an administrative complaint must be filed
within 180 days with the CHRO in order to be timely. Conn.             Accordingly, the Supreme Court has held that this federal
Gen. Stat. §§ 46a-82 [*14] .                                           interest in uniform interpretation of collective bargaining
                                                                       agreements may preempt certain state-law tort actions.
However, Plaintiff was laid off on January 12, 2001 and did            Allis-Chalmers Corp. v. Lueck, 471 U.S. 202, 210-11, 105
not file a claim with the CHRO until September 3, 2002,                S. Ct. 1904, 85 L. Ed. 2d 206 (1985) (″Any other result
almost twenty months later. The administrative complaint is            would elevate form over substance and allow parties to
certainly not ″timely″ under the requirements of the CFEPA,            evade the requirements of § 301 by relabeling their contract
and therefore, the Plaintiff did not exhaust his state                 claims as claims for tortious breach of contract.″). If
administrative remedies, as set by the legislature, with               resolution of a state law claim depends upon analysis of the

7
    Plaintiff appears to misconstrue Defendant’s arguments regarding the exhaustion of state administrative remedies. Plaintiff writes that
″since the plaintiff admits that his second count is governed exclusively by the LMRA, defendant’s contention that plaintiff has failed
to exhaust his state administrative remedies becomes irrelevant, as such state administrative procedures are only a prerequisite to a suit
under the CFEPA.″ (Pl.’s Opp., Section II.B.) However, Defendant actually argues that Plaintiff’s failure to exhaust his administrative
remedies is applicable to Count I, the state law discrimination claim. (Def.’s Memo, Section II.C.) The exhaustion of state administrative
remedies is clearly relevant for the purposes of the state law claim of employment discrimination (Count I). Therefore, Plaintiff implicitly
concedes that the 180 day administrative requirement is a prerequisite to filing a CFEPA suit in civil court here.

                                                                Page 7 of 14
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 51 of 57
                                                 2006 U.S. Dist. LEXIS 55626, *16



terms of a collective bargaining agreement, then § 301                the underlying duty to recall arises from the CBA. However,
pre-empts the claim. Id. at 220. 8 However, when a state law          the Court believes that Plaintiff’s discrimination claim
claim can be resolved without interpreting the collective             concerns rights and duties that exist independently of the
bargaining agreement, the claim is independent of it and not          CBA. In this regard, Plaintiff’s argument is more persuasive.
preempted by § 301. See Lingle v. Norge Div. of Magic                 Sikorsky has indeed ″attempted to conflate the issue of
Chef, Inc., 486 U.S. 399, 409-410, 108 S. Ct. 1877, 100 L.            whether the Plaintiff was entitled [*19] to be recalled[,]
Ed. 2d 410 (1988).                                                    which may implicate the [CBA],″ with the question of
                                                                      whether the Plaintiff has a right not to be denied a position
 [*17] Defendant maintains that the right to recall is created
                                                                      based upon a physical disability, which may constitute
by, and completely dependent upon the CBA. Defendant
                                                                      discrimination as it and does not implicate, but arises apart
argues that any claim based upon the recall is therefore
preempted. In support of this assertion, Defendant cites a            from, the CBA. (Pl.’s Opp., Section II.B.)
number of cases where claims were preempted because the
                                                                      The caselaw Defendant cites concerns mostly state law tort
right or duty a plaintiff sought to be enforced was derived
                                                                      claims that are essentially a claim for contract breach, and
from a collective bargaining agreement. For example, in
Allis-Chalmers Corp., a state tort suit for bad faith failure to      where the defendants would have no duty to refrain from
pay benefits was preempted because the implied covenant               their allegedly wrongful conduct absent the CBA. Although
of good faith and fair dealing, contained in all contracts,           Zimmer seems to suggest that all claims based upon recall
established the duties and rights at issue. 471 U.S. at               rights in a CBA are preempted, the Sixth Circuit’s holding
216-17. Likewise, in United Steelworkers of America v.                is inapposite here. The claims in Zimmer alleged a breach of
Rawson, a state tort claim that a union negligently failed to         a duty of care concerning the processing of the employee’s
inspect a mine pursuant to a collective bargaining agreement          recall interest form, and certainly, no such independent duty
provision was also held to be preempted, because the                  of care exists aside from the CBA. 947 F. Supp. at 306-307.
union’s duty to inspect did not exist independently of the            However, duties and obligations regarding alleged
agreement. 495 U.S. 362, 371, 110 S. Ct. 1904, 109 L. Ed.             discrimination do exist independently from the CBA, and
2d 362 (1990). This Court held that a claim for negligent             these are based on state law. In Petrucelli, this Court held
infliction of emotional distress is preempted where the               preemption was appropriate for a claim of intentional
collective bargaining agreement set the duty owed to                  infliction of emotional distress, noting that ″plaintiff has not
plaintiff. Almonte v. Coca-Cola Bottling Co., 959 F. Supp.             [*20] alleged any specific actions whose prohibition [have]
569, 576-77 (D. Conn. 1997). [*18] In the context of recall           an independent basis in state law.″ 1996 U.S. Dist. LEXIS
rights contained in collective bargaining agreements,                 22498 at *15. Peters, on the other hand, alleges actions that
Defendant cites Zimmer v. AT&T, 947 F. Supp. 302 (E.D.                are prohibited by the state law of Connecticut and this
Mich. 1994), aff’d mem., 78 F.3d 585 (6th Cir. 1996)                  claim, although related to the right to recall found in the
(holding that tort claims alleging breach of a duty of care           CBA, is sufficiently independent of the CBA to avoid
concerning the processing of an employee’s recall interest            preemption.
form were preempted). Defendant also cites a decision
                                                                      Additionally, Defendant argues that resolution of Plaintiff’s
where this Court held that an employee’s claims for
                                                                      discrimination claims will not simply require reference to
violations of his recall and seniority rights under a collective
                                                                      the CBA, but its analysis and interpretation does and
bargaining agreement were preempted, because the
                                                                      therefore, this claim should be preempted. Defendant cites a
prohibition of the defendant’s actions was governed by the
                                                                      First Circuit case, Fant v. New Eng. Power Serv. Co., 239
agreement. Petrucelli v. Cytec Indus., No. 3:95-cv-1055
                                                                      F.3d 8, 15-16 (1st Cir. 2001), where a state law claim for
(AHN), 1996 U.S. Dist. LEXIS 22498 at *15 (D. Conn.
                                                                      discrimination was preempted because the conduct at issue
1996).
                                                                      constituted a breach of duty under the CBA and resolution
As the caselaw cited above demonstrates, a claim alleging a           of the dispute hinged upon interpretation of the CBA.
failure to recall pursuant to a CBA may be preempted where            Similarly, this Court held that claims of fraud and intentional

8
    As this Court has noted, the Supreme Court has articulated multiple standards to decide if a state law claim is preempted by § 301.
Preemption is necessary for ″claims that are ’founded directly on the rights created by collective bargaining agreements,’ claims that
’require[] the interpretation of a collective bargaining agreement,’ claims that are ’substantially dependent on analysis of a collective
bargaining agreement,’ claims that are ’inextricably intertwined with consideration of the terms of the labor contract,’ and claims that
assert rights ’derived from the contract.’″ Williams v. Comcast Cablevision of New Haven, Inc., 322 F. Supp. 2d 177, 182 (D. Conn.
2004) (internal citations omitted).

                                                               Page 8 of 14
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 52 of 57
                                                2006 U.S. Dist. LEXIS 55626, *20



infliction of emotional distress were preempted because              preemption was inappropriate. 486 U.S. at 414. In Smolarek
resolution of the claims required interpretation of a collective     v. Chrysler Corp., 879 F.2d 1326, 1335 (6th Cir. 1989), the
bargaining agreement’s terms regarding negotiations and              court held that because resolution of claims for retaliatory
modifications to that agreement. Dittman v. GMC-Delco                discharge and handicap discrimination would not necessitate
Chassis Div., 941 F. Supp. 284, 289 (D. Conn. 1996), [*21]           interpretation of a collective bargaining agreement, these
aff’d mem., 116 F.3d 465 (2d Cir. 1997).                             claims were not preempted. Although these cases do not
                                                                     involve rights to recall specifically, they do apply to claims
However, as demonstrated infra in Section III.A.2.ii,                that an employer discriminated on the basis of a disability.
resolution of Plaintiff’s physical disability discrimination         Thus, they are persuasive where a claim is founded upon
claim does not require analysis and interpretation of the            independent state rights which do not require interpretation
CBA. While Defendant is correct in pointing out that the             of a CBA. 10 A similar conclusion can be found in the
CBA contains various provisions regarding layoffs, recalls           Second Circuit’s Wynn decision. In that case, a plaintiff’s
and seniority, the Court is unaware of any specific terms or         misrepresentation claim was not preempted by § 301, even
provisions that govern the actual recall procedure after the         when it was based upon rights to employee benefits and
initial notification of an open position. 9 Instead, our inquiry     recall found in the collective bargaining agreement. Wynn,
is a fact-bound analysis and will not require interpretation of      273 F.3d at 159. The court noted that ″reference to the CBA
the CBA.                                                             may be needed, but . . . state law -- not the CBA -- is the
                                                                     source of the rights asserted by plaintiffs: the right to [*24]
 [*22] In Count I, the Plaintiff is not arguing that Defendant       be free of economic harm caused by misrepresentation.″ Id.
interfered with rights stemming from the CBA. Instead,
Plaintiff claims Defendant violated an independent right              [*25] Furthermore, application of state law to Count I will
under the CFEPA to be free from employment discrimination.           not implicate the policy interests of the Supreme Court in
The Court is not aware of instructive caselaw in this                promulgating a uniform federal labor law. In Allis-Chalmers
jurisdiction where, as here, a Plaintiff alleges employment          Corp., although the Court held that the tort claims were
discrimination in the context of a recall. The difficulty is         preempted by § 301, it also noted that ″in extending the
that, without the right to recall in the CBA, Plaintiff’s state      pre-emptive effect of § 301 beyond suits for breach of
law rights against employment discrimination could not be            contract, it would be inconsistent with congressional intent
exercised at all. Additionally, ″the boundary between claims         under that section to pre-empt state rules that proscribe
requiring ’interpretation’ of a CBA and ones that merely             conduct, or establish rights and obligations, independent of
require such an agreement to be ’consulted’ is elusive.″             a labor contract.″ 471 U.S. at 212. Where a plaintiff’s age
Wynn v. AC Rochester, 273 F.3d 153, 158 (2d Cir. 2001).              discrimination claims arose under New York state laws, one
This line is even more elusive where the rights to recall are        court held that ″it cannot be said that such a claim is, in
found in the CBA, but a plaintiff’s claims are based upon            reality, one under § 301 of the LMRA.″ Intern’l Assoc. of
state anti-discrimination statutes.                                  Machinists & Aerospace Workers v. Gen. Elec. Co., 713 F.
The Court concludes that Plaintiff’s state law discrimination        Supp. 547, 554 (N.D.N.Y. 1989). The court’s ruling was
claim is sufficiently independent of the CBA to avoid                consistent with the federal interest in a uniform labor law
preemption. The cases cited in Plaintiff’s Opposition, mostly        policy, because it did not involve the breach of a duty
from the Sixth Circuit, are instructive. Plaintiff relies upon       stemming from a CBA, and ″the heart of the plaintiff’s
Lingle, which held that [*23] since plaintiff’s retaliatory          claims against [GE] arise under the laws of the State of New
discharge claim did not require interpretation of the CBA,           York and are not generally of the sort which may be

9
    It would be a different situation if the CBA set forth the process whereby an employee notified of an open recall position could be
denied, or if it outlined the decision-making process to be followed when making job reassignments. Cf. Zimmer, 947 F. Supp. 302 at
306-307 (noting that the CBA contained terms that required the employer to present the employee with a ″complete termination packet″
including a recall interest form, and tort claims based upon a failure to follow this process were preempted).
10
      Additionally, the Sixth Circuit applied a Lingle analysis to state handicap discrimination claims and followed Smolarek in O’Shea
v. The Detroit News, 887 F.2d 683, 687 (6th Cir. 1989) (holding that despite an employer’s possible defenses (based on a CBA) about
its right to make a certain employment decision, ″the point is that Michigan employees have the right not to be discriminated against
on the basis of age or handicap without regard to the collective bargaining agreement’s language about an employee’s rights″); see also
Welch v. General Motors Corp., 922 F.2d 287, 290 (6th Cir. 1990) (affirming the district court’s ruling that even where a CBA provides
a remedy for discrimination, independent state statutory rights could be asserted because ″the right to be free from handicapped
discrimination was created by the [Michigan Handicapper’s Civil Rights Act] and not solely by the collective bargaining agreement″).

                                                              Page 9 of 14
          Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 53 of 57
                                              2006 U.S. Dist. LEXIS 55626, *25


negotiated [*26] away at a bargaining table.″ Id. at 554-55.      evidence sufficient to create a genuine issue of material fact
Plaintiff’s claim of physical disability discrimination is        to survive summary judgment on Count I. Specifically,
similarly an assertion of state law rights, which arise           Plaintiff cannot prove the second element of his prima facie
independent of the CBA and will not implicate federal labor       case, that he was qualified for the open recall positions, with
law policy.                                                       or without reasonable accommodations.

With regard to the two failed recalls, Plaintiff’s Count I        1. 2002 Recall
claim that Sikorsky’s employment practices constituted
discrimination is not preempted by § 301 of the LMRA.             HN11 In order to make out his prima facie discrimination
                                                                  case, Plaintiff must demonstrate that he is qualified for the
ii. Discriminatory Employment Practices Claim                     positions at issue. E.g., Shaw, 137 F. Supp. 2d at 64-65. In
                                                                  determining if a plaintiff is ″qualified,″ courts look to
HN8 Under the CFEPA, it is a discriminatory employment            whether or not the employee can perform the essential
practice ″to refuse to hire or employ or to bar or to discharge   functions of the job. Shannon v. N.Y. City Transit Auth., 332
from employment any individual . . . because of the               F.3d 95, 99-100 (2d Cir. 2003); Mitchell v. Washingtonville
individual’s . . . physical disability.″ Conn. Gen. Stat. §       Cent. Sch. Dist., 190 F.3d 1, 6 (2d Cir. 1999). Although the
46a-60(a)(1). Courts construe disability discrimination claims    term ″essential functions″ is not defined in the ADA itself,
brought under the CFEPA similarly to those brought under            [*29] the Equal Employment Opportunity Commission
the Americans with Disabilities Act (″ADA″), 42 U.S.C. §          (″EEOC″) defines the term in its ADA regulations to mean
12101 et seq., and the Connecticut courts review federal          ″the fundamental duties of the position in question, but not
precedent concerning employment discrimination for                functions that are merely marginal.″ Mitchell, 190 F.3d at 8
guidance in enforcing the CFEPA. Worster v. Carlson               (internal citation omitted); see also Shannon, 332 F.3d at
Wagon Lit Travel, Inc. 353 F. Supp. 2d 257, 267 (D. Conn.         100. The regulations illustrate possible reasons a given
2005); Levy v. Commission on Human Rights &                       function may be considered ″essential.″ 29 C.F.R. §
Opportunities, 236 Conn. 96, 671 A.2d 349, 355 (Conn.             1630.2(n). Specifically applicable to Defendant’s proffered
1996). [*27] HN9 Courts employ the burden shifting                evidence, ″the function may be essential because of the
framework of McDonnell Douglas Corp. v. Green, 411 U.S.           limited number of employees available among whom the
792, 93 S. Ct. 1817, 36 L. Ed. 2d 668 (1973). See Hill v.         performance of that job function can be distributed.″ Id. §
Pfizer, Inc., 266 F. Supp. 2d 352, 359 (D. Conn. 2003)            1630.2(n)(2)(ii). Also, a court must give ″considerable
(explaining that a plaintiff must first demonstrate a prima       deference to an employer’s judgment regarding what
facie case of discrimination, the defendant must then offer a     functions are essential for service in a particular position.″
legitimate reason for its decision, and if it does so, the        Shannon, 332 F.3d at 100 (internal quotations and citations
burden shifts back to plaintiff who must demonstrate              omitted); see also Cheatwood v. Roanoke Indus., 891 F.
pretext); see also Levy, 671 A.2d at 357-58 (same). ″The          Supp. 1528, 1537 (N.D. Ala. 1995).
burden of proof that must be met to permit an employment
discrimination plaintiff to survive a summary judgment            With respect to the 2002 Recall, Defendant offers evidence
motion at the prima facie stage is de minimus.″ Hill, 266 F.      to show that operating the jitney vehicle was an essential
Supp. 2d at 359. HN10 Under Connecticut law, as under the         function of the open position in the Bridgeport [*30]
ADA, to establish a prima facie case of discrimination,           facility. Plaintiff admitted in his deposition that, as a Labor
Plaintiff must show that (1) he was a member of a protected       Grade 9 Forklift Operator, he and others used only the jitney
group; (2) he was qualified for the job; (3) he suffered an       vehicle. Once he was promoted to Labor Grade 8, he began
adverse employment action; and (4) the adverse employment         using the fork truck also. He also admitted that until his
decision occurred under circumstances giving rise to a            1996 injury, he used the jitney vehicle 30% of the time, and
reasonable inference of discrimination. Shaw v. Greenwich         the fork truck 70% of the time. Furthermore, Scott Katchmar,
Anesthesiology Assocs. P.C., 137 F. Supp. 2d 48, 64-65 (D.        a supervisor in the transportation department in 2002, states
Conn. 2001); [*28] Curry v. Goodman, CV020817767S,                in his affidavit that an individual filling the open position in
2004 Conn. Super. LEXIS 3481 at *14-15 (Conn. Super. Ct.          Bridgeport in 2002 had to operate both the jitney vehicle
2004).                                                            and the fork truck. This is because the Bridgeport facility
                                                                  had only one other Fork Lift Operator besides the position
The Court finds that Defendant’s evidence is sufficient to        to be filled. The existing Operator was a working leader
defeat Plaintiff’s prima facie case with regard to both failed    with more seniority than Peters, and he was in a better labor
recalls. The Plaintiff has not met his burden of demonstrating    grade. Plaintiff worked as a Fork Lift Operator and only

                                                          Page 10 of 14
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 54 of 57
                                                 2006 U.S. Dist. LEXIS 55626, *30



used a fork truck in the Stratford plant between 1996 and              an issue of fact as to whether using a jitney vehicle was an
1998, but there were six other Operators on Plaintiff’s shift          essential function for this position. 11
in the larger facility. Defendant claims that this allowed the
Plaintiff to temporarily operate only the forktruck (and not           [*33] It is undisputed that Plaintiff could not perform tasks
the jitney vehicle), because other Operators could use the             that required using a jitney vehicle. After his 1996 injury,
jitney vehicles when necessary. Plaintiff, however, maintains          Plaintiff’s doctor ordered him to stop operating jitney
 [*31]     that operating the jitney vehicle was not essential         vehicles, and he could not and did not drive one after 1996.
to the position, and his medical restrictions therefore did not        His 1997 MPR stated that he had minimal use of his right
prevent him from performing the duties of the open position.           hand with minimal grasping, and could perform no duties
Though unable to use a jitney vehicle, Plaintiff nevertheless          driving jitney vehicles. These restrictions remain unchanged.
argues that he was qualified for the 2002 Bridgeport
                                                                       Consequently, Plaintiff does not offer sufficient evidence to
position since he was able to perform the work required of
                                                                       show he was qualified for the 2002 position because he does
him using only a fork truck between 1996 and 1998, before
                                                                       not refute the fact that using a jitney vehicle was an essential
his layoff.
                                                                       function for the 2002 Bridgeport position, and it is
To the extent this argument is made to rebut Defendant’s               undisputed that the Plaintiff is unable to use a jitney vehicle.
assertion that using a jitney vehicle was an essential                 12
                                                                          [*35] HN13 ″Employers formulate jobs to fit the needs of
function for the Bridgeport position, it fails to create a             their enterprises . . . [and] the essential character of a
genuine issue of material fact. Plaintiff states that he ″was          particular job qualification is therefore a matter of judgment
able to perform all work necessary to his position of forklift         and opinion.″ Shannon, 332 F.3d at 102-03. It is clear that
operator between 1996 and 1998 without accommodation of                Plaintiff did not drive a jitney vehicle due to his medical
any kind, except such accommodation as he made for                     restrictions between the 1996 injury and the 2001 layoff,
himself.″ (56(a)(2) Statement at P 44.) However, this                  and this modification was a departure from the normal
conclusory statement does not effectively deny the fact that           duties performed by other Fork Lift Operators. Plaintiff
the 2002 open position in Bridgeport required the use of               does [*34] not point to any facts that suggest a Fork Lift
both a jitney vehicle and fork truck. Plaintiff does not point         Operator could perform his job exclusively with a fork
to any evidence in the record that this open position would            truck, without passing jitney vehicle duties on to other
not require an operator to use a jitney vehicle.                       Operators. And as the record indicates, Fork Lift Operator
                                                                       duties could vary depending on the facility, shift, and time
Uncontested evidence shows [*32] that Plaintiff himself                period. Nothing in the record states that an open recall
used a jitney vehicle 30% of the time prior to his injury in           position should only include duties identical to those
1996, the open position was available in a different and               performed by the employee in that position prior to a layoff.
smaller facility, and there was only one other Fork Lift               13
                                                                           The limited personnel in the Bridgeport facility, along
Operator there. As the EEOC ADA regulations instruct,                  with the fact that the time and place in which Plaintiff
HN12 a function may be essential if a limited number of                worked from 1996 to 1998 allowed certain modifications to
employees are available to perform that function, and if the           be made to the position, is sufficient to show that driving a
employer actually requires employees in the position to                jitney vehicle was an essential function.
perform the function it claims is essential. 29 C.F.R. §
1630.2(n). The fact that Plaintiff was able to perform all of          Plaintiff also claims that Defendant’s failure to recall him
the required work by utilizing only a fork truck in the larger         for the 2002 Bridgeport position is discriminatory because
Shelton facility four years earlier is not sufficient to create        Defendant did not make any attempt to reasonably

11
   Additionally, Plaintiff admits that he did not know the details of the open Bridgeport position, did not ask, and assumed the duties
would be the same as they were four years earlier in Stratford. (56(a)(2) Statement PP 51-52.)
12
     Plaintiff’s assertion that he was cleared by the Sikorsky medical department in 2002 to return to work as a Forklift Operator is based
upon a MPR Work Sheet, dated February 26, 2002 and attached to Plaintiff’s Brief as Exhibit 8. However, the worksheet is not signed
by a doctor and states on its face that ″THIS IS NOT A PERMANENT RECORD.″ Plaintiff does not offer any reason why the Court
should credit the worksheet as evidence that Plaintiff was qualified for the open position. The MPR Work Sheet is simply a worksheet.
Though it appears Plaintiff was initially cleared for work with restrictions on this handwritten form, it was subsequently amended by hand
to read ″Placement NOT Accepted.″ The document is not a finalized MPR that returns an employee to work.
13
    The Court notes that engaging in an analysis of duties and essential functions that a recalled employee can be expected to perform
requires interpretation of the terms of the CBA, and would therefore be preempted by § 301 of the LMRA.

                                                               Page 11 of 14
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 55 of 57
                                                 2006 U.S. Dist. LEXIS 55626, *34



accommodate the Plaintiff’s restrictions. HN14 ″The CFEPA             v. Dresser Rand Co., 193 F.3d 120, 122 (2d Cir. 1999), cert.
has also been interpreted to require an employer to                   denied, 528 U.S. 1190, 120 S. Ct. 1244, 146 L. Ed. 2d 103
reasonably accommodate disabled employees.″ Hill, 266 F.              (2000). Because Plaintiff has failed to meet this burden and
Supp. 2d at 364. However, it is well established that ″[a]            establish a genuine issue of material fact as to his
reasonable accommodation can never involve the elimination            qualifications for the 2002 Bridgeport recall position,
of an essential function of a job.″ Shannon, 332 F.3d at 100          summary judgment is granted to Defendants on Count I and
(citation omitted).                                                   the 2002 Recall.

Plaintiff suggests that Sikorsky could make a reasonable              2. 2003 Recall
accommodation by eliminating jitney vehicle responsibilities
                                                                      With regard to the 2003 recall in Shelton, Plaintiff’s
or requiring the more senior Fork Lift Operator in Bridgeport
in 2002 to use the jitney vehicle when necessary. However,            Opposition is devoid of any arguments that contradict
the law clearly does not require Defendant to accommodate             Defendant’s assertions. From the Facts section of Plaintiff’s
                                                                      Opposition, however, it appears as though Plaintiff claims
 [*36] Plaintiff’s physical disability by eliminating essential
                                                                      Defendant’s request that he see a hand specialist was
functions from the job, and Plaintiff does not cite any
                                                                      unreasonable, because Sikorsky had not requested such an
authority that suggests otherwise. See Borkowski v. Valley
                                                                      opinion before. The Plaintiff does not cite any authority to
Cent. School Dist., 63 F.3d 131, 140 (2d Cir. 1995)
(″Individuals whose physical condition precludes them from            suggest that it was unreasonable for Dr. Mongillo and
engaging in heavy lifting, and who seek jobs for which such           Sikorsky to make this request, however. Plaintiff admits that
lifting is shown to be an essential function, need not be             Dr. Mongillo would allow him to see another doctor for the
accommodated by shifting responsibility for the lifting to            evaluation, as long as it was a hand specialist. Additionally,
other individuals.″) (citation omitted); Gilbert v. Frank, 949        the undisputed evidence [*39] indicates that it was Plaintiff’s
F.2d 637, 643-44 (2d Cir. 1991) (holding that employee’s              failure to answer five separate letters requesting medical
suggestion that other workers could lift mailbags that were           records and his refusal to see a hand specialist which led to
                                                                      Sikorsky’s assumption that Plaintiff no longer sought
too heavy for him was not a reasonable accommodation
                                                                      employment at Sikorsky in December 2003. Peters has not
because it eliminated an essential function of the job); Drew
                                                                      come forth with any explanation that would provide legal
v. Sears, Roebuck & Co., No. 3:95cv1746 (PCD), 1997 U.S.
                                                                      justification for his own failure to participate in the process.
Dist. LEXIS 23843 (D. Conn. 1997) (holding that employee
must be able to perform the required functions of a position          Therefore, Plaintiff has not offered sufficient evidence
with the accommodation suggested, and employer is not                 regarding the 2003 Recall to meet the burden of a prima
required to modify the actual duties of the job for employee).        facie case of discrimination. Statements found in the Facts
As the Second Circuit stressed in Borkowski,HN15 a                    Section of his Opposition seem to attempt to create a
plaintiff must show an accommodation is available that                genuine issue of material fact that he was qualified for the
 [*37] allows the plaintiff to perform the essential functions        2003 Shelton position. Plaintiff claims that although Sikorsky
of the job by introducing evidence that such an                       expressed reservations about his ability to perform the job in
accommodation exists and would permit the employee to                 2003, these concerns were not genuine because they were
perform the job at the same level as a non-disabled                   not expressed at the time the Plaintiff returned to work after
employee. 63 F.3d at 141. 14                                          his injury in 1996. (56(a)(2) Statement P 60.) Plaintiff does
                                                                      not, however, offer any support for his assertion that a
Aside from the accommodations referenced above which
                                                                      request for a specialized medical examination seven years
eliminate an essential function of the job, Plaintiff has not
                                                                      later is unreasonable. Comparing the situation in 1996 to
identified other effective and reasonable accommodations
                                                                      that in 2003, with respect to a position [*40] with different
that potentially render him otherwise qualified for the
                                                                      though analogous duties, does not create an issue of fact
position. HN16 To withstand a motion for summary
                                                                      sufficient to survive summary judgment.
judgment, the Plaintiff must identify a reasonable [*38]
accommodation which, if implemented, would permit him                 Furthermore, Plaintiff does not contradict the legal authorities
to perform the essential functions of the job. See Kennedy            Defendant cites which state that HN17 the ADA envisions

14
     To the extent that Plaintiff suggests that Sikorsky should have measured his qualifications against the modified position he held in
the Stratford facility, the Seventh Circuit has held that an employee’s qualifications must be measured against the duties of his original
position and not a temporary or modified position assigned as a result of injury. Malabarba v. Chicago Tribune Co., 149 F.3d 690, 696
(7th Cir. 1998).

                                                              Page 12 of 14
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 56 of 57
                                                   2006 U.S. Dist. LEXIS 55626, *40



an ″interactive process,″ whereby employers and employees                 by § 301 of the LMRA are also barred [*42] by a six-month
work together to evaluate whether an employee’s disability                statute of limitations. The Court agrees. Plaintiff correctly
can be reasonably accommodated. Jackan v. N.Y. State                      notes that HN19 a six-month statute of limitations applies to
DOL, 205 F.3d 562, 566 (2d Cir. 2000). 15 Courts construing               hybrid claims brought under § 301. A hybrid claim is one in
ADA claims recognize that medical inquiries may be                        which ″an employee has a cause of action against both the
necessary where an employer has genuine reason to doubt                   employer and the union, where the two claims are
whether that employee can perform job-related functions.                  inextricably linked, and where the case to be proved is the
Donofrio v. N.Y. Times, 99 Civ. 1576 (RCC)(JCF), 2001                     same against both.″ McKee v. Transco Products, Inc., 874
U.S. Dist. LEXIS 13788 at *20-21 (S.D.N.Y. 2001),                         F.2d 83, 86 (2d Cir. 1989). The Supreme Court, in
magistrate’s decision adopted by, 2002 U.S. Dist. LEXIS                   Delcostello v. Int’l Bhd. of Teamsters, 462 U.S. 151,
2399 (S.D.N.Y. 2002). Since Plaintiff failed to submit to the             171-72, 103 S. Ct. 2281, 76 L. Ed. 2d 476 (1983),
independent examination requested by Defendant to                         determined that because there is no federal statute of
determine what positions Plaintiff could qualify for, he                  limitations that expressly applies to such hybrid claims, the
cannot prove his prima facie case of discrimination. See                  appropriate statute of limitations is the six-month time
2001 U.S. Dist. LEXIS 13788, [WL] at *22; Thompson v.                     period provided under § 10(b) of the National Labor
City of N.Y., 98 Civ. 4725 (GBD), 2002 U.S. Dist. LEXIS                   Relations Act (29 U.S.C. § 160(b)).
23675 at *26 (S.D.N.Y. 2002).
                                                                          Nonetheless, Plaintiff argues that his action is not such a
 [*41] Accordingly, this Court finds that the plaintiff has not           hybrid claim because he sues only his employer and
met his burden of establishing a prima facie case of                      therefore, the Connecticut six-year statute of limitations for
discrimination under the CFEPA with regard to either the                  breach of contracts should apply. HN20 The Second Circuit,
2002 Recall or the 2003 Recall. Summary judgment is                       however, has concluded that a hybrid claim is presented if
appropriate in favor of Defendant on Count I entirely.                    the plaintiff, in addition [*43] to suing the employer, can
                                                                          also bring a cause of action against a union for breach of the
B. Count II: Breach of Contract                                           duty of fair representation (regardless of whether or not the
                                                                          plaintiff actually does bring the union action). McKee, 874
Count II of the Amended Complaint for breach of the CBA
                                                                          F.2d at 86-87. Indeed, the Plaintiff ″cannot circumvent the
is completely preempted by § 301 of the LMRA, and this is
                                                                          six-month limitations period for hybrid actions by choosing
not disputed. HN18 The Court must construe and interpret
                                                                          to sue only [his] employer.″ Id. at 86. Instead, ″what makes
the terms and provisions of the CBA to decide Plaintiff’s
                                                                          a case a ’hybrid’ action against both union and employer is
breach of contract claim and therefore, it is well settled that
                                                                          the nature of the claim, not the identity of the parties.″ Id.
federal labor law preempts the state law claim. See, e.g.,
                                                                          (emphasis in original) (internal citations and quotations
Allis-Chalmers Corp., 471 U.S. at 211 (″Questions relating
                                                                          omitted); see also Carrion v. Enterprise Ass’n, 227 F.3d 29,
to what the parties to a labor agreement agreed, and what
                                                                          34 (2d Cir. 2000) (following McKee in holding that a
legal consequences were intended to flow from breaches of
                                                                          six-month statute of limitations applies to an action for
that agreement, must be resolved by reference to uniform
                                                                          breach of contract brought against the employer only);
federal law.″); Caterpillar, Inc. v. Williams, 482 U.S. 386,
                                                                          Notice v. Chanler Lewis, Inc., 333 F. Supp. 2d 28, 30-31 (D.
394, 107 S. Ct. 2425, 96 L. Ed. 2d 318 (1987); Williams,
                                                                          Conn. 2004) (same). 16
322 F. Supp. 2d at 183-84.
However, Defendant argues that Plaintiff’s claims preempted                [*44] Additionally, HN21 the Second Circuit has held that

15
     The Facts Section claims that an August 28, 2003 letter from Sikorsky requesting a hand specialist examination (the fourth such
letter) ″made clear to the Plaintiff that regardless of the report of the specialist, he would not be granted the fork lift position in Shelton.″
(Pl.’s Opp., Facts Section, 2nd to last ); (56(a)(2) Statement, 75.) Presumably, Plaintiff offers this letter to show that Sikorsky would not
put him in the open position even if he did participate in the interactive process. However, the letter does not indicate what Plaintiff
contends it does. It merely says that the requested evaluation was not tied to a specific position at Sikorsky, but any number of open
positions. In fact, such language seems to indicate that Sikorsky actively tried, from May until December of 2003, to ascertain Plaintiff’s
exact restrictions since the Shelton position (and possible other open positions) required Plaintiff to perform duties similar to those using
a jitney vehicle.
16


The single case Plaintiff cites to support his contention that Count II is not a hybrid claim is Cabarga Cruz v. Fundacion Eductitiva Ana
G. Mendez, 822 F.2d 188 (1st Cir. 1987). However, Cruz is unpersuasive. It was decided before the relevant decisions in this jurisdiction

                                                                  Page 13 of 14
           Case 3:13-cv-01140-WWE Document 69-31 Filed 03/16/15 Page 57 of 57
                                                 2006 U.S. Dist. LEXIS 55626, *46



the mere presence of an arbitration clause in a CBA is                 2001 layoff is untimely by about three years. Defendant
enough to make an employee’s claim a hybrid one and                    notified Plaintiff that he would not receive the first recall
subject it to the six-month statute of limitations. United             position in March 2002, and therefore the LMRA claim
Auto, Aerospace and Agric. Implement Workers v. R.E.                   based upon the 2002 Recall is untimely by more than a year
Dietz Co., 996 F.2d 592, 596 (2d Cir. 1993) (″We hold that             and a half. Likewise, Defendant notified Plaintiff that he
the mere presence of an arbitration clause implicates the              would not receive the second recall position on or about
federal interest in prompt, private dispute resolution in labor        June 15, 2003, 17 and therefore the LMRA claim based on
cases and requires application of the six-month statute of             the 2003 Recall is untimely by about six months. As a result,
limitations.″); McKee, 874 F.2d at 87-88 (noting the                   Plaintiff’s Count II claims under § 301 of the LMRA fail as
destructive effect upon CBA arbitration provisions if                  a matter of law, and Defendant is entitled to summary
employees were allowed to bring claims of breach of the                judgment on Count II entirely.
agreement up to six years after the alleged violation); Ycaza
v. CT Transit Stamford Div., 289 F. Supp. 2d 180, 183 (D.
                                                                        [*46] IV. CONCLUSION
Conn. 2003). Section 6.17 of the CBA between the Union
and Sikorsky provides for mandatory arbitration in the event           The Court has considered Plaintiff’s claims and finds them
a contractual grievance is not settled through the required            to be insufficient to survive Defendant’s motion for summary
grievance procedures. This arbitration clause subjects                 judgment. Count I fails because Plaintiff cannot make out a
Plaintiff’s claim for breach of the CBA to a six-month                 prima facie case of discriminatory employment practices.
statute of limitations.
                                                                       Count II for breach of the CBA is subject to a six-month
The record demonstrates that Count II for breach [*45] of              statute of limitations and since the action was not filed
contract is not timely under the applicable six-month statute          within six months, Plaintiff’s claim fails as a matter of law.
of limitations. HN22 The six-month period begins to run
                                                                       For the reasons stated herein, Defendant’s Motion for
when the plaintiff discovers, or should have discovered,
                                                                       Summary Judgment is granted. The clerk shall close the
those acts that constitute the alleged violation of the
                                                                       file.
agreement. E.g., Ycaza, 289 F. Supp. 2d at 183; Wilhelm v.
Sunrise Ne., 923 F. Supp. 330, 337 (D. Conn. 1995)                     Peter C. Dorsey
(internal citations and quotations omitted). In this action, the
Plaintiff filed his first complaint with the Court in June             United States District Judge
2004. Therefore, the LMRA claim based upon his January




regarding hybrid claims and therefore it does not take into account the standards set forth in McKee and Carrion. Additionally, Cruz is
factually distinguishable. In that case, the court held that the claim was a pure breach of contract claim against the employer, because
the facts demonstrated that plaintiff had no action against the union for breach of its duty of fair representation. Cruz, 822 F.2d at 191.
Peters, however, stated in his deposition that the Union did not take his claim to arbitration or pursue the grievance procedures provided
in the CBA. (Peters Dep. at 79-80.) Peters, unlike the plaintiff in Cruz, does have a possible claim against the Union for its failure to
pursue his grievance, pursuant to the CBA. See Allocco v. Dow Jones & Co., No. 02 Civ. 1029 (LMM), 2002 U.S. Dist. LEXIS 11690
at *21-22 (S.D.N.Y. June 27, 2002) (″Even though Allocco chose not to bring suit against the Union, it is clear from his allegations
regarding the Union’s failure to pursue his grievance that he has a fair representation claim against the Union.″), citing McKee, 874 F.2d
at 86-87.
17
     Am. Compl. P 11.

                                                               Page 14 of 14
